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       EXHIBIT B
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                        UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF NEW YORK


 BLAKE LIVELY,                                      Civ. Action No. 1:24-cv-10049-LJL
                                                    (Consolidated for pretrial purposes with
                             Plaintiff,             1:25-cv-00449-LJL)
                                                    rel. 1:25-cv-00779-LJL
                        v.

 WAYFARER STUDIOS LLC, a Delaware Limited
 Liability Company, JUSTIN BALDONI, an
 individual, JAMEY HEATH, an individual, STEVE
 SAROWITZ, an individual, IT ENDS WITH US
 MOVIE LLC, a California Limited Liability
 Company, MELISSA NATHAN, an individual, THE
 AGENCY GROUP PR LLC, a Delaware Limited
 Liability Company, JENNIFER ABEL, an individual,

                             Defendants.


 WAYFARER STUDIOS LLC, a Delaware Limited           FIRST AMENDED COMPLAINT
 Liability Company, JUSTIN BALDONI, an
 individual, JAMEY HEATH, an individual, IT ENDS
 WITH US MOVIE LLC, a California Limited
 Liability Company, MELISSA NATHAN, an
 individual, JENNIFER ABEL, an individual, and
 STEVE SAROWITZ, an individual,

                             Plaintiffs,

 v.

 BLAKE LIVELY, an individual, RYAN
 REYNOLDS, an individual, LESLIE SLOANE, an
 individual, VISION PR, INC., a New York
 corporation, and THE NEW YORK TIMES
 COMPANY, a New York corporation,

                             Defendants.




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         Consolidated Plaintiffs/Defendants Wayfarer Studios LLC, Justin Baldoni, Jamey Heath,

It Ends With Us Movie LLC, Melissa Nathan, Jennifer Abel, and Steve Sarowitz (collectively, the

“Wayfarer Parties”) for their First Amended Complaint against Consolidated Defendant/Plaintiff

Blake Lively and Consolidated Defendants Ryan Reynolds, Leslie Sloane, Vision PR, Inc., and

The New York Times Company (collectively, the “Lively Parties”) allege as follows:

                                        GENERAL ALLEGATIONS

         1.       The following is not a story the Wayfarer Parties ever wished to tell.1

Unfortunately, Blake Lively (“Lively”) has unequivocally left them with no choice, not only to set

the record straight in response to Lively’s accusations and The New York Times Company’s

maliciously and recklessly propagated falsehoods, but also to put the spotlight on the parts of

Hollywood that they have dedicated their careers to being the antithesis of. That task was always

going to be an uphill battle. They never imagined they would encounter it to this degree.

         2.       Had Lively chosen to merely ride out the self-inflicted press catastrophe she faced

in August 2024, the public would likely have moved on and never known the truth about her. They

would have never known that she deliberately and systematically robbed the Wayfarer Parties

Justin Baldoni (“Baldoni”) and Wayfarer Studios, LLC (“Wayfarer”) of their movie. No one

except the parties involved would have known that she used threats and extortion to relegate the

colleagues she once highly praised to a basement to sit out their own premiere, while she enjoyed

the spotlight of a premiere and afterparty that was ultimately co-financed by both Wayfarer and

Sony. She would have gotten away with these things and more, because Baldoni, focused entirely

on seeing the film succeed, would have held his tongue, as he had through the year and a half that

Lively tormented him, his family, and his partners.


1
 In the interest of transparency, a complete timeline of the sequence of events alleged herein is attached hereto as
Exhibit A and incorporated by reference in its entirety.


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       3.      But Lively could not tolerate her publicly tainted image for even a moment, and

further could not accept that it was entirely of her own making. She needed a scapegoat. And rather

than admit and take accountability for her own mishaps, she chose to blame the Wayfarer Parties,

in a malicious and unforgivably public manner. When she and Reynolds could not force Baldoni

and Wayfarer to read a statement she and her representatives prepared, extorting them to “take

accountability” in defense of Lively’s actions, she lay in wait for months, preparing to publicly

attack Baldoni by falsely claiming that he had sexually harassed her. The same falsified stories she

had calculatingly devised and used throughout the production of this film in order to take control

were now being used publicly to destroy Baldoni and the Wayfarer Parties.

       4.      Lively stole Wayfarer’s movie, hijacked Wayfarer’s premiere, destroyed the

Wayfarer Parties’ personal and professional reputations and livelihood, and aimed to drive the

Wayfarer Parties out of business entirely. It further appears that Lively worked for months with

the equally powerful New York Times to prepare a false and damaging narrative to deploy against

the Wayfarer Parties. Not surprisingly, Lively prepared an administrative complaint with the Civil

Rights Department in California (the “CRD Complaint”) in an attempt to use the litigation

privilege to shield her behind-the-scenes conspiracy with the New York Times, but, upon

information and belief, the CRD Complaint was filed only after the Lively Parties spent months

feeding falsehoods to the New York Times intending that they be disseminated to damage the

Wayfarer Parties. Lively delivered the CRD Complaint to the Wayfarer Parties over the Christmas

holiday, and rather than promptly file a lawsuit, Lively, on information and belief, leaked the

typically private CRD Complaint to the public, utilizing the New York Times as conduit for her

revenge. This CRD Complaint—and, upon information and belief, the false information delivered

to the New York Times before the CRD Complaint was filed—was rife with lies and doctored




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“evidence.” Lively then waited eleven days to file suit against the Wayfarer Parties, in what

seemed to be a desperate move after the public questioned why she had never filed a civil lawsuit.

On information and belief, Lively never intended to file a civil lawsuit, which would have triggered

the Wayfarer Parties’ right to discovery, including obtaining evidence and deposing Lively under

oath. By the time Lively actually filed a lawsuit against the Wayfarer Parties, the damage to the

Wayfarer Parties was done by virtue of Lively’s months of colluding with the New York Times on

a false and malicious narrative unshielded by any privilege. Make no mistake: these actions were

deliberate.

       5.      The Wayfarer Parties now have no choice but to fight back armed only with the

truth—and the mountain of concrete evidence disproving Lively’s allegations. Heartbreakingly, a

film that Baldoni envisioned years ago would honor the survivors of domestic violence by telling

their story, with the lofty goal of making a positive impact in the world, has now been

overshadowed beyond recognition solely as a result of Lively’s actions and cruelty.

       6.      Lively wields immense power as one of the world’s best-known celebrities. In

2024, she used that power to seize control of the Film “It Ends With Us” (the “Film”), produced

and co-financed by Wayfarer and directed by Baldoni, who also portrayed the lead, “Ryle.” She

set out to destroy the Wayfarer Parties’ livelihoods and businesses if they did not bend to her

incessant demands, and when they refused to give way, she did exactly that, accusing them of foul

and reprehensible sexual misconduct. Wayfarer was blindsided when Lively, upon the conclusion

of the industry strikes, refused to return to production absent the company’s agreeing to her non-

negotiable “Protections for Return to Production” (the “Return to Production Demands”) that

insinuated misconduct had occurred during filming (which, as evidence will establish, did not).

Wayfarer was equally blindsided when Lively leveraged this document, essentially signed under




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duress, to seize control of the Film—ultimately getting her own cut of the Film and a coveted

P.G.A mark and, at her command, ousting Baldoni from all marketing and promotional efforts

with many of the cast members and the author, all of whom he, until then, had longstanding

positive relationships with.

       7.      Lively’s exclusion of Baldoni from the promotion of the film backfired, as she

chose to callously promote her hair care and alcoholic beverage products rather than bring attention

to survivors of domestic violence, the entire premise of the Film. Baldoni, now prohibited from

attending events or taking photos with Lively and the cast, promoted the film as he had always

intended, ever since he first began the process of making the film years ago.

       8.      When Lively faced significant public backlash from what was often referred to as

her “tone-deaf” and insensitive press tour for the Film, she doubled down on her false and

misleading accusations against Baldoni. She seemed determined to make Baldoni the real-life

villain in her story. Her publicist, Leslie Sloane (“Sloane”), went so far as to propagate malicious

stories portraying Baldoni as a sexual predator (a term Lively’s husband, Ryan Reynolds, also used

to describe Baldoni when he called Baldoni’s own agent). Modern society justly reviles sexual

harassers and abusers, and Lively knew full well that making those allegations would be a career

death sentence for the Wayfarer Parties, especially given that Baldoni has lived his private and

public life as an impassioned advocate for gender equality and healthy masculinity. She did not

expect, however, that the Wayfarer Parties would be able to meet those allegations with concrete

documentary evidence disproving her claims and demonstrating that they—not Lively—were the

targets of a calculated and vitriolic smear campaign. That evidence, included in part herein, is the

basis for the Wayfarer Parties’ claims against the Lively Parties for their extortion, defamation,

and further wrongdoing.




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         9.       The Film was the hotly anticipated adaptation of a worldwide best-selling book by

Colleen Hoover, and by starring in it as “Lily,” Lively stood to enhance her already considerable

star power. But she was not content merely to headline one of the year’s biggest movies. Instead,

apparently driven by overweening ambition and a need for control2, Lively eventually leveraged

her power as a wealthy celebrity to wrest the reins from her costar and the Film’s director, Baldoni,

insisting on total control over every aspect of the Film she could get her hands on, from wardrobe

to marketing strategy to music, even creating her own cut of the Film. Not only did Lively’s power

play cost numerous people their jobs, but at every turn, her wrongheaded creative decisions

reflected her fundamental lack of understanding of the book the Film was based on. This came as

no surprise to her worried colleagues, given that, even well into production, Lively had not even

read the book. 3

September 14, 2023 text message from Baldoni to Heath:




         10.      Lively’s disastrous marketing efforts and tone-deaf press interviews and

appearances backfired and led to widespread criticism of Lively’s promotional approach to the

Film’s highly sensitive focus on domestic violence. Past videos of Lively resurfaced online—

videos that appeared to solidify public perception that Lively was an insensitive “mean girl” who

cared more about peddling her products than acknowledging the domestic violence survivor


2
  In an early meeting with Baldoni, Lively foreshadowed what was to come, stating, “I’m afraid you have too much
power,” referencing Baldoni’s dual role as producer and director. This statement made an early impact on Baldoni,
who felt compelled to reassure her the relationship would be collaborative and went above and beyond to make it so.
This was not an invitation to sideline him and his producing partners.
3
  Lively later claimed she read the book, but text evidence shows that well into production she had not, and in fact
expressed she had chosen not to read the book. She even tried to “Google” the color of her character’s hair rather than
pick up the book.


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community. Social media commenters quickly pointed out that her tie-in of her alcohol beverages

was in particularly poor taste, given the World Health Organization estimates that 55% of domestic

violence incidents are linked to alcohol. Unbelievably, Lively made this harmful and irresponsible

message worse by naming a drink at her premiere afterparty “Ryle You Wait,” after the character

who committed domestic violence in the Film. The suggestion that Wayfarer caused the online

backlash against her is absurd given the evidence of her own insensitivity.

       11.     Sadly, this backlash could have been avoided had she not refused to meet with the

Film’s domestic violence partner organization, nomore.org, as Baldoni had offered. Even a brief

visit to their website, or a simple online search, would have readily uncovered this and other

information on the topic of domestic violence.

       12.     Meanwhile, Baldoni, whom Lively herself had ensured was excluded from

participating in her marketing efforts, was safeguarded from this backlash as he focused on

amplifying the voices of those affected by domestic violence, as originally intended when he

reached out to author Colleen Hoover five years earlier, and documented by his partnership with

nomore.org dating back to 2022. Baldoni’s sincere efforts were well received, even more so in

contrast with Lively’s campaign to downplay the premise of the film and sell haircare and alcohol

products. Lively, enraged that her plans were foiled and armed with “proof” of alleged sexual

harassment in the form of a 17-point list of demands she had required the Wayfarer Parties to sign

just months earlier, focused her rage on Baldoni, blaming him for the consequences of her own

missteps.

       13.     Meanwhile,     Stephanie    Jones       (“Jones”),   founder   of   Jonesworks   LLC

(“Jonesworks”), Wayfarer’s and Baldoni’s erstwhile PR firm, was embroiled in a personal and

professional crisis. Her increasingly erratic behavior had driven away not only high-profile clients,




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but also her right-hand woman, Jennifer Abel (“Abel”), who oversaw the Jonesworks Los Angeles

office. Jones’ behavior grew more and more bizarre as she lashed out at loyal clients like Wayfarer

in rage-filled rants, and veered away from professional experience and strategy when making

critical decisions affecting Jonesworks clients. After a final outburst against Wayfarer in which

she outright refused to comply with their direct instructions, Wayfarer had no choice but to cut ties

with Jones and Jonesworks rather than leave their public image in the hands of what appeared to

be an out-of-control Jones, whose actions were not aligned with Wayfarer and Baldoni’s

worldview and wishes. Jones was filled with impotent rage at Wayfarer and at Abel, who a month

before had announced her decision to leave Jonesworks to form her own company. Jones saw an

opportunity for revenge. She took it.

        14.      On information and belief, Jones, Lively, Reynolds, and Leslie Sloane (“Sloane”),

Lively’s publicist, and others concocted a plan whereby Jones would seize Abel’s phone upon her

departure4 and mine it for messages that, stripped of context, could be used to concoct a false

narrative that the disastrous press coverage of Lively’s callous and opportunistic comments—and

the public reaction to those comments—were not Lively’s fault at all, but the result of a calculated

(though in reality, nonexistent) smear campaign by Baldoni and his team. On information and

belief, Jones’ role in this scheme accounts for her conspicuous absence from Lively’s re-telling of

events. The Wayfarer Parties are informed and believe that the Lively Parties have been working

in concert since at least August 21, 2024, when Sloane boasted to Nathan that she had seen her

texts and that Nathan would soon be sued.




4
 While it is not entirely uncommon to request that an exiting employee return company property, it is not often the
case that personal phones, phone numbers, and communications are seized, made public, and weaponized against the
employee and the company’s own clients.


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           15.   Though Lively claimed Baldoni was the one smearing her, the reality is that it was

 Lively and her team who carefully planned and implemented a vile smear campaign against

 Baldoni and Wayfarer to deflect attention and blame for Lively’s disastrous misjudgments. Lively

 would recast herself as the long-suffering martyr by portraying Baldoni and Wayfarer as her

 persecutors: the masterminds behind a smear campaign that evidence will show did not exist.

 Sloane of Vision PR (“Vision”) was all too willing to carry out this strategy—especially once

 armed with ammunition by Jones, who was bent on revenge against her ex-employee and former

 client.

           16.   Shortly after the Film’s premiere and the public backlash against Lively, Lively,

 together with her husband, Ryan Reynolds (“Reynolds”), demanded through their talent agency,

 which also represented Wayfarer and Baldoni, that the Wayfarer Parties publicly apologize for so-

 called “mistakes” during production in order to deflect the avalanche of negative media coverage

 of Lively. Reynolds and Lively drafted a statement and demanded that Baldoni, Wayfarer, and

 Heath issue that statement, requiring them to apologize to the public and fall on their sword, despite

 having done nothing wrong—or else the “gloves would come off.” Multiple WME executives

 acknowledged that in their experience, Lively and Reynolds’ threats were not to be taken lightly,

 though admitting to false, vague, and unspecified “mistakes” would be tantamount to admitting to

 career-ending misconduct. Baldoni, Wayfarer, and Heath refused to apologize for sins they had

 never committed. They took a stand, knowing full well that Lively and Reynolds would bring the

 full might of their celebrity artillery against them. And that is precisely what happened.

           17.   Lively, working with her husband, her publicist, and Jones, among others, set out

 on a campaign to tar and feather the Wayfarer Parties in the press. They conspired and worked in

 concert with the New York Times to put out a blockbuster news report as devastating as it was




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 false. They advanced a fabricated narrative in the press that the Wayfarer Parties had sexually

 harassed Lively, then embarked on a calculated and malicious smear campaign to destroy her

 reputation as retaliation for daring to complain about the harassment. The Lively Parties laid their

 trap carefully over a period of months before springing it all at once on the eve of the winter

 holidays. Just as plainly, they knew full well that their claims were entirely baseless, because their

 own wrongfully obtained “evidence” proved that neither the alleged sexual harassment nor the

 accompanying smear campaign against Lively ever existed. Yet Lively moved forward with her

 plan with ruthless precision, doubling down in the face of abundant evidence casting doubt on the

 veracity of her story. Lively even went so far as to serve her lawsuit on the Los Angeles-based

 defendants as they evacuated their homes in the midst of devastating fires engulfing their city. On

 a day when the Wayfarer Parties were gathering their kids and pets, preparing “go bags” and

 monitoring evacuation orders while fearing for their homes, Lively—from the safety of her

 penthouse in New York—deployed process servers in the midst of these troubling times.

        18.     At bottom, this is not a case about celebrities sniping at each other in the press. This

 is a case about two of the most powerful stars in the world deploying their enormous power to steal

 an entire film right out of the hands of its director and production studio. Then, when Lively and

 Reynolds’ efforts failed to win them the acclaim they believed they so richly deserved, they turned

 their fury on their chosen scapegoat. Tolerating a year and a half of their behavior while remaining

 polite and professional at every turn offered Badoni and Wayfarer no protection.

        19.     By bringing this Complaint, the Wayfarer Parties commit themselves to seeking

 and proving the facts, based not on insinuations built from selectively edited and context-free text

 snippets, but by putting all the evidence before the Court—and the public. When the Wayfarer




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 Parties have their day in court, the jury will recognize that even the most powerful celebrity cannot

 bend the truth to her will.

        A.      Baldoni and Wayfarer Purchase the Rights to It Ends With Us

        20.     Baldoni co-founded Wayfarer in 2019. From the beginning, Wayfarer was

 dedicated to being a different kind of studio—one that produced world-class entertainment driven

 by a powerful vision for change.

        21.     Baldoni, whose film career was dedicated to producing and directing meaningful

 films to have a positive impact on the world, was deeply moved when he read the book It Ends

 With Us, and genuinely believed he could make a film that could save lives. His last two films

 were created as a result of a deep sense of responsibility to share meaningful stories. Baldoni’s

 feature film directorial debut, Five Feet Apart, was based on a young woman, Claire Wineland,

 who lived with Cystic Fibrosis (“CF”) and courageously documented her plight on YouTube.

 Baldoni, his family, and friends developed a friendship with Claire, whose journey deeply inspired

 Baldoni. Before Claire passed away, Baldoni promised he would tell her story. And he did just

 that, in the film he directed. The film had wide impact on the CF community, and Baldoni still

 receives messages about the film’s impact. Baldoni also supports her foundation yearly and

 remained close with Claire’s parents, even bringing her father as his guest to the premiere of It

 Ends With Us. Baldoni’s more recent film was the Wayfarer film Clouds, a true story about a

 teenager with cancer, Zach Sobiech, who finds joyful purpose and inspiration in music.

        22.     In pursuit of that same vision, in 2019 Wayfarer acquired the film rights to It Ends

 With Us, a Colleen Hoover novel published in 2016. Though positioned as a romance novel, the

 book explores themes of domestic violence and generational patterns of abuse, and these messages

 resonated deeply with readers and drew a passionate fan base. In 2021, the novel exploded in




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 popularity thanks to the social media phenomenon “BookTok.” Many fans expressed how

 important the book was to them as survivors of domestic violence and intimate partner abuse.

        23.    When It Ends With Us author Colleen Hoover watched Five Feet Apart in theaters,

 she told Baldoni, “you are the right person to make this movie” (referring to It Ends With Us).

 Baldoni’s early emails to Hoover demonstrate his commitment to doing so in the manner he

 envisioned would be most impactful. In fact, it was Hoover who suggested Baldoni portray “Ryle.”




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          24.      Soon after, Wayfarer partnered with Sony to co-finance and distribute the Film.

 Their agreement included, at Wayfarer and Baldoni’s insistence that the provision was a deal-

 breaker, a requirement that 1% of the Film’s proceeds be donated in support of survivors of

 domestic abuse. That 1% was ultimately earmarked for the organization “No More,” with which

 Baldoni had sought to partner with as early as September 2022.5

          25.      As they began making the Film, Baldoni and Wayfarer felt an immense

 responsibility to do justice not only to the story of protagonist Lily Bloom, but to the stories of

 survivors around the world. Heath, CEO of Wayfarer, expressed to Forbes on June 28, 2024 his

 high hopes for the film6: “I hope that people leave the theater feeling inspired - that for those who

 have been hurt, that they feel seen and the story was told in a way that honored them. I feel like

 people who may in themselves, as someone that may hurt somebody, may think twice about it. So,

 I hope that people leave feeling that they got a glimpse into a world that, often times, we turn our

 eyes away from.”

          26.      In casting Blake Lively, a world-renowned actor with talent and charisma, in the

 leading role, they entrusted her with that vision, to bring Lily to life. Although Wayfarer learned

 that Lively had a reputation for being difficult to work with, Baldoni at the time was not dissuaded

 and found her to be genuine.




 5
   Stunningly, later in the process, Lively refused the opportunity to meet with No More, despite playing the lead role
 in a movie centered on themes of survival and resilience in the face of domestic abuse.
 6
   Jeff Conway, “Meet the Wayfarer Studios Team Bringing ‘It Ends With Us’ to Theaters,” Forbes (Aug. 8, 2024),
 https://www.forbes.com/sites/jeffconway/2024/08/08/meet-the-wayfarer-studios-team-bringing-it-ends-with-us-to-
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        B.      During Pre-Production, Baldoni and Lively Begin a Promising and Close

                Collaboration

        27.     On or about December 31, 2022, Lively agreed to take the lead role of Lily Bloom.

 As part of the subsequent negotiations, Lively was granted an executive producer credit, a title

 often given to talent of her stature. (Lively had requested a producer credit, but Wayfarer and Sony

 demurred, given that such a title would not accurately reflect the role she was asked to play in the

 production). Wayfarer did not request nor require that Lively contribute to the Film in any capacity

 beyond her roles as actor and executive producer.

        28.     In the beginning, it appeared that Baldoni and Lively would have a positive,

 collaborative creative partnership. Baldoni and Lively worked closely in the early days of the Film,

 trading ideas about filling key roles in the Film’s cast and crew.

        29.     Their working relationship grew close. Baldoni and Lively shared stories and

 pictures from their lives, commiserated over family illnesses and exchanged jokes and memes.

 Baldoni offered concern and support when Lively faced family health concerns. They texted

 almost daily, and a friendly banter established a comfortable dynamic that, under typical

 circumstances, would have made working together easy.




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        30.     Lively even felt comfortable enough to make silly jokes redirecting a sweet

 compliment Baldoni gave:




        This was the nature of their relationship, which made Lively’s later allegations all the more

 baffling.

        C.      Lively Begins Asserting Control Almost Immediately

        31.     Almost immediately, Lively began inserting herself into the production process in

 intrusive ways well beyond the scope of her contractual entitlements. For example, Lively began

 to insist on creative control over her character’s wardrobe. While lead actors are sometimes granted

 approval over their characters’ general look, they generally do not receive full control over



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 wardrobe decisions without input from the director or producers. What may seem like an

 innocuous request can in fact have monumental impact on a film production.

        32.     Ignoring the director’s vision for her character and disposing of the weeks of effort

 and creativity spent by the wardrobe team on shopping and carefully crafting her wardrobe, Lively

 sent hundreds of images to the Film’s costume designer, including into the late hours of the

 evening, depicting the style of wardrobe she wanted for her character. The costume designer had

 to re-shop Lively’s wardrobe, far exceeding the allocated budget and diverting time and resources,

 while also preparing wardrobes for the rest of the cast. At one point, Lively insisted that her

 character “had money” and could afford $5,000 shoes—despite being a fledgling small business

 owner. This forced Baldoni to rethink the entire script that had been in the works for well over a

 year and was approved by both Sony and Wayfarer – a script that Wayfarer had commissioned

 multiple drafts of and incorporated countless notes (including input from the book’s author,

 Colleen Hoover). The wardrobe budget ballooned.

        33.     Lively often refused to participate in wardrobe fittings at the production office,

 which was a mere fifteen minutes from Lively’s home. Instead, she insisted that the costume

 department pack up wardrobe and deliver it to her personal residence. Loading the wardrobe

 department on trucks and delivering the contents to Lively’s home in the middle of congested

 Manhattan for fittings cost time and money—always in short supply on any major film. Requests

 of this nature are typically made during contract negotiations; since Lively made no such request

 at the time, this added expense was not included in the budget. Lively, who had a greater obligation

 to the studios as an executive producer, paid no heed to budget constraints, let alone to the months

 of planning that had already been completed.




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         34.      In an effort to maintain harmony at the start of their working relationship and to

 avoid further delays caused by wardrobe conflicts, Baldoni and the studio reluctantly ceded full

 control to Lively over her wardrobe. This concession quickly proved regrettable.

         35.      On the first day of principal photography, paparazzi captured and published photos

 of Lively in character wearing her hand-picked wardrobe. These images were widely reported as

 unflattering7 and sparked a backlash from Sony. Baldoni received direct criticism from Sony, who

 voiced serious concerns about the impact of the photos on the Film’s public reception.

         36.      Following these events, Baldoni approached Lively in her hair and makeup trailer,

 where she was surrounded by her team, to ask if they could speak after she was done getting her

 hair and makeup done. Baldoni wanted to discuss necessary wardrobe adjustments, reassert his

 role as director, and get her on board with him having approval over her character’s wardrobe.

 They later had that conversation in her trailer; while professional, it took considerable time and

 was later grossly misrepresented in Lively’s CRD complaint, which falsely characterized the

 exchange as a “lengthy outburst” that delayed filming and caused the crew to “wait for hours while

 [Baldoni] cried in Lively’s dressing room.” On information and belief, Lively circulated this false

 account to the New York Times with the intention and result that it be widely published.

         37.      This conversation did not take hours, and any length of time it took was not because

 Baldoni “cried for hours.” In truth, rather than take heed of the concerns of the film’s distributor

 and director, Lively took this time to, among other things, suggest to Baldoni that he was being

 “gaslit” by Sony, Heath, and the other producer, and try to convince him to let her continue to take


 7
   Notably, Lively herself had voiced insecurities about the public perception of her casting as Lily Bloom. Lily is
 described as a twenty-three-year-old young woman and recent college graduate within the first few pages of the book,
 which Lively would have known had she read the book before production (despite having admitted to ordering a copy
 months before, which, remarkably, she ordered only after she had already committed to the role on December 20,
 2022). Nevertheless, when Lively learned that Lily was a decade-plus younger than herself in the book, Lively asked
 that author Colleen Hoover explain in her public casting announcement that they had decided to “age up” the book’s
 characters for the Film. Hoover didn’t put the statement out in the way Lively requested. Lively was not happy.


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 the helm. Baldoni did briefly become emotional during the conversation, but only in response to

 what he believed was a genuine compliment from Lively, praising his work as a director and actor.

 In hindsight, this was part and parcel of the ongoing pattern of manipulation and gaslighting by

 Lively, intended to continue to allow her autonomy over her wardrobe.

        38.     Lively later distorted this conversation in support of her baseless harassment

 allegations, alleging that Baldoni made inappropriate “comments on her appearance.” In reality,

 Baldoni, the film’s director, was relaying the distributor’s concerns and the widespread social

 media criticism regarding the wardrobe’s failure to meet audience expectations—a sentiment

 Baldoni shared. This incident is just one of the many examples of Lively’s troubling pattern of

 manipulation and lies.

        39.     As another example, early in the pre-production stage, Lively sent Baldoni a long

 text describing how directors never permitted her to write scenes for the movies she acted in nor

 gave her writing credits, even making her hand-scribble her suggestions for lines so that they could

 not be traced to her. Lively boasted that she had even written for her husband’s movies. Then

 Lively asked if she could “take a pass” at writing the rooftop scene in It Ends With Us in which

 the characters Ryle and Lily first meet. This pivotal scene, much beloved by book fans, was critical

 for setting the tone for the movie, so Baldoni was reluctant to allow an actor (rather than a union

 screenwriter) to rewrite this key scene. But Baldoni felt the need to allow Lively to rewrite the

 scene and agreed to take a look at what she put together.

        40.     The draft of the rooftop scene that Lively sent Baldoni dramatically differed from

 what had been written originally. Baldoni was hesitant about many of the changes, but thanked

 Lively for her passion and diplomatically told her that the scene would likely end up being

 somewhere between the original version and Lively’s version.




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          41.      Seemingly stung by Baldoni’s exceedingly mild resistance, Lively did not respond

 and went silent for multiple days. Later, she confirmed (in a text message below) that Baldoni’s

 response “of course, didn’t feel great for me. Or [another megacelebrity friend and Ryan

 Reynolds]. To have my passion praised instead of my specific contribution.” Lively was referring

 to an earlier meeting where Lively summoned Baldoni to her New York penthouse where Baldoni

 was greeted by Ryan Reynolds, who launched into enthusiastic praise for Lively’s version of the

 scene. Hours later, as the meeting was ending, a famous, and famously close, friend of Reynolds

 and Lively, walked into the room and similarly began praising Lively’s script. Baldoni understood

 the subtext: he needed to comply with Lively’s direction for the script.

          42.      Later, Baldoni felt obliged to text Lively to say that he had liked her pages and

 hadn’t needed Reynolds and her megacelebrity friend to pressure him. Lively responded that the

 two were her “dragons.” Lively went on to say:

          They [Reynolds and the megacelebrity friend] also know I’m not always good at making
          sure I’m seen and utilized for fear of threatening egos, or fear of affecting the ease of the
          process. They don’t give a shit about that. And because of that, everyone listens to them
          with immense respect and enthusiasm. So I guess I have to stop worrying about people
          liking me (“I don’t know” emoji) [emphasis added].

 The message could not have been clearer. Baldoni was not just dealing with Lively. He was also

 facing Lively’s “dragons,” two of the most influential and wealthy celebrities in the world, who

 were not afraid to make things very difficult for him.8




 8
   Some of the below text messages were extracted in European time zones and, as a result, do not reflect their true
 time of transmittal or receipt.


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        43.     “Difficult” proved to be a gross understatement. Though Baldoni initially invited

 Lively to make changes to the script, Lively began altering the script daily. The frequency of

 Lively’s revisions alarmed the producers, director, and studio, who anticipated that her interference

 would persist “every day of the shoot” and disrupt the carefully planned production schedule. Each

 shooting day was intricately scheduled long in advance, and Lively’s constant changes placed

 significant stress on the production crew, not to mention financial strain on Wayfarer.




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        44.     More than a year later, during a red-carpet interview at the New York film premiere,

 Lively stated, “The iconic rooftop scene, my husband actually wrote it. Nobody knows that but

 you now.” This startling revelation directly contradicted Lively’s previous insistence that she had

 written the scene—and certainly casts Reynolds’ high praise for the rewritten scene in a different

 light. The film’s credited screenwriter, when asked about the claim that Reynolds had written the

 scene, graciously responded, “So if I’m being told that Ryan wrote that, then great, how

 wonderful.” She went on to acknowledge, “There were a few little flourishes that I did not write




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 . . . and if those flourishes came from Ryan, I think that’s wonderful.”9 This was also the first time

 that the Wayfarer Parties learned that Reynolds—who had no formal role whatsoever in the Film’s

 production—had made unauthorized changes to the script in secret. Baldoni, equally blindsided

 by this news, which he discovered in real time during a recorded interview with Access

 Hollywood, reacted by also praising Reynolds, so as not to harm Lively, Reynolds (who apparently

 wrote the scene, and possibly others, during the WGA strike), or the Film.

           45.    Lively’s remarks about Reynolds’ purported contribution to the script raised

 eyebrows sky-high at Sony, who told Wayfarer that they “certainly need[ed] some clarity on public

 comments made about Ryan Reynolds potentially contributing writing services for the rooftop

 scene.”




 9
   See Benjamin VanHoose and Julia Moore, Blake Lively Says ‘Nobody Knows’ Ryan Reynolds Wrote a Scene in It
 Ends With Us as Screenwriter Weighs In (Aug. 8, 2024), https://people.com/blake-lively-ryan-reynolds-wrote-scene-
 it-ends-with-us-8692864.


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        46.     Still during the pre-production phase, Lively and Reynolds raised entirely false

 allegations of fat-shaming against Baldoni: an accusation that, as evidence will show, was

 categorically false.

        47.     Baldoni had been introduced to trainer “Don”—who became Baldoni’s personal

 trainer—by Lively. Don directed Baldoni’s preparation for the Film role, including his nutrition

 and exercise, making special accommodations for Baldoni’s back injury; Baldoni even paid to

 receive Don’s meal delivery service.



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        48.     On April 22, 2023, Baldoni privately reached out to Don, his personal trainer, to

 ask what Lively weighed so that he could train his back muscles in preparation for a lift scene.

 This was important to avoid injury not only to Baldoni, who suffered from lifelong back injuries,

 multiple bulging disks, and chronic pain, but also to Lively if the lift could not be completed

 successfully and safely. Notwithstanding Lively’s recent attempts to deny the existence of any

 such scene, it was only nixed at her insistence after having been planned and rehearsed.


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        49.      On April 25, 2023, Lively summoned Baldoni to her penthouse, purportedly to

 discuss the script. However, he was met by an angry Reynold, who screamed at Baldoni and

 accused him of fat-shaming his wife (“How dare you fucking ask about my wife’s weight? What’s

 wrong with you?”). The confrontation by Reynolds and Lively was so aggressive that Baldoni felt

 he had no choice but to offer repeated (and completely unwarranted) apologies for what was a

 good faith and reasonable question to ask of his trainer. Reynolds demanded Baldoni remove the

 scene entirely. Lively refused to perform the lift scene in the end, even after it was rehearsed with

 a stunt double. In her own Complaint, Lively flat out lies about the absence of this scene by

 claiming “the scene wasn’t in the film.” The only reason the scene wasn’t in the film is because

 Lively and Reynolds ensured it was taken out of the Film. Accommodating Lively, Baldoni re-

 wrote the scene with Lively, despite the fact that for creative reasons, this scene was important to

 him as a storyteller and director.

        50.      In fact, Lively had earlier expressed insecurity about her postpartum figure, and

 Baldoni made every attempt to genuinely reassure her. In this exchange, he stated, as her director,

 that, “anything you feel insecure about we will talk through and get creative together and make

 you comfortable. I just don’t want you to stress about your body, it’s the last thing you need.”

 When he later tried to do just that, Lively responded with allegations of sexual harassment followed

 by a lawsuit.




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        51.    Lively then delivered an ultimatum: if Baldoni could not get on board with her work

 methods, he still had two weeks to recast her.

        52.    Implicit in this ultimatum was a threat to destroy Baldoni’s reputation and career.

 As Lively well knew, Baldoni has worked hard throughout his career to earn and deserve a

 reputation based on his passionate advocacy for women’s rights––a reputation she would later

 exploit and weaponize against him. If Lively were to back out of the Film, especially based on

 accusations of fat-shaming, Baldoni’s reputation and life’s work would be left in tatters. He had

 no choice but to bow to Lively and Reynolds’ demands. Concerns about Lively’s undue influence

 over the Film began to grow even before filming started.




        53.    This was the first time Lively openly moved to seize control of the Film from

 Baldoni—but it would not be the last.




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        D.     Filming Begins as Lively Builds Her Takeover Strategy

        54.    Principal photography began for the Film in early May 2023. On set, Lively

 continued to maintain what later appeared to be a façade of a close, caring relationship with

 Baldoni, even as she continued to make escalating demands for creative control.

        55.    By the time production began, Lively and Baldoni had worked closely together for

 months, and Lively expressed warm gratitude for her collaboration with Baldoni on the eve of

 filming:




        56.    Throughout the first filming period, Lively continued to share her open and

 unguarded thoughts on life and her character. She talked about wardrobe choices to make her

 character “much sexier.”




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             57.      Lively continued to express her warm appreciation and respect for Baldoni as

 filming continued, even as she acknowledged she could be difficult and critical of others, using

 the kind of language she herself would have alleged to be inappropriate:10




 10
       Lively’s use of the word “ballbuster” would certainly have made it on her 17-point list had it been Baldoni who said
 it.


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            58.      Lively’s intimate comfort with Baldoni continued as filming progressed. In June of

 2023, after the alleged harassment and “uncomfortable” situations allegedly occurred, she even

 invited Baldoni to her trailer to rehearse while pumping breast milk:




            59.      Lively was so close and comfortable with Baldoni that she freely breastfed in front

 of him during meetings, including when her husband was present. Oftentimes, Lively’s baby nurse

 would come in mid-meeting with Lively’s hungry baby, and Lively would breastfeed openly and

 without hesitation. On every occasion, Baldoni averted his eyes from Lively’s chest, either

 maintaining eye contact or looking away. Lively also took photos of him holding and soothing her

 crying baby11 in her penthouse. They laughed deliriously during late-night writing sessions. All of

 these events took place after the alleged sexual harassment. Lively’s accusations seemed to come

 out of the blue.

            60.      She even knew his tea order:




 11
      Out of respect for Lively’s privacy, this Complaint does not include any images of her family.


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            61.      Lively herself set the tone for personal discussions on set, including what language

 was acceptable. For example, on one occasion while filming a restaurant scene, Lively sat on the

 floor in painfully expensive shoes while discussing with a group of male cast and crew how “sexy”

 her shoes were.12 Lively had no issue using the word “sexy” herself, but apparently took note both

 times Baldoni said the word in her presence.


 12
      This is evidenced in film footage captured between scene takes.


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        62.     Though she was loose and relaxed in her speech on set, she was increasingly

 stringent in the demands she imposed on the production. She rewrote her own dialogue constantly,

 and took it upon herself to make unilateral changes to other characters’ lines, effectively rewriting

 the script day by day. This pattern of domineering interference caused unending interruptions to

 the production process, leading to entirely unnecessary stress, chaos, and delays. It is well

 documented on film footage how frequently she requested changes, and how, at every turn,

 Baldoni took her thoughts and, out of fear of repercussions from Lively and her allies, he

 consistently tried to accommodate them.

        E.      During Labor Strikes, Lively Moves to Seize Absolute Power

        63.     On May 2, 2023, the Writers Guild of America (“WGA”) went on strike.

        64.     Production on the Film halted temporarily on June 14, 2023 due to WGA picketing;

 the next day, the production was notified that the WGA had agreed not to picket their set, allowing

 production to continue. But Lively was already gone and refused to return to the production

 immediately. Wayfarer reworked the shooting schedule at great expense to film the scenes with

 the younger versions of the characters instead of footage requiring Lively. On June 27, 2023,

 production shut down entirely for the pendency of the strike.

        65.     The SAG-AFTRA strike soon followed, beginning on July 14, 2023.

        66.     To make the most of time during the strike, Baldoni began editing the footage that

 had been captured to date, starting the director’s process of turning footage into film.

        67.     Lively expressed excitement over returning to shoot in the fall in New York,

 making no mention of any discomfort or harassment that would be brought up only later, after

 months of being apart, on the day the strikes ended.




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         68.      Both before and during the Strikes, Lively’s eager involvement in the production

 took on a more insistent and manipulative tone, as she asked for access to the “dailies”13 and early

 cuts of scenes – both inappropriate and unorthodox requests.




 13
   “Dailies” refers to raw footage of what was filmed that day, including the many “takes.” This is not shared with
 cast.


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        69.     Wayfarer, Baldoni, and another producer on the Film strategized about how to

 respond to Lively (which became common practice, so as not to trigger backlash from Lively).

 The text exchange below demonstrates adamant objections to giving Lively the dailies. Not only

 was it an inappropriate overreach, but there was a very real concern that a simple ask (such as

 rewriting a couple of scenes) would turn into a complete takeover (i.e. rewriting the script). They

 rightly feared that giving her the dailies could turn into her demanding to edit the whole movie

 (which is exactly what ultimately happened):




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        70.     After consulting internally as to how to respond, Baldoni politely pushed back,

 explaining that it was much too early in the editing process to share much footage.




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        71.     At that point, Lively reluctantly paid nominal lip service to the notion that Baldoni,

 the Film’s director, was entitled to the time and space needed for his directorial cut but continued

 to push:




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        72.     Baldoni shared limited scenes with Lively, feeling uncomfortable all the while, yet

 he already knew that he had to bow to Lively’s demands in order to get out the Film and its

 powerful message. Finally, he put his foot down, sending Lively one final scene and then telling

 her he would not be sending any more cuts until he was finished his editorial process.




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        73.     The WGA strike ended on September 27, 2023, and the SAG-AFTRA strike ended

 on November 9, 2023. Months before, Baldoni had made Lively’s representative aware that they

 would continue pre-production in order to “hit the ground running” when the strikes ended.

        74.     But Lively and her lawyers had been busy devising other plans during the strike.

        75.     The same day that the SAG-AFTRA strike ended, Baldoni, the studios, and

 producers were eager to resume production. Instead, they were met with an email from Lively’s

 lawyer, who sent Wayfarer an unsettling and unexpected 17-point list of non-negotiable conditions

 that must be met before Lively would return to work. The stunning list was drafted for the apparent

 purpose of insinuating or outright claiming that Baldoni, Heath, and others had engaged in sexually

 inappropriate conduct during filming. Nothing could be further from the truth.




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        76.     Both Wayfarer and Sony attempted to revise the document to make it factually

 accurate (being that their representation of set culture was inaccurate) and sent comments through

 Wayfarer’s attorney (who incorporated Sony’s notes). But Lively’s counsel’s response made it

 clear that the list was not open for negotiation.




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        77.     It was clear that Wayfarer would have to sign the document as-is, despite the falsity

 of its insinuations. The alternative was to lose millions of dollars, cost hundreds of people their

 jobs after they had been out of work for months, and destroy their relationship with Sony.

 Nonetheless, the demands themselves were agreeable; indeed, some were already in place.

        78.     To illustrate the distorted and downright fictional bases for the 17-point list of

 demands, each of them is addressed in turn below.

                a.     Point 1: Intimacy Coordinator

        79.     Lively demanded that an intimacy coordinator be present at all times when Lively

 was on set. In fact, an intimacy coordinator had already been engaged during the first half of the

 production, so Wayfarer took no issue with this request itself, despite both Lively (and her

 attorney) knowingly insinuating there was not one. On or about March 20, 2023, nearly 2 months

 before filming began, Baldoni met with the intimacy coordinator and in early April of 2023, more




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 than 6 weeks before production commenced, she was engaged. Lively was aware, as Baldoni had

 informed her in writing, on or about April 6, 2023. Lively’s attorney was also aware, as

 documented in May 8, 2023 emails between her and Wayfarer’s attorney within which Wayfarer

 provides her the intimacy coordinator-approved Nudity Rider, followed by written confirmation

 of said approval.




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        80.     Although the presence of an intimacy coordinator is not a Screen Actors Guild rule

 but rather a recommendation, Baldoni was eager to engage one from the start to ensure talent,

 himself included, felt safe during intimate scenes. It was also important to him that the intimacy

 coordinator be a woman, to help craft sex scenes that would speak to the mostly-female audience



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 of the book, i.e. be written from the “female gaze” – a fact Lively later mocked in both her

 Complaint and her CRD Complaint.14

         81.      Given both Lively and Reynolds’ first-hand knowledge of these facts, Lively’s

 insistence in her November 9, 2023 “Return to Production Demands” on the constant presence of

 an intimacy coordinator was baffling; however, because Wayfarer had already engaged an

 intimacy coordinator and had no issue with the request, and given the request came with the threat

 that Lively would not come back to work after months of filming and planning, Wayfarer

 acquiesced. This acquiescence, given with the written caveat that Wayfarer disagreed with the

 characterizations, was later used by Lively to falsely suggest an acknowledgement that there had

 not been an intimacy coordinator at all.

                  b.      Point 2: Limiting Review of Intimate Scene Footage to Those with

                          Essential Business Reasons

         82.      Given that this was already standard practice in the film industry and in practice on

 the Film’s set, Wayfarer readily agreed to this demand, though without any reason to believe that

 the demand was made in response to any inappropriate conduct. Despite having filmed for over a

 month and despite having been provided a Nudity Rider and the opportunity to negotiate, finalize,

 and sign, Lively had never asked for a “closed set”. However, Production had always adhered to

 this and had no problem agreeing to this demand. For clarity, no intimacy scenes were even shot

 prior to the Nov. 9, 2023 Return to Production Demands; therefore, under no circumstance did

 Lively shoot intimate scenes “without a nudity rider”, as suggested in her Complaint, and

 production did not violate any SAG-AFTRA rules. The one simulated nude scene filmed prior to

 the strike break and the Nov. 9, 2023 Return to Production Demands was a scene that Lively wrote,


 14
  Lively v. Wayfarer Studios LLC et al., Case No. 1:24-cv-10049 (S.D.N.Y. Dec. 31, 2024) (Dkt. No. 1, ¶ 50); CRD
 Complaint, ¶ 34.


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 knew of in advance, and directed the action for, and she never requested a nudity rider or intimacy

 coordinator for that scene.

          83.      This demand, as written, suggests nude or intimate scenes were filmed with non-

 essential personnel present. Later in her complaint, Lively alleges that during a scene (the

 “Birthing Scene”) she was “mostly nude with her legs spread wide in stirrups and only a small

 piece of fabric covering her genitalia,” and that there were “non-essential persons” present.15 This

 allegation is knowingly false. To begin with, to describe Lively as “mostly nude” and “naked from

 below the chest down” is dishonest.16 Lively was wearing black briefs and a pregnancy suit that

 covered her midsection, and her top was covered by a hospital gown. Her legal complaint17

 deliberately suggests she was wearing “a small piece of nude fabric glued around [her] genitalia”

 by stating this is “generally” what female actors use to “provide some minimal privacy without

 disturbing the shot…”, leaving the reader to believe Lively was only wearing this small fabric.

 Lively was aware of this birthing scene as she was heavily involved in writing (rather, rewriting)

 the script and gave creative input for this specific scene (even against the director’s creative

 vision).

          84.      Moreover, film footage clearly demonstrates that the set was not chaotic, as she

 alleges, and only “essential” individuals (e.g. film crew, talent) were present for the scene and

 doing their jobs. Importantly, Lively knowingly and falsely alleges that the Film’s financier was

 present during these scenes, and insinuates he was watching her nude (which he had no desire to

 do). He was not even on set during the filming of that scene. He arrived later, merely stopping by

 for a brief moment amid his busy business schedule, and was present during the filming of a scene


 15
    Lively v. Wayfarer Studios LLC et al., Case No. 1:24-cv-10049 (S.D.N.Y. Dec. 31, 2024) (Dkt. No. 1, ¶ 52).
 16
    If Lively is referring to her character being “mostly nude” (i.e. her pregnancy suit was exposed), her statement is
 misleading, and still false. The only nude body part exposed were her legs.
 17
    Lively v. Wayfarer Studios LLC et al., Case No. 1:24-cv-10049 (S.D.N.Y. Dec. 31, 2024) (Dkt. No. 1, ¶ 51, fn. 8).


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 in which Lively’s character spoke with a female OB-GYN doctor – a scene in which she was fully

 clothed.

                c.      Point 3: No Spontaneous Improvisation of Scenes Involving Physical

                        Touching, Simulated Sex, or Nudity, Which Must Be Choreographed

                        With Intimacy Coordinator

        85.     Contrary to Lively’s knowingly false claims, it was Lively who refused to meet

 with the intimacy coordinator to plan out their scenes, putting Baldoni in the awkward position of

 meeting alone with the intimacy coordinator and later relaying sex scene suggestions and plans to

 Lively in the intimacy coordinator’s absence. These meetings often took place, at Lively’s

 insistence, in the couple’s home, and often while Lively’s husband was present. Lively’s method

 of work was unconventional and uncomfortable for Baldoni. To suggest Baldoni was the one who

 created this scenario is knowingly false.




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        86.     As a result, many sex scenes were not written with simultaneous collaboration and

 input from both Lively and the intimacy coordinator, as Baldoni had long intended (the “female

 gaze” that Lively distorted in her CRD Complaint and, on information and belief, circulated to the

 New York Times for its publication weeks before filing her complaint with the Court). In the end,

 Lively rejected all of the intimacy coordinator’s proposals to rewrite the scenes herself.

        87.     Most egregiously, Lively later used these circumstances, created entirely by her, to

 accuse Baldoni of insisting Lively do “uncomfortable” or “gratuitous” scenes – scenes that were

 in fact proposed by the intimacy coordinator and by all accounts very typical asks of any actor

 performing simulated sex scenes. This is well-documented in handwritten notes Baldoni took

 during meetings with the intimacy coordinator and later read to Lively. Lively, in her recent

 allegations, mispresented these ideas as personal, despite the fact that they were workshopping

 scenes for their characters. Lively’s inability to discern the basic premise of the divide between

 collaborating on a film and personal interactions with her co-star and director is woven throughout

 her claims of sexual harassment.

        88.     In support of what Lively positioned as the impetus for these demands, she alleges

 Baldoni personally added “graphic content, including a scene in which Ms. Lively was to orgasm

 on camera.” This is false. During a creative meeting, which Lively requested to take place in her

 home, Baldoni read to her his notes from the intimacy coordinator, including a suggestion that

 Lively’s character orgasm during the scene, similar to the book. Lively remarked, “oh no, I’m too

 old for that” and Baldoni offered another suggestion instead, also from his notes from the meeting

 with the intimacy coordinator. Baldoni then moved on.




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        89.     Lively’s later complaint sheds light on what this point was alluding to in this

 demand, which at the time was baffling and, upon review of the filmed evidence, is unequivocally

 based on a lie. Production was filming a “romance montage” of Lily and Ryle on their date. One

 of the producers played music to set the mood so the characters could slow dance. Lively,

 consistently unable to take direction, insisted she really liked the idea of the characters constantly

 talking, because, as she described, she and her husband like to “keep talking and talking and

 talking.” Baldoni, her director, and the film’s assistant director (who was directing the scene)

 disagreed. In an attempt to encourage her to take his direction, Baldoni offered up that he and his

 wife often just look into each other’s eyes silently, to which she responded, “Like sociopaths,” and

 laughed. Baldoni laughed and shook it off, while Lively once again started talking about how she

 and her husband can’t not talk. Baldoni said, “I think that’s cute,” and complimented the couple,

 to which Lively responded, “I think it’s more than cute.”

        90.      Lively continued arguing and tried to direct him for the scene. while they were

 supposed to be in character filming the scene. At some point Heath and another producer, irritated,

 called Baldoni aside to express they can’t capture the intended “shot” because Lively wouldn’t

 stop talking. He was instructed to somehow get her to stop. While there was a brief verbal

 exchange, Baldoni, heeding the instruction of their Assistant Director and producers, continued to

 try to bring them back into character. As they were acting in this montage scene, Lively continued

 to break character and speak as herself rather than as Lily, which was extremely confusing for

 Baldoni, who was trying to balance directing the scene within his artistic vision while also acting

 in character while filming and trying to get Lively to do the same. Lively apologized for the smell

 of her spray tan and body makeup. Baldoni responded, “It smells good,” and continued acting,

 slow dancing as he believed his character would with his partner, which requires some amount of




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 physical touching. Lively took them out of character again and joked that Baldoni should undergo

 a rhinoplasty; Baldoni laughed it off.18 Lively incorrectly alleges that this scene was filmed

 without sound. Baldoni was wearing a microphone, and the entire exchange was captured on

 camera. The actual footage belies any suggestion that this scene was filmed unprofessionally.

 Lively’s allegation that sexual harassment took place is unequivocally false.

            91.      Moreover, it was Lively who engaged in unchoreographed kissing scenes. One

 scene, again captured on camera, exhibits Lively pulling Baldoni in to kiss her. It is clear Lively

 was initiating unchoreographed kissing: In one take, she pulled Baldoni in and kissed him once;

 in another twice, and the number of kisses, entirely initiated by Lively, changed at her whim.

 Baldoni, as a professional actor who, among other roles, played the lead’s love interest in

 television’s Jane the Virgin for 5 years (100 episodes), is, like most actors, accustomed to

 rehearsing or filming scenes multiple times – often with variations - without needing “permission”

 while in character. While Lively now takes issue with any innocuous improvisation Baldoni, as

 Ryle, may have allegedly initiated while in character, Baldoni treated their relationship on camera

 as professional; each playing their part, each doing their job. If no one was supposed to improvise,

 Baldoni would have no way of knowing based on Lively’s own actions. Lively demonstrated,

 again and again, that this was a normal and acceptable part of filming romantic scenes.

            92.      Lively also complains that there was inappropriate and improvised kissing during

 the first period of filming, before the strike break. But in fact, the only two kissing scenes filmed

 during the initial filming period were both scenes that included kisses as written in the script. These

 kissing scenes were not improvised.




 18
      Lively alleges Baldoni inappropriately commented on her physical appearance. It was the other way around.


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                    d.       Point 4: No Physical Touching of Lively (Including Hugging) or

                             Comments on Her Physical Appearance Except in Connection with the

                             Character and/or Scene Work, Not as to Lively Personally

            93.     To be clear, none of the named parties touched Lively when not in character,

 especially not in the manner suggested.

            94.     While Baldoni and Wayfarer clearly agreed that coworkers should respect physical

 space, Lively’s constant confusion of references to her character as played by Lively, as opposed

 to Lively herself, became problematic and interfered with production. This was caused in large

 part by Lively’s persistent desire to direct and inability to accept direction. For example, her

 allegation that Baldoni inappropriately called her “sexy” was in fact a reference to a scene where

 everyone was wearing “onesies”, but Lively was covering her onesie with a big coat. Baldoni, her

 director, asked that she take off the big coat so that her “onesie” would be visible in the scene.19

 Baldoni said, “it will be hot” as it was 90 degrees in the small bar with no air conditioning. Lively

 mischaracterizes this in her Complaint as Baldoni referring to her (personally) as “hot” (using the

 slang meaning of the term). Given that Lively herself had earlier expressed to him that she wanted

 her character’s wardrobe to be “sexier,” Baldoni encouraged her to accept direction by saying “it’s

 sexy,” meaning that without the big coat the wardrobe was “sexier” as Lively had said she wanted

 it to be. Lively took this personally. She was unable to take the direction (later alleging his behavior

 was inappropriate) regarding her self-chosen wardrobe, stating, “that’s not what I’m going for.”

 Baldoni, recognizing that she may have taken his direction personally and appeared offended,

 apologized more than once. His statements were immediately followed by his gesture that she had

 something in her teeth, and a request for someone on set to get her a toothpick. This exchange, all



 19
      This is documented on-camera while filming.


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 of which is captured on camera, demonstrates how ludicrous and deliberately malicious Lively’s

 allegations are.

        95.     While on the one hand, Lively accuses Baldoni of making comments about her

 appearance, on the other, she made fun of aspects of Baldoni’s appearance, including the size of

 his nose – something Baldoni has publicly expressed insecurities about and has discussed on an

 episode of his podcast, Man Enough, exploring the topic of body dysmorphia. Lively’s comment

 about Baldoni’s nose—advising him to get a nose job—was captured on camera. Baldoni, rather

 than adding it to a list of grievances, brushed it off and moved on with the scene.

        96.     Baldoni’s sincere dedication to what he has repeatedly described as holding himself

 accountable as a man was being used against him, just as Lively is attempting to do now. To

 characterize his sensitivity to her personal reaction to his creative direction, which was not only

 innocuous but well intended, is malicious. To then share this knowingly false characterization with

 the New York Times for publication months before filing any formal complaint, then waiting nearly

 two weeks to file the complaint with this Court (thus depriving him the opportunity to engage in

 discovery before the damage is done), is inexcusable.

        97.     Despite the flawed factual premise underlying Lively’s demand, in the face of

 Lively refusal to return to work, Wayfarer agreed to this condition.

                e.      Point 5: No Discussion of Personal Experiences with Sex or Nudity,

                        Including as it Relates to Conduct with Spouses or Others

        98.     When Baldoni was faced with this demand, he was utterly confused. By the time

 Lively and Baldoni were developing their intimate scenes together, they had developed a friendly

 relationship and were communicating often over text message. Lively felt comfortable expressing

 herself and appeared to do so freely. She took photos of Baldoni holding and comforting her




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 newborn in her home. Baldoni filmed her uncontrollably laughing with him as they rehearsed late

 into the evening, often delirious with exhaustion. Nothing about their interactions suggested Lively

 was uncomfortable around Baldoni. Though confused by this demand, and denied the opportunity

 to revise the Return to Production Demands to make them factually accurate and less misleading,

 Wayfarer had no choice but to sign the document and did so, knowing no such instances had

 occurred.

        99.     Later, Lively references in her Complaint instances that were shockingly

 mischaracterized and in no way inappropriate or unprofessional.

        100.    For example, in response to a proposal from the intimacy coordinator that Baldoni’s

 character Ryle not orgasm after he satisfied Lily, Lively remarked, “I’d be mortified if that

 happened to me,” personalizing the characters’ sexual act. Baldoni, following Lively’s lead in what

 he understood to be an attempt to connect with and develop their characters, remarked that “those

 have been some of the most beautiful moments” between himself and his wife. They then moved

 on. In another instance, as Lively and Baldoni were developing their scenes, Lively said, “I don’t

 want it to look like porn” and then offered up that she had never seen porn in her life (a very

 personal fact). Baldoni complimented her and said “that’s wonderful” because unfortunately he

 was first exposed to it when he was ten years old, and struggled with a porn addiction for a period

 of his life; he writes openly about this in both his books Boys Will Be Human (written for young

 boys) and Man Enough (written for men), addressing pornography as a societal problem. Anyone

 who knows or has done any research on Baldoni would have knowledge of this, and it can in no

 way be characterized as inappropriate, especially after opening the door to the discussion by

 disclosing something highly personal. At every turn, Baldoni was entrapped. Moreover, Heath,




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 who had nothing to do with this exchange and has never had a porn addiction or even mentioned

 porn in Lively’s presence, was falsely and knowingly lumped into this accusation.

        101.    Lively continued with an outrageous and knowingly false suggestion that she was

 shown pornography or naked images of Heath’s wife on set. This allegation knowingly and

 maliciously misrepresents an instance when in connection with the birthing scene, Heath, at the

 director’s request, attempted to show Lively a video that demonstrated the director’s vision for

 the scene. This video, which ultimately was not shown to Lively (even though she stated she’d like

 to see it later, as she was eating) is by all accounts beautiful. Since Lively wanted to see it later,

 what she saw was the first image at the start of the video, which shows Heath’s wife, himself, and

 their baby after his wife gave birth at home (a “natural birth” or “home birth”). To characterize

 this image that captures such a beautiful moment with their newborn baby, shared with the consent

 of his wife for purposes of the Film, as a naked photo, or worse, “porn,” is deplorable . Nonetheless,

 Lively did not object and asked to see the video after she ate, having managed to “convince” the

 director to write and shoot the scene according to her specifications.

        102.    These brief exchanges were distorted beyond recognition in the 17-point list of

 “Return to Production Demands” that Lively served on Wayfarer.

        103.    Still, without conceding that anything remotely inappropriate had happened,

 Wayfarer agreed to this condition so that they could resume production.

                f.      Point 6: No One to Enter Lively’s Trailer While She Was Undressed

        104.    The suggestion that this ever happened is illogical and categorically false. No one

 would or did enter Lively’s trailer without knocking first and asking permission. More than once,

 Lively invited Baldoni, Heath, and other producers into her trailer so that she could multi-task,

 understandably balancing motherhood with her work obligations. Regrettably, while




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 accommodating Lively, Baldoni and Heath were led into situations that would later be

 characterized as harassment. Lively herself invited Baldoni to her trailer to “work on lines” while

 she pumped breast milk. Lively regularly breast-fed in front of Baldoni while they had meetings.

 Heath was invited into her trailer for a meeting at her request while she was having makeup

 removed from her collarbone because she was not able to meet at another time. Her nanny, makeup

 artist, and assistant were present, and Lively was not topless, as she claims elsewhere, but was

 fully covered while either nursing or pumping breast milk. In this instance, he was instructed to

 turn away while they spoke and respectfully did so, while they figured out a time to meet with the

 other producers standing just outside the door and as Heath pleaded with Lively to have the

 meeting the next morning to avoid her getting home late and losing shoot time the following day.

 While it is possible he inadvertently made eye contact at one point, he does not recall. Lively later

 mentioned he did, and it made her uncomfortable, to which he responded, “I’m so sorry, I really

 didn’t realize.” Lively responded, “I know you weren’t trying to cop a look,” and they moved on.

        105.    Lively’s suggestion that not one, but two professional and conscientious men

 barged into her trailer several times, or attempted to enter or pressured her to allow them to enter,

 offends not only their long-established integrity, but the sanctity of their vows to their wives and

 their dedication to their children and families. Lively is aware that both men are incredibly

 supportive and respectful of motherhood, to say the least. Heath’s wife is a vocal advocate for

 postpartum mothers. Baldoni’s wife co-founded a company that designed a breast-feeding

 garment, a prototype that originated with his mother when he was an infant. Baldoni had gifted

 Lively one. While those facts would never be an excuse for barging in unannounced, it is indicative

 of the nature of their relationship with and respect for women. Simply put, such allegations are

 categorically false claims that would have been wildly out of character if they were true.




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                   g.       Point 7: No Filming Nude or Sex Scenes Except Per Nudity Rider, and

                            No Use of Prior Nude Scenes Without Nudity Rider

          106.     Lively was provided a Nudity Rider, approved by the SAG Intimacy Coordinator,

 and was given ample opportunity to provide notes before production commenced. Despite constant

 pursuit over several months, Lively’s attorney never produced notes, and Lively not only didn’t

 sign the Nudity Rider during the first phase of production but never even signed her employment

 agreement. Her main concern while Wayfarer’s lawyers were all but begging for signatures was

 ensuring her fee was deposited into escrow. In order to move forward, they had to pay her fee even

 though she hadn’t signed her agreements.

          107.     The Screen Actors Guild (“SAG-AFTRA”) states that producers must provide

 actors at least 48 hours’ notice before call time to review and negotiate a nudity rider. A Nudity

 Rider approved by the SAG-AFTRA intimacy coordinator working on the production was

 provided to Lively’s counsel on May 8, 2023. Wayfarer’s attorney communicated that they would

 like it signed by May 11, 2023 and requested they send any notes they may have. On May 12,

 2023, Lively’s attorney finally responded that they were reviewing the Nudity Rider and would

 come back with notes. Their focus then shifted to ensuring Lively’s fee was deposited in escrow,

 and they became fixated on that, despite Wayfarer’s repeated requests for Lively to sign the

 customary Certificate of Engagement20 first. Ultimately, despite constant pursuit, it became clear

 that Lively had no intention of signing the Nudity Rider or her contract at that time.




 20
   When working with an actor who may take time to sign the main actor agreement, it is customary to send a
 certificate of engagement to protect the copyright of the film. Wayfarer negotiated the terms of said certificate of
 engagement but, though it was approved by Lively’s counsel, never received a signed copy.


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        108.    Months later, the demand for a Nudity Rider became a part of the 17 demands, and

 presented as if it were Wayfarer, and not Lively, who was the cause of its absence. The demand

 also stated that “any footage previously shot without the Nudity Rider in place” may not be used

 without Lively and her legal representatives’ consent, despite the fact that no simulated sex had

 been filmed yet. In fact, only one scene involving simulated nudity had even been filmed, and it

 was a scene that Lively knew of well in advance, given that she wrote it herself, knew when it

 would be filmed, and directed the action herself, never requesting a nudity rider or an intimacy

 coordinator.

                h.     Point 8: Lively Entitled to Personal Representative on Set

        109.    Wayfarer had no objection to allowing Lively a personal representative on set.

                i.     Point 9: Notice of COVID-19 Exposure

        110.    On April 26, 2023, weeks before principal photography of the film commenced,

 Wayfarer sent crew a “Covid-19 Protocol Update” informing them that the AMPTP Return to

 Work Agreement expires on May 12, 2023, and as such, there would be no preemployment testing

 and no mask requirements after May 12, 2023.




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        111.    Although the AMPTP Return to Work Agreement that established Covid protocols

 expired prior to the start of principal photography and no testing or masking was required,

 Wayfarer agreed to inform Lively if production became aware that she was exposed to Covid.

                j.      Point 10: No Retaliation for Requests

        112.    While Wayfarer in no way conceded that Lively’s demands amounted to a report

 of genuine sexual misconduct, Wayfarer had no interest in retaliating against Lively for making

 these demands. Their only desire was to make a great movie. In the interest of maintaining a

 professional and productive atmosphere on set, they agreed to meet all of her demands, including

 a broadly defined statement that they would not retaliate in any manner (including “sarcasm”).

 Wayfarer agreed, though later it became clear that Lively would consider any future effort to push

 back against her demands with respect to the production as unacceptable “retaliation.” On

 information and belief, this demand was included to safeguard Lively not from retaliation, but to

 secure her place as “leader” of the Film with the threat of claims of retaliation if Wayfarer or

 Baldoni pushed back.

                k.      Point 11: Mutually Agreed Sony Representative Required on Set

        113.    Wayfarer agreed to the concept of having a Sony representative on set whenever

 Lively was on set, though it gently pushed back on the idea that it always be Ange Giannetti, who

 might occasionally have other pressing work obligations. Overall, however, Wayfarer agreed.

                l.      Point 12: Additional, Lively-Approved Producer to Be Hired to

                        Supervise Filming

        114.    Wayfarer pointed out that the additional expense and the contractual implications

 of hiring an additional producer would have detrimental effects on the production. In the end,

 Wayfarer agreed, as it would cost production more if Lively refused to return to work.




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        115.    Todd Black, suggested by Sony and approved by Lively, was ultimately brought on

 as an additional producer.

                m.     Point 13: Existing Third-Party Producers Empowered to Actively

                       Supervise the Production

        116.    While disagreeing with the suggestion that any producer did not have “appropriate

 and customary authority to actively supervise the production” in their capacity as producer,

 Wayfarer agreed to this term; any third-party producer was already empowered to do so.

                n.     Point 14: Wayfarer to Use Lively-Approved Body and Stunt Doubles

                       for Intimate and Sexual Violence Scenes

        117.    Despite not requesting this at the contract negotiation phase, Lively’s pre-approved

 stunt and body doubles were fully acceptable to Wayfarer and so they agreed, despite the fact that

 was an additional and unplanned expense to the Film. Ultimately, no body doubles were used in

 the Film, at Lively’s request. Lively and Baldoni displayed a courteous and professional

 relationship throughout phase two of production.

                o.     Point 15: No Filming Nude or Sex Scenes of Any Actor’s Portrayal of

                       Lily Except Per Nudity Rider, and No Use of Prior Nude Scenes

                       Without Nudity Rider

        118.    This was an overstep: an attempt to expand Lively’s right to her own Nudity Rider

 to assert control of the Nudity Rider for another actor (the actor who portrayed young “Lily”).

 While seeing this as infringing on the young actor’s independent right to her own Nudity Rider,

 Wayfarer, once again, was forced to agree, while informing Lively that “Young Lily” had already

 filmed her intimate scenes pursuant to her own Nudity Rider.




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                p.      Point 16: All Day Players Must Be Hired Through Talent Agencies, Not

                        Personal Connections

        119.    This point appeared to relate to Lively’s misleading claim that Baldoni

 inappropriately cast a personal friend to play the obstetrician during Lily’s birth scene. Baldoni

 casting an experienced actor who happens to be a friend is no different than casting Lively’s sister,

 who was cast because she is Lively’s sister. The actor portraying the obstetrician is an award-

 winning Shakespearean-trained actor with an MFA in Acting from UCLA, and in addition to

 appearing on numerous hit television shows, has toured nationally with a Tony Award-winning

 acting company and attended Oxford’s acting program on full scholarship. His accolades and

 performances speak for themselves. Lively’s current complaint states she was “alarmed” when

 Baldoni introduced him as his friend, and allowed him to play this “intimate role, in which the

 actor’s face and hands were in close proximity to her nearly nude genitalia” [emphasis added],

 categorizing the experience as invasive and humiliating. It is Lively’s suggestion that a highly

 trained and experienced actor would have an unseemly interest in being in “close proximity to her

 nearly nude genitalia” (which, as previously established, was not nude or exposed), that is

 inappropriate, invasive, and humiliating to the actor.

        120.    To reiterate, Lively knowingly made a false statement that “only a small piece of

 fabric cover[ed] her genitalia” during the birth scene. In fact, Lively was wearing briefs during the

 scene and was covered by a hospital gown, and was wearing a pregnancy suit covering her

 midsection; this was not in any way a nude or partially nude scene.

        121.    Once again, Wayfarer agreed despite being wholly offended by this accusation.




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                q.     Point 17: All-Hands Meeting Before Production Resumes

        122.    Wayfarer understood this request to be a sincere offer to meet and discuss the needs

 and preferences of Lively and other cast members to ensure comfort and security while filming a

 movie that dealt with difficult themes. In that spirit, Wayfarer readily agreed, believing that an

 opportunity to discuss concerns openly and to plan resuming production would be welcome. As

 will be established, Wayfarer’s good faith belief could not have been farther from the truth behind

 this demand. Lively (with the support of her husband) used this demand to justify an ambush of

 Baldoni and Heath on the eve of the first day of filming in phase two of production.

        123.    Importantly, Sony (who also had a representative on set) found the 17 requests

 confusing as well:




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        124.    Before returning to production, Lively had even more script notes and changes

 beyond what was already performed during phase one of production. In the face of these terrifying

 and false accusations couched as demands, as well as Lively’s threat that she would not return to

 production, Baldoni realized he needed to cede control of the script to Lively as she wished. His

 Film would be taken from him by threats and coercion, and there was nothing to be done about it.

 In an email to his team containing the notes on his revised script, he expressed his sadness and

 frustration over Lively’s takeover of a film that they spent years developing, writing, and funding.

 Having no energy left to fight, he sadly declared he “[wa]s waiving the white flag and submitting”

 and would give Lively “98% of what she wants.” He also expressed serious concern over how to

 handle the intimacy scenes, given the accusations inherent in Lively’s Return to Production

 Demands. Baldoni asked his producing partners to guide him, as he was rightfully afraid of the

 “risk [that] something innocuous or not to [Lively’s] standards would very likely be used against

 [him] (as it already had)”, continuing that “creativity is impossible in an environment shrouded by

 fear. By now we all know what she is capable of.” Baldoni’s fear of Lively’s retaliation was

 palpable, but he was determined to “get the film to the finish line,” for everyone involved.




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        125.   A producer thanked Baldoni for his “thoughtful breakdown, . . . especially

 considering the circumstances”:




        126.   As producers continued to request the final shooting script (as they were just 4 days

 before commencement of filming), Baldoni worked hard with very limited time to rework the

 script and direction to meet Lively’s demands, recognizing that they “[would] be in a negotiation




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 for what the final script looks like”; Lively’s demands continued to cause additional work, and

 stress for the production team:




         127.    Meanwhile, on the day before commencement of the second phase of filming,

 Lively casually reached out to Baldoni, together with Heath and the Film’s producers, to meet in

 her home. Lively’s Return to Production Demands required a meeting before filming resumed. On

 the day before filming Baldoni, Heath, a Sony representative, the Film’s first assistant director,

 and two producers arrived with production binders in tow, excited to discuss details of resuming

 production. But Lively and her husband had a very different meeting in mind.

         128.    Lively brought Reynolds as her chosen “representative”—notably, she did not

 request any attendees from her union, the Screen Actors Guild. Together, Reynolds and Lively

 blindsided the rest of the group with a list of grievances, read aloud by Lively, that were as

 troubling as they were fictional. Reynolds then launched into an aggressive tirade, berating Baldoni

 in what Baldoni later described as a “traumatic” encounter. As Baldoni later said, he had never

 been spoken to like that in his life.

         129.    Reynolds demanded that Baldoni apologize to Lively for actions that had either

 never happened or had been grossly mischaracterized. Baldoni resisted apologizing for things he

 had not done, further enraging Reynolds. Everyone, including the producer Lively had asked the

 production to engage and the Sony representative, left the “meeting” in shock. The producer said

 that in his 40-year career, he had never seen anyone speak to someone like that in a meeting. The

 Sony representative said later that she often thought of the meeting and her one regret was not

 intervening to stop Reynolds’ tirade against Baldoni.



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        130.    Baldoni and Heath left the meeting deeply unsettled by Lively and Reynolds’

 behavior and the power dynamics at play. It was clear to them that this was the latest escalation in

 Lively’s concerted campaign of extortion to extract concessions and creative control over the Film,

 a campaign now apparently joined by Reynolds. Nonetheless, faced with persevering in the face

 of extortionate threats versus shutting down a film halfway through production (with all the

 attendant financial and reputational implications), Wayfarer had virtually no choice but to resume

 production and finish the Film despite the newfound certainty that Lively was intentionally

 manipulating, distorting, and inventing “facts” to use as a cudgel against Wayfarer. The stakes

 could hardly have been higher for Wayfarer: Financiers had invested substantial resources,

 hundreds of cast and crew members had endured months without work due to the strikes, and years

 of development had gone into bringing the Film to life. Moreover, Baldoni and Heath shared a

 conviction that “It Ends With Us” could still provide a powerful opportunity to center the voices

 and stories of domestic abuse survivors.

        131.    It is crucial to note that the list of “grievances” read at the January 4, 2024 ambush

 were new, separate and apart from the 17-point Return to Production Demands, and were never

 presented to any of the parties present. Though Lively’s CRD Complaint misleadingly suggests

 the parties agreed to a list of 30 items, many of the items listed on the CRD Complaint were new,

 entirely based in lies, and neither read nor provided to any of the parties, let alone agreed to. The

 only document presented to the parties was the 17-point Return to Production Demands presented

 on November 9, 2023, and signed over 2 weeks after this “meeting,” on January 19, 2024. Lively’s

 CRD Complaint, which on information and belief she disseminated to the New York Times well in

 advance of any legal filing, is riddled with blatant and deliberate misrepresentations, as is her

 Complaint here.




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            132.    As Lively admits, filming resumed the following day and then concluded without

 any further grievances or references to previous disputes by Lively:

            “[T]he parties agreed to implement and follow the Protections for Return to
            Production to ensure that the Film could be completed, marketed, and released
            safely and successfully. And it was. Production of the Film resumed on January 5,
            and concluded on February 9, 2024. The Film has been a resounding success.21”

            133.    Now that Lively had unleashed Reynolds on Baldoni and Wayfarer, they felt

 powerless to oppose the couple. Just as Lively had warned in April 2023, nine months before,

 Reynolds would ensure that Lively’s demands were met at every turn. From then on, Lively would

 get her way—or else. Unmistakably, Lively would use her carefully constructed paper trail to

 destroy Wayfarer, Heath, Baldoni—and the Film.

            F.      Lively Completes Her Usurpation of the Film

            134.    The Directors’ Guild of America (“DGA”) requires a ten-week editing period for

 directors to privately edit and assemble their director’s cut. This period is sacrosanct as it gives the

 director uninterrupted time to creatively shape the final product—a time to experiment, take risks,

 and refine until the Film fully reflects their artistic vision. For Baldoni, this period is the peak

 experience of the filmmaking process: a time to immerse himself in the creative craft, free from

 external influences. But Lively denied Baldoni this experience on this powerful and deeply felt

 film.

            135.    Lively requested, through producer Todd Black, to join Baldoni in the editing bay.

 As a seasoned professional with over twenty years of experience in film and television—not to

 mention growing up in a family deeply involved in the industry—Lively knew full well the

 implications of her request. But in the aftermath of the serious, and false, allegations that she had

 leveled against Baldoni, Heath, Wayfarer, and the production, and with pressure from Sony, they


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      See CRD Complaint ¶ 5.


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 reluctantly agreed to grant her access to the editing bay for two days. Notably, despite her

 allegations that Baldoni made her “uncomfortable,” Lively insisted on working closely with him

 through this process.




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        136.    In February and March 2024, Baldoni acceded to the request that Lively be “let in”

 to the editing process:




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        137.    Later in March 2024, Lively continued pushing for her demands, as what had been

 a two-day collaboration extended into ten, and Lively sought to work alone in the editing bay,

 without Baldoni, so that she would have full control. Though Baldoni incorporated seven pages of

 her notes into his edit at the very start, and consistently kept her involved in every subsequent edit

 (despite having absolutely no obligation to do so), Lively was not satisfied with merely

 collaborating with the director. She wanted to be the director, and see her own creative vision for

 the Film realized.




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         138.   As the editors noted, Baldoni “bent over backwards for [Lively] for months on

 end”:




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       139.   As April 2024 approached, Lively gained approval rights over individual scenes:




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        140.    Finally, in April and May 2024, Lively’s extortionate threats coerced Sony to allow

 her to create her own cut of the Film (a right that is exclusively reserved for directors) at Wayfarer

 and Sony’s expense, and despite Baldoni and Wayfarer’s rightful protests. Sony’s reasons for

 acquiescing to these beyond-unreasonable demands were clear. Sony told Wayfarer in no uncertain

 terms that Lively refused to promote the Film unless her demands were met. Wayfarer, feeling

 increasingly cornered into agreeing to Lively’s demands, attempted at least to require that Lively

 finally sign her engagement contract if her demands were to be met. Even this basic ask was

 refused, and Sony urged Wayfarer to give in.




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        141.    Baldoni and the Film’s original editors were not even allowed to see Lively’s cut,

 even if just to see how much of their work had been replaced.




        142.    Still believing that in a sane and just world, despite Lively’s continued extortion,

 an actress would never be allowed to usurp his legal right as a director to create and release his cut

 of the Film, he assumed that Lively’s edits would simply supplement his work. Thus, Baldoni

 continued refining his director’s cut. But as Lively threatened to refuse to promote the Film or

 approve any related marketing materials (such as trailers, posters, and social media posts), a

 doomsday scenario for this major motion picture, Wayfarer and Baldoni were extorted into

 acquiescence to more and more demands. This included co-funding (together with Sony) a “friends

 and family” screening of her version of the Film (which they had not approved or even seen),

 entirely at Lively’s insistence.


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        143.    Ultimately, Lively replaced the Film’s editors with her own choice: an editor often

 used by Reynolds, and the Film’s editors had to be let go. She also replaced the Film’s award-

 winning composer with composers from Reynolds’ recent project – even though the Film’s

 composer had already finished the score, with an orchestra (which is costly). Sony supported

 Lively’s demands and even enforced her dictate that the Film’s director and editors not be

 permitted even to view “her cut.”

        144.    Wayfarer and Sony found themselves in the unprecedented and uncomfortable

 predicament of having two competing versions of the Film: one made by the Film’s actual director,

 and one made by a person with no contractual or creative right to even approach the editing bay,

 let alone make her own cut. But in light of Lively’s threat to withhold promotion of the Film, as

 well as her thinly veiled threat to end Baldoni’s career with a slew of false accusations, the studio

 reluctantly agreed to do an official audience test of both versions (again at Wayfarer and Sony’s

 expense). This decision was made on the understanding that Lively had agreed with Sony that, if

 Baldoni’s director’s cut tested higher, she would drop the matter and fully cooperate so that

 Baldoni could finish the Film without further interference.

        145.    Tellingly, in a side-by-side comparison of audience tests, Baldoni’s cut scored

 significantly higher with key audience demographics:




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        146.    Not surprisingly, Lively reneged on her promise and insisted that her version be

 released to the public instead of Baldoni’s cut as director, even claiming that the book’s author,

 Colleen Hoover, would refuse to promote the Film as well if Lively’s version was not chosen.

 Sony called to tell Wayfarer that neither Lively nor any of the cast would promote the film unless

 Lively’s cut were used. Baldoni was forced to choose between killing the film and his own career

 by insisting on his own creative vision and rights, or putting out a version of the Film that Baldoni

 knew could still be so important to domestic violence survivors, even if it differed greatly from

 what it could have been. Baldoni reluctantly chose the latter, and stood down, allowing Lively’s

 version of the Film to be released and promoted. Baldoni was essentially forced to fire himself as

 director and allow Lively to finish his film, knowing it was the only choice he could make to serve



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 the greater good. Two days later, Baldoni was hospitalized with a serious spine infection.

 Eventually, with the key demographic being the focus, Sony and Screen Engine (the audience

 testing company), convinced Lively to put back as much of Baldoni’s edit as they possibly could.

 None of this was officially communicated to Baldoni, but whispers reached him that part of his

 cut made it back into the final release. Baldoni made sure to thank and apologize to his editors,

 whom Lively had caused to be let go.




        147.   By June 2024, Lively was dictating much of the marketing for the Film she had

 stolen from Baldoni and Wayfarer:




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        148.    Lively shamelessly removed Baldoni (the Film’s co-star, director, and executive

 producer who had championed this Film for 5 years and whose company had co-funded the entire

 project), out of all posters, trailers, and other promotional materials. She continued to refuse to

 promote the Film otherwise.




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        149.    Over Sony’s objection, Lively insisted on screening her cut at Book Bonanza,

 Colleen Hoover’s annual convention hosting authors and fans from around the world, an event that

 Baldoni had long been excited to attend. But Sony made it known to Wayfarer that, per Lively,

 Baldoni could not attend, notwithstanding the obvious promotional and PR risks. Lively appeared

 on a panel alongside Hoover and other cast members, icing out Baldoni from this critical event for

 his own film. He was not even allowed to review the final cut before it was shown to the world.




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        150.    By July 2024, Baldoni was completely locked out of the Film’s final cut. By virtue

 of his role at Wayfarer, he was permitted to “give notes as a studio.” This only added insult to

 injury because he should not have been “giving notes”—he should have been editing the Film.

        151.    Despite his personal feelings, he redirected his thoughts to focus on the one

 positive: The Film, years in the making, was very close to being seen by the world, even if it was

 no longer his film. He prayed for the possibility that the Film could still make the impact he

 intended when he first reached out to Colleen Hoover in 2019.




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        152.    Lively was still not satisfied. She continued to extort Wayfarer, Baldoni, and even

 Sony, threatening to abandon her contractual obligation to promote the Film or approve marketing

 materials if she wasn’t awarded a producer credit, and though Wayfarer had refused long ago to

 accede to this request when it was made during initial negotiations, Wayfarer now had its back

 against the wall and again, had to concede.

        153.    This still wasn’t enough. Lively later sought the coveted p.g.a. mark on her

 producer credit—a certified designation licensed by the Producers Guild of America (“PGA”) to

 identify producers who have performed the majority of the producing work on a motion picture.

 Neither Baldoni nor Wayfarer believed Lively fulfilled the requisite criteria to earn this mark, but

 that did not matter to Lively.


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         154.    Lively demanded, again with extortionate threats, that Baldoni, Heath, and other

 producers and department heads send letters to the PGA in support of her certification for the p.g.a.

 mark. Despite unanimous recognition of the absurdity and the unmistakably extortionate threats,

 Sony and other parties, despite being adamant not to support Lively’s demand for the unentitled

 mark, ultimately acquiesced and submitted letters of support.

         155.    However, Wayfarer and Baldoni firmly resisted. Because Lively did not perform

 the duties of a producer and therefore did not merit the p.g.a. mark—a distinction highly valued

 and taken seriously within the industry—Wayfarer and Baldoni refused to devalue the

 contributions of actual producers, on the Film and elsewhere, who merited the mark, and were

 unwilling to misrepresent Lively’s contributions to the Film. Having been forced in the face of

 extortionate threats to concede to Lively’s every demand to thus far, they believed it would be

 dishonest, unethical, and unjust to producers who rightfully earned the mark, to falsely represent

 to the PGA that Lively had fulfilled the requisite producing responsibilities. Asking that they lie

 on her behalf was the final straw...or so they thought.

         156.    In response, Lively instructed Sony to tell Wayfarer and Baldoni that “any good

 will left between us is done.”

         157.    Eventually, in the face of persistent threats and extortion, Wayfarer and Baldoni

 were left with little choice but to draft and sign a letter of support on Lively’s behalf, but not before

 Heath sent an email to Wayfarer’s attorneys documenting that he and Baldoni were signing the

 letter under duress.




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        158.    As the premiere of the Film approached, Lively made good on her promise and

 instructed Sony that she and the cast would not participate in any marketing or promotion of the

 Film alongside Baldoni, in spite of Baldoni and Wayfarer’s acquiescence to all her demands. She

 made certain that Baldoni was removed from all artwork for the Film (posters included) and

 stripped him of his “A Film By” credit. Lively and Reynolds also unfollowed him on social media,

 as did the author of the book—someone with whom Baldoni had maintained a five-year personal

 relationship, and for whom Baldoni created this opportunity.

        159.    The other cast members also unfollowed Baldoni, creating the false impression that

 Baldoni had done something wrong. On information and belief, Lively induced the other cast

 members to shun Baldoni, in an early attempt to give fans the impression that Baldoni had

 committed an egregious sin, something so egregious that no one wanted to even take photos with

 him or have him around. Lively was leaving what she had earlier referred to as “crumbs,” a social

 media strategy she had learned from a close celebrity friend: to give fans just enough to allow them

 to come to their own conclusions, thereby launching an army of detectives that, on information

 and belief, Lively hoped would turn against Baldoni. The unfollowing of Baldoni by cast members

 and even the author of the book, who he had a longstanding relationship with, was done without

 warning or any communication from them, in stark contrast to the warm praise and appreciation

 cast members had until that point always showered on him. For example, Isabela Ferrer, cast as

 “Young Lily,” exchanged grateful texts with Baldoni during and after her filming stint, which

 included a number of scenes involving intimacy:




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        160.    Tellingly, Ferrer worked with Baldoni when Lively was not on the set; it was not

 until Ferrer spent substantial time with Lively during film promotions that Ferrer felt compelled

 to shun Baldoni in repudiation of her warm words.

        161.    It became clear that Lively was laying the groundwork to explain away her theft of

 the Film and exile of Baldoni. Presumably, she was concerned that her shocking conduct would

 be frowned upon if it became widely known. Baldoni had no intention of ever making this

 information public. In fact, as co-star of the film, both he and his studio, who co-financed the Film

 and had spent millions of dollars, had every reason to want the Film to succeed; any suggestion

 otherwise is illogical. Baldoni promoted the Film as originally intended, gave Lively full credit

 and praise, and had done everything in his power, at every painful turn of making this Film with

 Lively, to ensure the Film succeeded. He wanted to move on. Lively, however, would not let it go.

        162.    Baldoni later received word that, during the premiere of his movie Deadpool &

 Wolverine, Reynolds approached Baldoni’s agency, namely, an executive at WME, and expressed

 his deep disdain for Baldoni, suggesting the agency was working with a “sexual predator” (a phrase

 that uncoincidentally later appeared in the press) and, at a later date, demanded that the agent

 “drop” Baldoni. His wielding of power and influence became undeniable. Baldoni and Wayfarer

 grew increasingly fearful of what Lively and Reynolds were capable of, as their actions seemed

 aimed at destroying Baldoni’s career and personal life. This pivotal moment terrified Baldoni and

 ultimately caused him to seek help anywhere he could to protect his reputation, his partners, and

 his wife, children, and family from false accusations that could ruin their lives. Desperate, terrified,

 and in this position for the first time, he sought expert guidance and was advised to engage “crisis

 PR” to be ready in case Reynolds and Lively decided to unleash their wrath on them. As is

 customary, a proposal was prepared for him with available measures and quotes of what each




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 suggested measure would cost. This proposal, wrongfully obtained from the very public relations

 company that once represented Baldoni (with whom he had recently severed ties), was later used

 by Lively to knowingly and falsely assert that Baldoni had agreed to the most aggressive option in

 the proposal. Lively falsely (and ironically) alleges Baldoni set out on a “smear campaign” to

 destroy Lively despite the thousands of documents she alleges to have that would prove otherwise.

 Notwithstanding, Lively, her team, and the Times worked in concert to cherry-pick, deliberately

 misconstrue, splice, and alter private communications to manufacture a self-serving and factually

 baseless narrative.




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        163.    Meanwhile, Lively systematically excluded Baldoni from all marketing and

 promotional efforts with her and the cast for the Film. He was not invited to any cast promotional

 events, cast screenings, premieres, photo shoots, or other cast campaigns. Baldoni was

 marginalized from the marketing process. The purported “Marketing Plan” allegedly created by

 Sony, which was later referenced in Lively’s CRD Complaint as “agreed to by all” (and attached

 as an exhibit as fact even though it was merely “talking points” and not a binding contract), was

 never the plan Baldoni “agreed to.”




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 In fact, against much resistance from the Film’s distributor, Baldoni, from day one, made it clear

 that he was making this Film to bring awareness to domestic violence and would not refrain from

 doing so when promoting the Film. He did not “go rogue,” as Lively alleges.




        164.    Throughout this period, Reynolds and Lively continued to leave “bread crumbs” in

 their campaign for mocking and bullying Baldoni. On July 26, 2024, the film “Deadpool &

 Wolverine” premiered, starring Reynolds. The film contained a new character named “Nicepool,”


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 also portrayed by Reynolds. Reynolds portrayed Nicepool as a vicious caricature of a “woke”

 feminist before concluding the character’s arc with his violent shooting death at the hands of

 “Ladypool,” a character voiced by Blake Lively. Upon information and belief, the Nicepool scenes

 were added to the movie and filmed in January 2024, after the January 4 confrontation in Reynolds

 and Lively’s apartment, and were intended to be a transparent and mocking portrayal of Reynolds’

 warped perception of Baldoni. Nicepool commented inappropriately on a female character’s

 attractive body after childbirth and excused his remark by claiming he identified as a feminist.

 Nicepool also made reference to an “intimacy coordinator” and even used a hairstyle that mirrored

 Baldoni’s previously longer hair.




        165.   This is further borne out by the fact that, in the credits for “It Ends With Us,” Lively

 expressly thanked “Gordon Reynolds,” the false name that Reynolds used for his credit for

 portraying Nicepool.




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        166.    While in Sweden celebrating his wife’s birthday, Baldoni was informed that Lively

 demanded he not attend the Film’s premiere on August 6, 2024. Lively further threatened that if

 Baldoni attended the premiere, she and the majority of the cast would boycott. It remained unclear

 what Lively had communicated to or promised the cast, but they now also refused to attend if

 Baldoni was present. The fact that Sony advised Wayfarer to concede underscores Lively and

 Reynold’s immense power and influence.

        167.    Baldoni and Wayfarer refused to succumb to the bullying tactics aimed at excluding

 them from the premiere of their Film—a project they had financed, produced, and owned. This

 threat marked the culmination of a year-long campaign of intimidation, harassment, and civil

 extortion. Although objectively egregious and shocking, the Wayfarer team had unfortunately


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 grown accustomed to the bullying, fully aware of the immense power this couple wielded and the

 far-reaching extent of their influence. However, they refused to give in to this entirely unreasonable

 demand and valiantly searched for a compromise with Lively so that they could attend the premiere

 of the Film that Baldoni had directed and co-starred in and that Wayfarer had co-financed and

 produced. Heath moved mountains to negotiate a scenario that Lively would permit (with the help

 of Sony, as Lively refused to speak to anyone connected with Wayfarer).

        168.    Just days before the Film’s premiere, Baldoni was still unsure if he would be

 “allowed” to attend. His friends and family, most traveling from outside New York, were left in

 limbo, unable to finalize travel plans or book flights. Baldoni did the best he could to hide his pain.

 Despite still not having seen the final cut of the movie he co-starred, co-financed, and directed,

 he wanted to celebrate the culmination of his years of work with his family and friends.




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        169.    Finally, through Sony, Wayfarer persuaded Lively to “permit” Baldoni and the

 Wayfarer team, along with their friends and family, to attend—though only under demeaning and

 humiliating conditions. They were relegated to a separate theater to view the Film, required to

 arrive at a different time than the rest of the cast, and instructed to leave the red carpet immediately

 once Lively arrived. Baldoni was also excluded from the official celebrity after-party, despite it

 being an event ultimately paid for by Sony and Wayfarer. As a result, Baldoni had to quickly

 organize and fund a separate after-party for himself and the Wayfarer team, forcing the company

 to cover the costs for two events—one for Lively and everyone else, and one for Baldoni and

 Wayfarer’s own friends, family, crew, and team.

        170.    Upon arrival, Baldoni began participating in red carpet photos and interviews

 absent the presence of the remainder of the cast. However, his time on the red carpet was abruptly

 cut short when it was conveyed that Lively was on her way, and he was instructed to stop

 immediately. He and his family were quickly ushered away. Security personnel, acting as though

 there was a risk of “escape,” escorted Baldoni’s group to the basement of the building. There, they

 were confined to a makeshift holding area surrounded by concession stand stock, with only fold-

 out tables and chairs arranged in a square. Surrounded by close friends, family, soda bottles, and

 a lot of love, the irony of being held in a basement on what was arguably one of the most important

 nights of Baldoni’s career thus far, was not lost on anyone.




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        171.    Once the main theater was deemed “clear” of Lively and her guests, Baldoni and

 his group were ushered into a separate theater to view the Film. At the conclusion of the screening,

 they were again quickly escorted out of the building by security to avoid even a chance of

 interaction with Lively or her guests. The Wayfarer after-party, held separately from the celebrity

 event and attended by crew, family, and other Wayfarer friends, was a “dry” gathering, in part to

 acknowledge the known negative relationship between alcohol and domestic violence. It was

 attended by the entire Wayfarer team from Los Angeles and their friends and family. The

 atmosphere and tone of the Wayfarer after-party were aligned with Baldoni’s vision for the Film,

 focusing on celebration and gratitude, despite being humiliated.

        172.    In the meantime, Baldoni was sidelined as Lively and Sony pressed forward with

 their promotional strategy for the Film. By contrast, Baldoni’s marketing plan, outlined in his

 initial proposal to Sony years prior, shared with Lively, and communicated numerous times to both


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 Sony and Lively, centered on a partnership with the organization No More. Founded in 2013, No

 More is a global initiative aimed at raising awareness, inspiring action, and sparking conversations

 to end domestic violence and sexual assault. Wayfarer’s collaboration with the organization began

 in 2022 and held deep personal significance for both Wayfarer and Baldoni. Staying true to his

 purpose for undertaking the Film, Baldoni prioritized amplifying the voices of survivors of

 domestic violence. His efforts reflected the heart of the Film’s story and its profound impact on

 audiences. He returned to the core reason for embarking on the project in the first place—his initial

 outreach to the author of It Ends With Us five years earlier. Focusing on the Film’s message and

 its potential to create positive change, Baldoni poured himself into ensuring its success despite the

 mounting challenges. These genuine efforts, aimed at amplifying the voices of survivors impacted

 by the Film, were later mischaracterized and weaponized against Baldoni.

        173.    In the end, empowered by her celebrity firepower and her powerful allies, Lively

 did exactly what she set out to do: She took someone else’s movie for her own, destroying years

 of creative vision and careful planning in service of her own brand-building campaign.

        174.    But why would Lively even seek to seize power over the Film? Why would she

 insist on taking on additional work for no additional pay or credit?

        175.    On information and belief, Lively may have been motivated by a number of factors.

 She may have wanted to seize control over the Film so that she could take over the production of

 the sequel, “It Starts With Us.” This motivation also explains why the cast, who may have hoped

 and/or been promised a role in subsequent productions, would choose to side with the powerful

 couple, who themselves may genuinely believed they could destroy Baldoni and Wayfarer and

 force them to cede (or even sell) the rights to the sequel.




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         176.    Or Lively may have felt driven to match her star husband Ryan Reynolds, who is

 widely reported to have insisted on taking so much control over the Film “Deadpool 2” that the

 director, Tim Miller, left the production.22 Seeing the fame and success that Reynolds commanded,

 she may have adopted his oft-repeated pattern wholesale to seize her own power and control.

 Following his lead, and evidenced by many statements by Lively that he is involved in every

 project she works on and vice versa, Lively and Reynolds, accustomed to getting their way,

 perhaps felt entitled.

         177.    Regardless of why Lively insisted on seizing control of the Film, that is precisely

 what she did. There can be no justification for her Machiavellian and civilly extortionate tactics

 deployed to grab complete control over the Film.

         178.    Lively also sought ultimate control over the Film in the hope of boosting her own

 brand and business ventures. In the end, though, Lively’s own words and promotional strategy led

 to an avalanche of negative press.

         G.      Lively’s Power Grab and Catastrophic Miscalculation Collapse On Her

         179.    Starting at least July 10, 2024, Lively’s social media posts promoting the Film

 maintained a lighthearted, frothy attitude, depicting Lively in glamorous and floral-inspired

 couture, highlighting high-end brands like Chanel and Christian Louboutin.




 22
   See Philip Ellis, Deadpool Director Tim Miller Says He Left the Franchise Because of Ryan Reynolds (Nov. 24,
 2019), https://www.menshealth.com/entertainment/a29931219/ryan-reynolds-deadpool-tim-miller/


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        180.   Lively freely interspersed posts about her new movie with ads for her new hair care

 line, Blake Brown. Upon information and belief, the launch of Blake Brown was timed to coincide

 with the Film’s release in the hope that cross-promotional opportunities would boost sales for

 Lively’s new brand.




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         181.    Lively also sprinkled in cross-promotions with her alcohol brand, Betty Booze.

 This was a massive error in judgment. Social media commenters quickly pointed out that this tie-

 in was in particularly poor taste, given that the World Health Organization estimates that 55% of

 domestic violence incidents are linked to alcohol.23




 23
   Stacy Mosel, Female Domestic Violence and Alcohol Use (Nov. 2, 2023), https://alcohol.org/women/domestic-
 abuse-and-alcoholism/


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        182.    Tellingly, Wayfarer spotted the issues and called for a course correction long before

 Lively apparently realized the magnitude of her miscalculation. Wayfarer CEO Heath responded

 to the organic online criticism by noting that “many people are pointing out that the DV [domestic

 violence] is being glossed over and that Justin is essentially the only one appreciating the subject

 matter whilst others may be not giving it the proper respect it deserves. As you know, this has

 always been a concern of ours . . . .”



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        183.   Wayfarer’s Vice President of Marketing and Communications shared a post

 exemplifying the issue, which included the tagline, “grab your friends, wear your florals,” that

 soon became viral for all the wrong reasons.




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        184.    Heath and others at Wayfarer advised listening and responding to the wave of

 online criticism that had met the bubbly, sunny messaging that Lively herself embraced so

 wholeheartedly. Though Lively now claims that Heath, Baldoni, and others at Wayfarer sabotaged

 her by planting “astroturfed” media criticisms of Lively, it seems that if she had listened to and

 respected the Wayfarer Parties’ perspective and insights on the unique sensitivities of marketing

 the Film, rather than seizing the helm and then driving the ship aground, everything would still be

 coming up roses for her. Most importantly, had she allowed Baldoni to take his rightful place side-


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 by-side with her in the promotion of the Film, Baldoni would assuredly have kept domestic

 violence in the spotlight during all promotions, which would assuredly had prevented her from

 hurting her own image. Lively’s reputational backlash was entirely her own doing.




        185.    But once the backlash started on social media, without any effort by Lively to

 course-correct and entirely without any involvement or effort by Baldoni, it rapidly spread to

 mainstream media. See, e.g., Natasha Jokic, Here’s What’s Going On With The ‘It Ends With Us’

 Drama (Aug. 12, 2024), https://www.buzzfeed.com/natashajokic1/it-ends-with-us-blake-lively-

 justin-baldoni; Carly Johnson and Lillian Gissen, Blake Lively goes into damage control FINALLY

 addressing the domestic violence in It Ends With Us Amid Criticism over ‘tone deaf’ film promo

 (Aug. 13, 2024), https://www.dailymail.co.uk/tvshowbiz/article-13740773/Blake-Lively-address-

 domestic-violence-Ends-film.html; Lillian Gissen, Blake Lively fans blast It Ends With Us actress

 over   ‘tone   deaf’    and    “shallow”    interview    with   costars    (Aug.    12,   2024),



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 https://www.dailymail.co.uk/femail/article-13739569/blake-lively-tone-deaf-domestic-violence-

 interview.html; Elyse Wansehl, People Are Disgusted By Blake Lively’s Cutesy Press Tour For ‘It

 Ends With Us’ (Aug. 14, 2024), https://www.dailymail.co.uk/femail/article-13739569/blake-

 lively-tone-deaf-domestic-violence-interview.html;           Eboni       Boykin-Patterson,        Blake    Lively

 Dragged       for   Marketing         Light     of     Domestic          Violence       (Aug.     14,      2024),

 https://www.thedailybeast.com/blake-lively-dragged-for-making-light-of-domestic-violence/;

 Alex   Abad-Santos,      Why    is     everyone       mad    at       Blake   Lively?     (Aug.    15,     2024),

 https://www.vox.com/culture/367451/blake-lively-it-ends-with-us-press-tour-controversy; Olivia

 Craighead, Fans Are Not Impressed with Blake Lively’s Press Tour (Aug. 15, 2024),

 https://www.thecut.com/article/blake-lively-it-ends-with-us-press-tour-tone-deaf.html;                    Carolyn

 Gevinski, The It Ends With Us promo has failed domestic violence survivors like me (Aug. 16,

 2024), https://www.glamourmagazine.co.uk/article/it-ends-with-us-domestic-abuse-first-person;

 Angela Yang, Blake Lively’s ‘It Ends With Us” promotion called ‘disrespectful’ by some survivors

 of abuse (Aug. 19, 2024 https://www.nbcnews.com/pop-culture/blake-lively-it-ends-with-us-

 promotion-criticism-rcna167175; Arwa Mahdawi, Sorry, Blake Lively: using a movie about

 domestic      violence   to    sell     stuff    is    not        a    good     look     (Aug.      20,     2024

 https://www.theguardian.com/commentisfree/article/2024/aug/20/blake-lively-it-ends-with-us-

 colleen-hoover; Hannah Holland, ‘It Ends With Us’ was already problematic. Blake Lively’s press

 tour made it worse. (Aug. 27, 2024), https://www.thecut.com/article/blake-lively-it-ends-with-us-

 press-tour-tone-deaf.html.

        186.     Indeed, while Baldoni sought to focus on the Film’s central premise, Lively

 incensed audiences with seemingly flippant and thoughtless remarks, encouraging viewers to




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 “grab your friends” and “wear your florals.” Embarrassed and enraged by this self-induced

 backlash, Lively now seeks to vilify Baldoni in a dubious attempt to resuscitate her public image.

         H.       Lively Seeks to Push the Blame Onto the Wayfarer Parties

         187.     Upon information and belief, Lively ordered her team to begin a campaign to frame

 herself as a martyr and pin the blame on the Wayfarer Parties. Behind the scenes, Lively’s

 publicist, Leslie Sloane, devised and executed a smear campaign of her own against Baldoni.

 Known for her tendency to leak sensitive stories to provoke public controversy,24 Sloane reneged

 on an agreement with Nathan by continuing to disseminate false and defamatory stories about

 Baldoni and Wayfarer, a process she had begun long before Wayfarer and Baldoni ever retained

 Nathan.

         188.     At 10:11 a.m. (PST) on August 8, 2024, Nathan and Sloane reached an agreement

 whereby neither would communicate directly with a reporter prior to informing the other. Nathan

 states, “I am not doing one thing without speaking to you[,]” to which Sloane responded, “Me

 either[.]”




 24
        See,    e.g.,   Guy      Adams,     A     Divorce     Battle,  A     PR      War     (July   8,    2024),
 https://www.independent.co.uk/news/world/americas/a-divorce-battle-a-pr-war-7922529.html (reporting that Sloane
 allegedly arranged paparazzi photo shoots and pushed stories about Scientology to sway public support for Katie
 Holmes in Tom Cruise divorce); see also Tatiana Siegel, Harvey Weinstein Backing Publicist Leslie Sloane’s New
 Venture (April 18, 2014), https://www.hollywoodreporter.com/movies/movie-news/harvey-weinstein-publicist-
 leslie-sloane-697636/ (reporting on Sloane’s acrimonious split from BWR to start her Harvey Weinstein-backed PR
 firm).


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        189.    Just nine minutes later, Sloane breached her agreement with Nathan by engaging

 with a reporter at the Daily Mail. The reporter asked to speak with Sloane “regarding prob[lem]s

 on the set involving [Blake Lively] and Justin Baldoni and the fallout over that with Blake being

 labeled difficult and a power struggle existing.” Sloane, without consulting Nathan, promptly

 responded, “That is 1000 percent untrue[,]” and further, “Your info is totally off[.]” It is evident

 that Sloane never intended to honor her agreement with Nathan. Instead, she exploited the

 arrangement to gain a strategic advantage in the media.




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        190.    In fact, Sloane actively continued her discussions with the Daily Mail reporter,

 seeding false information to cast Baldoni in a negative light. To divert attention from Lively's

 tyrannical behavior on set, Sloane attempted to portray Baldoni as the antagonist, stating, “The

 whole cast doesn’t like Justin nothing to [sic] do with Blake[.]” She doubled down, insisting, “I’m

 telling you she’s a liar. They are panicking as the whole cast hates him[.]” Sloane also threatened

 the reporter, saying “The entire case I will have go on the record . . . this needs to hold.”




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        191.    At 7:59 a.m. (PST) on August 9, 2024, Nathan, consistent with the pair’s

 agreement, sent a text message to Sloane containing an email she had received from a Daily Mail

 reporter. Unbeknownst to Nathan, this was the same reporter with whom Sloane had been

 communicating the day prior. Nathan confirmed that she played no part in the story and told

 Sloane, “I’m going to have to speak with him, but I’m just going to tell him nothing[.]” She added,

 “Happy to chat to you beforehand if you’d prefer.” Sloane deliberately omitted the fact that she

 had spoken with the reporter just 24 hours prior, stating “Let me know how it goes.”




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        192.    Despite their agreement, Nathan was completely unaware that Sloane had provided

 the reporter with information that significantly altered the narrative of the published story. Indeed,

 the reporter originally sought to publish a story about “Blake being labeled difficult” on set. After

 the reporter’s discussion with Sloane, however, the story changed to “We have learned that Justin

 Baldoni caused issues on the set . . . .” Not only did Sloane breach her agreement with Nathan, but

 she planted false and defamatory information about Baldoni to distract from Lively’s numerous

 missteps and throw Wayfarer and Baldoni on the defensive.

        193.    Following the release of Lively’s administrative complaint on December 20, 2024,

 the same Daily Mail reporter informed Nathan that Sloane had lied to portray Baldoni as the foe.

 Yet still, Sloane escalated the false narrative by telling the reporter that Blake was “sexually

 assaulted”—an unsubstantiated accusation that not even Lively had gone so far as to claim,

 designed to destroy Baldoni and his reputation.



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        194.   Sloane ruthlessly took advantage of Nathan’s good faith. As a result, Nathan was

 forced to combat the negative press that was both planted and propagated by Sloane. Ultimately,

 the actual smear campaign was orchestrated by Sloane, at Lively’s direction.




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         I.      Jones Offers Ammunition for Lively’s Revenge—And Her Own

         195.    Enter Stephanie Jones, Wayfarer’s and Baldoni’s embattled former publicist and a

 critical player in Lively’s scorched-earth campaign against Baldoni, Wayfarer, and their teams.

         196.    Jones is the founder and CEO of Jonesworks, a New York-based public relations

 firm that Wayfarer engaged in May 2020 and that later handled publicity for Baldoni personally.

         197.    For almost four years, the Jonesworks Baldoni/Wayfarer account was managed by

 Jen Abel, Jones’s right-hand, who ran the Jonesworks Los Angeles office. Abel developed a close

 and trusting relationship with Baldoni, Heath, and the rest of the Wayfarer team, particularly as

 their strategic communications needs became ever more complex due to the Lively Parties’

 machinations.

         198.    Long known within the public relations industry for her disarming Southern twang,

 brass-knuckle tactics, and high turnover of clients and employees, Jones has had a successful

 career, having founded Jonesworks and represented, at various times, Dwayne “The Rock”

 Johnson, Jeff Bezos, Lauren Sanchez, Venus Williams, Tom Brady, and Chris Hemsworth.

         199.    Until recently, however, Jones had kept her worst excesses hidden from public

 view.

         200.    That changed in or around May 2024, when Puck reported that Sanchez and

 Johnson had dropped Jones as their publicist. While these were among the most prominent and

 publicly reported departures, a cascade of Jonesworks clients began to cut ties with Jones,

 especially after word had spread that Business Insider was contacting Jones’ former and current

 clients and employees concerning a forthcoming article about her sordid behavior.

         201.    On May 8, 2024, a website called “Stephanie Jones Leaks” went live, along with

 an X.com account, a Facebook page, a Reddit account, and a Pinterest page. These platforms




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 disclosed a litany of highly disturbing allegations about Jones’ behavior and business practices,

 many concerning Jones’ mistreatment of Jonesworks employees and clients.

        202.    These revelations caused a firestorm in Hollywood, resulting in a surge of negative

 publicity regarding Jones, including the publication of the Business Insider piece entitled “Who’s

 afraid of Stephanie Jones.” See Katie Warren and Jack Newsham, “Who’s Afraid of Stephanie

 Jones,” Business Insider (Aug. 17, 2024), https://www.businessinsider.com/stephanie-jones-

 jonesworks-pr-clients-tom-brady-jeff-bezos.

        203.    The Business Insider piece shed more light on the real Jones. Always a volatile

 personality, Jones had become noticeably more paranoid, erratic, and cruel in recent years.

        204.    The Business Insider story also shed light on the toxic workplace Jones had fostered

 at Jonesworks. At the office, Jones would regularly turn on deafening music so that she could

 berate her employees free from scrutiny. “I don’t think there was one day in the office that someone

 wasn’t crying,” said a former employee.

        205.    Jones also pried into her employees’ private lives without invitation. When

 employees called in sick, Jones would FaceTime them to confirm they were actually sick. In at

 least one instance, an employee who had taken a personal day to attend a funeral received a

 FaceTime call from Jones during the ceremony. Jones was apparently suspicious of his

 whereabouts.

        206.    Unsurprisingly, turnover rates at Jonesworks were extraordinary. These departures

 included not only junior employees—who often left after less than a year—but also senior

 executives who managed client accounts. Jones seldom allowed them to go amicably, often

 enlisting attorneys to threaten and intimidate them into agreeing not to disparage Jones.




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         207.        In April 2023, Dwayne “The Rock” Johnson dropped Jonesworks after clashes

 between Jones and Johnson’s team. Jonesworks had handled Johnson’s personal PR, as well as

 that of his production company, tequila brand, clothing company, and business partner, Dany

 Garcia. This was a big loss for Jones and one that she kept under wraps from media in order to

 leverage opportunities for other clients. The same year, Jones was also dropped by Bezos, Sanchez,

 Lainey Wilson, Chris Hemsworth, Wheels Up, Ocean Spray, and Partake Foods.

         208.        Through it all, Jennifer Abel remained loyal to Jones, sticking with her through

 thick and thin despite growing doubts about Jones’ ability to function professionally. Jones had

 become increasingly hostile towards Abel, criticizing Abel’s management, displaying paranoia

 about her close relationships with clients and partners, and going out of her way to reprimand,

 demean, and embarrass Abel in front of junior employees she oversaw.

         209.        Over time, Abel became convinced that Jones was in a downward spiral and

 harbored serious concerns about Jones’ mental health. Jones had become increasingly erratic,

 calling and FaceTiming Abel at all hours of the night in a frenzied state, overtly pitting employees

 against each other, and attempting to “catch” them in perceived acts of disloyalty.

         210.        Jones had always been volatile, but her behavior had become downright deranged.

 Often, Abel was on the receiving end of her outbursts. For instance, Jones informed Abel’s charges

 that she had learned through psychic readings that Abel was an alcoholic and a gambling addict.

 Neither has any basis in fact. While Jones presumably intended to undermine Abel’s credibility,

 she had actually undermined her own and raised significant concern among the Joneswork staff

 about her mental stability. Jones also announced, per her psychic, that Abel would soon be

 pregnant with twins, humiliating and infuriating Abel, who—Jones knew—had struggled with

 fertility issues.




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        211.     Already pushed to the brink, Abel finally had enough when Jones demanded she

 corroborate falsified accusations about a senior Jonesworks employee in an effort to drive him out.

 When Abel refused to go along with it, Jones responded with mockery, calling her a “12 year old

 drama queen.”

        212.     On July 10, 2024, Abel notified Jones of her departure from Jonesworks and

 intention to start her own business. Abel offered a six-week transition period, with an end date of

 August 23, 2024.

        213.     Predictably, Jones took the news poorly, to say the least. Consistent with her

 increasingly erratic behavior, Jones swung from extreme to extreme, one minute desperately

 attempting to convince Abel to stay, then next berating her and cutting her out.




        214.     While Abel was resolute about leaving, she had every intention of doing so

 amicably, a sentiment she repeatedly conveyed to Jones.




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        215.    However, as Abel’s end date drew closer, Jones grew more combative. With several

 weeks left in her tenure and innumerable client matters to handle, Abel found that she had been

 removed from client email distribution lists and left in the dark about meetings, calls, and events

 she was expected to attend. It was clear to Abel that Jones was trying to embarrass Abel and tarnish

 her professional reputation in advance of her departure.




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        216.    In her final week, Abel contacted Jones’ chief and staff concerning the release of

 her phone number. When Abel joined Jonesworks in 2020, she ported her existing phone number

 (which she had used since high school) and switched to a Jonesworks-issued iPhone. Knowing

 that she would have to turn over the physical device upon her departure, Abel arranged for her

 phone number to be “released” so she could port it to a new device and retain decades worth of

 personal contacts, photos, private conversations with friends and family, and confidential financial

 data and access accounts protected by two-factor authentication. Jonesworks’ chief of staff assured

 her multiple times in writing that Jonesworks would cooperate and uphold their agreement.




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        217.    On August 21, 2024, two days before her last day, Abel pulled up to the Jonesworks

 office in Beverly Hills. There, she was confronted by a physically imposing security guard, a

 lawyer sitting at a conference table covered in documents, an IT professional, and Jones’ chief of

 staff (who had flown in unannounced from New York). Apart from Jones’ chief of staff, Abel had

 never seen any of them before. After being ushered into the conference room, Abel saw that the

 security guard was posted just outside its doors, blocking the exit. There, the attorney pointed to

 the documents and told Abel, in a menacing and cold tone, to review and sign them. The attorney

 told her that Jonesworks believed she had proprietary information on her personal laptop and

 would likely have grounds to sue if Abel did not allow them access.

        218.    Completely caught off guard by this hostile and intimidating display, Abel fell into

 a state of shock. She had never experienced anything like this and did not know what to do. Fearful

 that she would burst into tears and humiliate herself (which she knew was what Jones wanted),




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 Abel dissociated. Knowing she had not done anything wrong and desperate to get out of there,

 Abel signed the documents without digesting their contents.

        219.    Afterward, the lawyer demanded that Abel hand over her personal laptop. Abel

 complied, and the IT professional conducted a search that turned up nothing. The attorney then

 presented Abel with a list of approximately 10 documents and accused Abel of having accessed

 and stolen them. Abel denied having done so, and the IT specialist conducted a further search of

 her laptop, which again turned up nothing. The attorney then instructed Abel to hand over her

 phone, after which security would escort her out of the building.

        220.    Still utterly shell-shocked and desperate to get out of there, Abel agreed to hand

 over her phone so long as they would confirm that Jonesworks would immediately release her

 personal cell phone number, which would enable Jonesworks to take possession of the physical

 device without gaining unrestrained access to its contents. It would also allow Abel to get a new

 phone and move on with her life without undue disruption. After express confirmation from the

 Jonesworks chief of staff and attorney, Abel handed them the phone and was ushered out of the

 building as her colleagues watched in disbelief. Seeing that Abel had been stripped of her phone

 (and therefore had no way to contact anyone), some reached out to Abel’s partner, family, friends,

 and former co-workers to let them know what had happened.

        221.    Abel went straight to a Verizon store a short distance away. Once there, Verizon

 contacted Jonesworks to coordinate the release and transfer. The Jonesworks chief of staff assured

 Abel and Verizon that they were in the process of effectuating the release and to bear with them

 for a few minutes. Abel never heard from him again. After four hours of desperate (unanswered)

 calls, Abel left Verizon in panic and despair. Abel realized Jones had double-crossed her—in a

 very serious way. By refusing to release Abel’s phone number, Jonesworks had usurped her




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 contact information and cut off Abel’s access to critical accounts protected by two-factor

 authentication linked to that phone number. As a result, Abel lost access to her iCloud (including

 all her text messages, photos, and contacts), bank accounts, utilities, insurance, and virtually every

 other sensitive account. By contrast, Jones now had unrestricted access to everything stored on

 Abel’s phone—her text messages, emails, personal photos. Jones could read her communications

 with her fiancé, parents, friends—everyone. Jones was acting purely out of spite.




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        222.   It took Abel over a month to regain control over all her accounts. Meanwhile, she

 learned that Jones had been sharing her private text messages with the entire office, mocking and

 disparaging her. Having torched Abel’s privacy and dignity, Jones started boasting that Abel’s

 business was next. In or around early September 2024, Jones warned a departing employee not to

 work for Abel because “her business wouldn’t be around much longer.”




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        J.      Stephanie Jones Falls Out with Wayfarer and Baldoni

        223.    By then, Jones also had an axe to grind with Wayfarer.

        224.    For the entirety of Wayfarer’s four-year engagement with Jonesworks, Abel was

 the point person on the account. Jones was more concerned with “prestige” clients like Tom Brady

 and devoted little to Wayfarer or Baldoni.

        225.    But Jonesworks was in utter turmoil by July 2024. Already bleeding clients and

 personnel, Jones learned that Business Insider was working on an unflattering story about her set

 to be published sometime in August. Her reputation had already been severely damaged by the

 “Stephanie Jones Leaks” website and social media accounts. Jones was desperate to keep her

 remaining clients. Given Abel’s close relationship with Wayfarer and Baldoni, Jones was

 undoubtedly concerned they would leave Jonesworks alongside her. And she wanted to make sure

 that did not happen.

        226.    At the time, Wayfarer and Baldoni were in the midst of a massive PR crisis, as news

 stories began to trickle out concerning tension between Lively and Baldoni just as the Film was

 about to premiere. Jones started participating in meetings, calls, and written correspondence to

 reassert her authority over the account and convey her engagement to Wayfarer.

        227.    Abel recommended that Wayfarer engage a crisis PR specialist, Melissa Nathan, to

 assist in navigating these choppy waters. The need for crisis PR expertise was particularly acute

 due to Lively’s demand that Baldoni not be permitted to attend the premiere. In addition, Abel

 learned from Nathan that, per her media contacts, a negative story was being “shopped” around to

 multiple outlets, positioning Baldoni’s religion as a “cult” and accusing Baldoni of having “fat

 shamed” Lively.




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        228.   When Jones learned that Wayfarer was considering retaining Nathan, she was

 furious. Jones viewed Nathan as a competitor and conveyed to Abel that her recommendation to




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 Wayfarer was a betrayal of trust. Jones then sought to derail the plan, badmouthing Nathan and

 disclosing client confidences from past collaborations between Jonesworks and Nathan.




 While Heath acknowledged Jones’ position, he told her Wayfarer would make its own decision

 after meeting Nathan.

        229.    So Jones inserted herself into the mix in early August 2024, seeking to box out

 Nathan and Abel. The problem, however, was that Jones had chosen not to be privy to Wayfarer

 leadership’s communications strategy or internal decision-making, having long claimed to be too

 busy with higher profile clients. Wayfarer was fine with Jones’ disengagement, as Abel was their

 trusted advisor, and they had no interest in being a pawn in Jonesworks office politics. In addition,




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 Jones had chosen to take a lengthy vacation in Europe during this critical period of the press

 campaign and premiere of the Film. Even from afar, Jones’ efforts were ham-fisted, unwelcome,

 and sporadic given her distance from Wayfarer’s day-to-day business. As Jones tried to stir up

 drama and undermine Abel’s authority, Wayfarer and Baldoni were focused solely on managing

 the crisis in front of them.

         230.    At the time, Lively’s and Baldoni’s teams had negotiated an uneasy truce in which

 neither side would participate in negative coverage of the other. Lively’s team had already broken

 that truce, but the Wayfarer team did not know that then. As far as they were concerned, it was

 best for Baldoni, Lively, and the Film if both sides agreed to keep the peace, though Wayfarer’s

 team had to date been acting only in defense in responding to press inquiries.

         231.    But on August 8, 2024, Jones, in another desperate attempt to re-insert herself,

 contacted a Daily Mail reporter about a story they had published about Baldoni and Lively. She

 did so in direct violation of Abel’s instruction not to talk to the press given the truce with Lively’s

 team. Nonetheless, Jones bragged to Wayfarer about “trading calls” with the Daily Mail in an

 effort to appear engaged on the account. Nathan and Abel were left to deal with the fallout.




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       232.   This blatant disregard of Wayfarer’s strategy sparked a chain of unfortunate

 developments. Sloane and Sony learned that “someone from Baldoni’s team had been



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 communicating negatively to media.” It was clearly Jones, and Wayfarer’s leadership was livid.

 As was Sony. All parties were desperate to prevent an all-out slugfest between Lively and Baldoni

 just as the Film was about to be released to the world. With her reckless and unauthorized activities,

 Jones had made that scenario much more likely. In response, Wayfarer instructed Jones to cease

 all activities on behalf of Wayfarer and Baldoni for the time being and to let Abel and another Los

 Angeles-based Jonesworks employee, Matthew Mitchell, handle the crisis alongside Nathan.

        233.    At this time, Nathan started hearing from other journalists that Sloane was planting

 negative stories about Baldoni and was under the impression that Baldoni’s camp had broken the

 truce. Anxious Sony executives began reaching out to Wayfarer seeking clarity.




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        234.     Yet Jones, panicked about being blamed, refused to be sidelined, insisting that she

 needed to contact Sony’s and Lively’s PR teams to clarify that she had not planted any negative

 stories about Lively. Heath told her not to do that, to which Jones responded that she could do

 “whatever she wants” to clear her name and that Wayfarer cannot stop her from making calls.

 Desperate to salvage her reputation with Lively and Sony, Jones emailed a number of key Sony

 executives working on the Film to declare that she was in Europe with “her husband, partner at

 WME Jason Hodes” and placing all blame on “her team.” In her attempt to save face, Jones

 ruptured her relationship with Wayfarer and Baldoni.

        235.     Although Jones ultimately agreed to stand down, Wayfarer and Baldoni had lost all

 trust in her. After parachuting in for self-interested reasons, nearly blowing up the truce with

 Lively’s team, and lashing out when told to stop, Jones became a magnet for drama when it was

 least needed.



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        236.    But Jones was not ready to throw in the towel. Ironically, given her later attempt to

 fabricate a “smear campaign” narrative, it was Jones—not Wayfarer, Baldoni, Abel, or Nathan—

 who started advocating for a more aggressive public relations strategy.




        237.    On or about August 14, 2024, Jones sent an email to Heath further elaborating on

 her “recommended strategy”:

                **Flood the Zone with Positives**: We need to ensure that we promote
        positive narratives that media outlets cannot ignore. Currently, most stories are
        heavily biased towards Blake’s perspective, leaving Justin unrepresented. It’s
        crucial that we fight for every inch of every story, which requires far more effort



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        than typical crisis PR want to put forth in our experience working with specialized
        crisis teams.

               **Prepare Alternate Stories**: We should mobilize a robust network of
        supporters and third-party advocates ready to counter these narratives on deep
        background as well as some on the record, making it clear that the claims being
        made are untrue and unfounded.




 She doubled down in an email on August 21, 2024, threatening that Wayfarer and Baldoni had an

 “EXCLUSIVE contract . . . through May 2025”:




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        238.   Notably, on the same day, August 21, 2024, just hours after Abel’s phone was

 seized, Leslie Sloane called Melissa Nathan. During that call, Sloane told Nathan that Sloane had

 seen Nathan’s text messages (which could only have come from Abel’s phone) and that Nathan

 should expect to be sued.

        239.   As September drew near, Wayfarer and Baldoni—with the assistance of Abel and

 Nathan—continued their tireless efforts to promote the Film, put out fires, and see the project

 through to the finish line. Stewing in jealousy towards Abel and resentment towards

 Wayfarer/Baldoni, Jones clearly saw the writing on the wall. Knowing she would soon be

 terminated, Jones started taking steps transparently intended to make it harder to cut her loose.

 Those steps included sending email after unwelcome email to Heath and others—long after their

 relationship had irrevocably ruptured—to lay the groundwork to contest that she had been detached

 and nonresponsive for years. This was especially galling, as Jones had been in Europe and largely

 incommunicado—save for her disastrous efforts at self-preservation—for weeks during the critical

 month of August when the Film premiered.

        240.   For Wayfarer and Baldoni, the decision was straightforward. As soon as Abel was

 out at Jonesworks, Wayfarer was out too. This was not about Abel “poaching” Wayfarer or

 Baldoni. Nor was it part of a premeditated plan to cut out Jonesworks. But Abel was a trusted,

 loyal, and committed member of the team. Wherever she went, Wayfarer and Baldoni would

 follow. On the other hand, Jones was a walking disaster whose self-absorption, disloyalty, and

 insubordination had been a significant headache.

        241.   Rather than accepting the end of the relationship with professionalism and

 decorum, Jones started threatening to sue, demanding exorbitant payment for work not done, and




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 protesting that she had done an amazing job. But Wayfarer and Baldoni had already made the

 decision to part ways with Jonesworks, and their decision was final.

        242.    For Jones, stewing in indignity and resentment, the loss of yet another client—to

 Abel, no less—was a sting too great to bear. And so she chose to take revenge on all of them.

        243.    Recall that Jones had taken possession of Abel’s personal phone, including all of

 her text messages, emails, personal photos, and so forth. Having chosen a path of no return, she

 could now exploit them to great effect, pouring gasoline over the heads of her former clients and

 longtime former deputy and lighting a match.

        244.    On information and belief, Jones approached Lively’s team with an appealing offer:

 ammunition sufficient to destroy Baldoni, Wayfarer, and Abel in one fell swoop. Wielding reams

 of Abel’s private communications—which could readily be sliced and diced to construct a false

 narrative—Jones had quite the pitch for an embattled Lively and her team. Knowing that Lively

 was convinced (wrongly) that Baldoni—and not her off-putting public appearances and cynical

 self-promotion—had been responsible for the rash of negative publicity directed towards her,

 Jones correctly assumed that she would find willing conspirators in the Lively camp.

        245.    In turning over these materials to Lively, Jones knew full well that the blowback

 would also engulf Wayfarer and Baldoni. And that was the point. Revenge.

        246.    Her plan worked like a charm, at least for a time. Working hand-in-glove with the

 New York Times, Lively concocted a fantastical narrative that laid the blame for her travails exactly

 where she believed it belonged—with others.

        247.    The ramifications of this scheme have been grave for Wayfarer, Baldoni, Abel, and

 Nathan, who became objects of public scorn and derision overnight. Abel and Nathan, two private

 individuals (and female small business owners), have had their lives turned upside down: Their




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 careers and reputations have been destroyed, their private information leaked, and their email

 inboxes and social media pages filled with a daily stream of death threats, abuse, and vile

 antisemitic remarks. The backlash against Wayfarer and Baldoni has been equally devastating,

 with Baldoni wrongfully labeled as a sex pest, his accolades rescinded, and his future projects

 thrown into doubt.

        248.    And Jones still has all of Abel’s private photos and text messages, which Abel has

 every reason to believe will find their way online via Jones; some already have. She lives in fear

 of what Jones has in store for her and for what other client confidences Jones is willing to divulge

 in her fit of pique at Abel. All of this because Abel dared to leave Jonesworks and start her own

 business.

        249.    The results have been a calamity for everyone roped into Lively’s and Jones’

 campaign of destruction.

        K.      Lively and Reynolds Threaten the Wayfarer Parties Unless They Take the Fall

        250.    On August 12, 2024, Heath and Abel had a call with two executives from their then

 talent agency. One admitted that the root of Lively’s problems was focusing the promotion of the

 Film on frivolities like fabulous premiere dresses, Hollywood glamour, and the commercial

 benefits for Lively’s brands, while Baldoni had always maintained his public focus on amplifying

 the voices of domestic violence survivors. The executive communicated the demand from Lively

 and Reynolds that Wayfarer, Heath and Baldoni make a public apology that day and that, if they

 failed to do so, the “gloves would come off.” Stunningly, the executive even told Heath and Abel

 that Lively and Reynolds objected when Baldoni spoke kindly of Lively in public, claiming that it

 misrepresented their relationship.




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        251.     The talent agency executive told Heath and Abel that Lively believed Wayfarer,

 Baldoni and Heath were waging a shadow campaign against her. Abel quickly disabused the

 executives of that notion, conveying her belief that she and Sloane had reached a kind of truce,

 while Nathan had not come on the team or taken a proactive role until they started getting press

 requests.

        252.     The second executive admitted on the call that “no one pushes back” on Lively

 and Reynolds.

        253.     The next day, on August 13, 2024, Abel and Heath had another call with talent

 agency executives. During this call, one executive told Heath that the agency had spoken to Lively

 and Reynolds by phone about the overwhelming tide of negative publicity that they had faced over

 the past days. Heath clarified that Wayfarer, Baldoni and Heath had no connection to the negative

 publicity, but they told Heath that Lively and Reynolds had demanded that Wayfarer put out a

 statement “accepting blame” for the problems during filming, with an express threat that they

 themselves would attack Wayfarer in the press if Wayfarer refused.

        254.     The executives told Heath and Abel that Reynolds and Lively dictated a statement

 that they required Wayfarer to put out, calling It Ends With Us a “troubled” production and forcing

 Wayfarer to take “accountability” for the problems in the production. Wayfarer, Baldoni, and

 Heath would have to acknowledge and own their “mistakes” and “own” all negativity being aimed

 at Reynolds and Lively.

        255.     Abel and Heath asked that the executives clarify what exactly Wayfarer, Baldoni

 and Heath were being asked to “take accountability” for. They admitted that Lively and Reynolds

 were simply upset by how social media had turned against them. Stunningly, the executive

 admitted that Lively and Reynolds brought the backlash on themselves, but that they were beyond




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 reasoning with. He admitted that making constant threats was Lively and Reynolds’ well-known

 modus operandi and that their demands were not based on reality, but on finding someone to blame

 for their social media crisis besides themselves.

        L.      Lively Plays the Final Card in Her Hand: False Accusations of a Smear

                Campaign, Deployed in the New York Times

        256.    When the Wayfarer Parties refused to take the fall for Lively’s disastrous

 promotional campaign, Lively was true to her word: The gloves came off.

        257.    At 9:46 p.m. (EST) on Friday, December 20, 2024, NYT reporter Megan Twohey

 (“Twohey”) requested the Wayfarer Parties’ response to an imminent 4,000-word bombshell story

 concerning their alleged orchestration of a smear campaign targeting Lively, purportedly in

 response to Lively’s disclosure of concerns about the working environment on the set of the Film.

        258.    The Wayfarer Parties were asked to provide “on-the-record comment” and to notify

 the Times of any “inaccuracies” by noon (EST) the next day, on December 21, 2024—a mere 14

 hours overnight. the Wayfarer Parties’ representative promptly denied Lively’s accusations as

 reported by the Times and criticized both Lively and the Times’ reliance on “cherry-picked” and

 altered communications stripped of necessary context and deliberately spliced to mislead.

        259.    Despite its claim to have “reviewed these along with other documents[,]” the Times

 relied almost entirely on Lively’s unverified and self-serving narrative, lifting it nearly verbatim

 while disregarding an abundance of evidence that contradicted her claims and exposed her true

 motives. But the Times did not care. Given the breadth of the Article and the coordinated “drop,”

 it has long been readily apparent that the Times had been quietly working in concert with Lively’s

 team for weeks or months, a fact that has now been confirmed.




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        260.    Upon information and belief, the Times participated actively in the legal

 maneuvering at the heart of Lively’s strategy, and all of the Lively Parties worked closely together

 on a scheme to defame the Wayfarer Parties by maliciously and recklessly publishing false and

 damaging information about them.

        261.    Months after the Film’s premiere, on December 21, 2024, a bombshell article

 dropped in the New York Times. Authored in part by Twohey, who gained prominence for her

 exposé of Harvey Weinstein, the article’s headline promised a glimpse “Inside a Hollywood Smear

 Machine” (the “Article”). Notably, without even waiting for their response deadline of noon (EST)

 on December 21, 2024, the Times rushed to publish its inflammatory article, “‘We Can Bury

 Anyone’: Inside a Hollywood Smear Machine,” at 10:11 a.m.—nearly two hours early. This brazen

 disregard for journalistic integrity and fairness resulted in an article rife with inaccuracies,

 misrepresentations, and omissions.




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        262.    The Article purported to provide a detailed account of a calculated campaign to

 bring down Lively in retaliation for daring to speak out against sexual harassment on the set of It

 Ends With Us. The Article draws heavily from the California Civil Rights Department complaint

 that was filed by Lively the day before. The CRD Complaint and the Article are both purportedly

 based on “thousands of pages of text messages and emails that [Lively] obtained through a

 subpoena.” The Article notes, “These and other documents were reviewed by the New York

 Times.”




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        263.    The four-thousand-plus words of the New York Times article dropped less than a

 day after Lively apparently filed her CRD Complaint. The close coordination between Lively’s

 team and the New York Times, likely over a matter of months before the CRD Complaint was filed,

 is plain—and has now been proven beyond doubt thanks to Internet sleuths from around the world.

        264.    Upon information and belief, the New York Times loads images and other data files

 for its website using a file naming convention that indicates the date that the data file in question

 was created or loaded onto the website. As members of the public soon discovered, the URLs for

 various images in the Article point to dates as early as December 16, 2024.




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         265.   As other members of the public pointed out, web crawler data appears to indicate

 that the PDF of the CRD Complaint linked within the Article was uploaded to Times servers even

 earlier. Specifically, using a search engine to search for the CRD Complaint within the Times’

 static document repository (where the CRD Complaint is stored and referenced by a link in the

 Article) shows that a web crawler (a program that scours the Internet to locate and catalog websites

 and files) recorded the CRD Complaint PDF as having been uploaded as early as December 10,

 2024.


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 Interestingly, the PDF file itself appears to have been created no earlier than December 21, 2024,

 at least according to the file’s properties.




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 However, as various online commentators have noted, this may indicate that a web crawler

 catalogued an earlier-created version of the document that was then replaced with a new version

 that was identical except for the creation and modification dates, causing the web crawler to view

 it as the same document. In other words, one plausible explanation for the mismatch between the

 web crawler’s date and the file’s created/modified dates is that the New York Times re-uploaded

 the CRD Complaint at the last minute specifically to cover up the fact that they had been colluding

 with Lively and the other Lively Parties for weeks.

        266.    The New York Times also uploaded a video to accompany the Article, in which

 Twohey breathlessly reports the easily and thoroughly disproven “smear campaign” narrative as

 “what really happened”:




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 But careful observers noted that the file name for the video appears to indicate that it was created

 on December 12, 2024:




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       267.   The video presented as unquestioned fact the false and defamatory claim that the

 Wayfarer Parties “orchestrated a smear campaign against Lively” and concluded in a feigned

 somber tone, ”This story reveals a new playbook for waging a far-reaching and largely

 undetectable smear campaign in the digital age.” This video, as much as the Article itself,


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 constituted a malicious and reckless act of defamation and false light invasion of privacy by the

 Lively Parties against the Wayfarer Parties.

        268.    There is even reason to believe that the Times had been working on the Article

 months before, at least as of October 31, 2024. Careful observers reported that viewing the HTML

 source code for the Article revealed references to a “message-embed-generator” that referred to a

 date of “2024-10-31”:




Of course, it may be the case that the New York Times just happened to load a new tool for

embedding text messages within an article as part of routine system upgrades, only to stumble six

weeks later upon the perfect opportunity to show off this new graphic tool in an article that relied

heavily upon cherry-picked and misleadingly reframed text messages. But the simpler explanation

is that the New York Times had already begun building its defamatory Article no later than October

31, 2024, including developing a slick new graphic display module to prominently feature the

misleadingly edited and context-stripped text messages centered in the Article.

        269.    It may seem unsurprising and even respectable that a news organization should

 work for weeks or months before publishing a purported investigative report. But the significance

 of the timing of these elements of the defamatory Article is that they strip away the legal shields



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 that Lively, the Times, and the other Lively Parties were likely relying on to protect their malicious

 acts of defamation, such as the litigation privilege and the fair reporting privilege.25 Given the full

 scope of the Article’s misleading manipulations, it is unsurprising that they would feel the need to

 attempt to erect protection against suit.

         270.      The Article refers to the 17-point letter of production conditions that Lively insisted

 upon. While the reasons for making many of those demands were mystifying to the Wayfarer

 Parties at the time, once the Article was published, it became clear that Lively had seeded her

 revenge more than a year before. By insisting on superfluous or already-extant “protections,”

 Lively laid the foundation for her baseless claims of pervasive sexual harassment. When she

 buffaloed the Wayfarer Parties into agreeing, she sealed the perfect narrative poison pill, allowing

 her to later claim that the Wayfarer Parties’ agreement to the 17-point letter was proof positive that

 sexual harassment was endemic on the Film’s set.

         271.      But Lively had to explain away the self-inflicted mountain of bad press she had

 brought down on herself, as discussed elsewhere herein. Finally, Jones’s wrongfully obtained texts

 could be deployed for maximum damage.

         272.      On information and belief, Lively and her team used cherry-picked text messages,

 stripped of context and even manipulated, to peddle a narrative that the Wayfarer Parties had

 responded to Lively’s complaints about purported sexual harassment by plotting to destroy her

 reputation through a shadow smear campaign. Apparently, the New York Times credulously

 accepted the narrative wholesale while making little or no attempt to investigate the veracity of

 that narrative.



 25
   These hidden dates also put an end to the bizarre claim by the Lively Parties made in recent filings before the
 Court (Dkt. Nos. 17, 38, 43) that counsel for the Wayfarer Parties leaked the CRD Complaint to the press before the
 Lively Parties did.


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        273.    By telling the New York Times a false and damning story about an insidious PR

 sabotage operation deployed as revenge for sexual harassment complaints, with the knowledge

 and intent that the newspaper would publish that false story, Lively and her co-conspirators

 committed the tort of defamation.

        274.    The Article’s central thesis, encapsulated in a defamatory headline designed to

 immediately mislead the reader, is that the Wayfarer Parties orchestrated a retaliatory public

 relations campaign against Lively for speaking out about sexual harassment—a premise that is

 categorically false and easily disproven. If the Times truly reviewed the thousands of private

 communications it claimed to have obtained, its reporters would have seen incontrovertible

 evidence that it was Lively, not the Wayfarer Parties, who engaged in a calculated smear campaign.

 The complete communications demonstrate beyond question that the Wayfarer Parties had no

 intention of “destroying” or “burying” Lively through aggressive tactics. On the contrary, Baldoni

 consistently expressed his desire to avoid harming Lively and protect the Film but also recognized

 a legitimate need for public relations protection in light of Lively’s false and damaging claims.




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        275.   For example, Lively’s CRD complaint, which, on information and belief and as

 shown above, she provided to the New York Times long before filing it, references text exchanges



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 between Nathan and Abel as purported evidence that Nathan planted a negative story in the Daily

 Mail titled “Is Blake Lively set to be CANCELLED?” Lively’s portrayal is categorically false,

 misleading, and devoid of factual basis, yet knowingly propagated by Lively to the Times, which

 endorsed it without reservation. Lively’s “smear campaign” narrative hinges on an August 16th

 text exchange in which Nathan allegedly shared a link to this article with Abel. The text exchange

 shows Abel responding, “Wow,” followed by, “You really outdid yourself with this one,” to which

 Nathan allegedly replied, “That’s why you hired me, right? I’m the best.” These messages

 constitute the entirety of the purported evidence underlying the allegation of a “smear campaign”

 orchestrated on behalf of Baldoni. But the information Lively fed to the New York Times was

 apparently selectively and deceptively edited, resulting in a gross misrepresentation that actually

 reversed the sarcastic meaning and tone of the messages.




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        276.    Lively and the Times, while they collaborated closely on the Article, must have

 known that the text messages were unscrupulously altered and selectively edited, enabling Lively

 and her team to propound a false “smear campaign” narrative designed to destroy the Wayfarer

 Parties for the Times’ knowing or reckless dissemination. Specifically, in the immediately

 preceding text message exchange on August 16, Nathan forwarded a screenshot of a message from

 a reporter informing her, for the first time, of the Daily Mail article. In response, Nathan wrote,

 “Damn. This is not fair because it's also not me,” followed by, “Everything now looks like it’s

 me.” Perhaps unknowingly, Nathan was already anticipating the accusations that would soon be

 leveled against her and her fellow the Wayfarer Parties.




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        277.    Further evidence of Lively’s machinations—and the New York Times’ malicious

 and reckless defamation—appears in the missing emoji heard ’round the world. After Nathan

 forwarded a screenshot of the article link, Abel responded with, “You really outdid yourself with

 this piece 🙃,” adding a “🙃” to indicate the sarcastic nature of her message. The “🙃” emoji is

 commonly used to convey irony, sarcasm, joking, or a sense of goofiness or silliness.




        278.    In her CRD complaint and apparently in the materials she forwarded to the Times

 for their malicious and reckless publication, Lively deliberately excluded not only the preceding

 screenshot of the text exchange in which Nathan denies involvement in the story, but also the ‘🙃’

 emoji, fundamentally and willfully altering the sarcastic tone of Abel’s message to mislead the

 reader into interpreting Abel’s response as literal and sincere. This omitted context is critical, as it



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 demonstrates that each subsequent message in the exchange was similarly intended as sarcasm,

 including Nathan’s statement, “That’s why you hired me, right? I’m the best.” Further review of

 the text message exchange—also deliberately excluded from both Lively’s CRD complaint and

 the Times article—unequivocally shows that Abel and Nathan were engaging in a sarcastic and

 joking manner, as evidenced by the use of the ‘HaHa’ tapback reaction. When read in full, the

 exchange reveals Nathan and Abel engaging in facetious, wry banter bordering on gallows humor

 in response to their predicament—not conspiring against Lively. Lively, and in turn the Times,

 misrepresented these communications to support her salacious and unfounded “smear campaign”

 narrative. This calculated distortion underscores Lively’s duplicity, as well as the Article’s lack of

 credibility and the Times’ reliance on sensationalism over substantive truth.

         279.     Any negative press about Lively was unequivocally a consequence of her own

 actions. Even the Times itself acknowledged Lively’s public missteps in an August 17, 2024,

 article titled, “It Ends with Us: The Press Tour Drama, Explained.” In it, reporter Shivani

 Gonzalez observed: “Lively’s promotion of the movie has included a push for her new hair care

 line, discussion of the clothes in the movie, and response to questions about abuse, which have

 been criticized as shallow and tone deaf . . . Baldoni, by contrast, has emphasized the importance

 of raising awareness of domestic violence and providing resources for those in similar

 situations.”26


 26
     See also Natasha Jokic, Here’s What’s Going On With The ‘It Ends With Us’ Drama (Aug. 12, 2024),
 https://www.buzzfeed.com/natashajokic1/it-ends-with-us-blake-lively-justin-baldoni; Carly Johnson and Lillian
 Gissen, Blake Lively goes into damage control FINALLY addressing the domestic violence in It Ends With Us Amid
 Criticism over ‘tone deaf’ film promo (Aug. 13, 2024), https://www.dailymail.co.uk/tvshowbiz/article-
 13740773/Blake-Lively-address-domestic-violence-Ends-film.html; Lillian Gissen, Blake Lively fans blast It Ends
 With Us actress over ‘tone deaf’ and “shallow” interview with costars (Aug. 12, 2024),
 https://www.dailymail.co.uk/femail/article-13739569/blake-lively-tone-deaf-domestic-violence-interview.html;
 Elyse Wansehl, People Are Disgusted By Blake Lively’s Cutesy Press Tour For ‘It Ends With Us’ (Aug. 14, 2024),
 https://www.dailymail.co.uk/femail/article-13739569/blake-lively-tone-deaf-domestic-violence-interview.html;
 Eboni Boykin-Patterson, Blake Lively Dragged for Marketing Light of Domestic Violence (Aug. 14, 2024),
 https://www.thedailybeast.com/blake-lively-dragged-for-making-light-of-domestic-violence/; Alex Abad-Santos,


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 Why is everyone mad at Blake Lively? (Aug. 15, 2024), https://www.vox.com/culture/367451/blake-lively-it-ends-
 with-us-press-tour-controversy; Olivia Craighead, Fans Are Not Impressed with Blake Lively’s Press Tour (Aug. 15,
 2024), https://www.thecut.com/article/blake-lively-it-ends-with-us-press-tour-tone-deaf.html; Carolyn Gevinski, The
 It Ends With Us promo has failed domestic violence survivors like me (Aug. 16, 2024),
 https://www.glamourmagazine.co.uk/article/it-ends-with-us-domestic-abuse-first-person; Angela Yang, Blake
 Lively’s ‘It Ends With Us” promotion called ‘disrespectful’ by some survivors of abuse (Aug. 19, 2024
 https://www.nbcnews.com/pop-culture/blake-lively-it-ends-with-us-promotion-criticism-rcna167175;               Arwa
 Mahdawi, Sorry, Blake Lively: using a movie about domestic violence to sell stuff is not a good look (Aug. 20, 2024
 https://www.theguardian.com/commentisfree/article/2024/aug/20/blake-lively-it-ends-with-us-colleen-hoover;
 Hannah Holland, ‘It Ends With Us’ was already problematic. Blake Lively’s press tour made it worse. (Aug. 27, 2024),
 https://www.thecut.com/article/blake-lively-it-ends-with-us-press-tour-tone-deaf.html.



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        280.   As noted elsewhere herein, Lively’s marketing efforts, which included encouraging

 audiences to “grab your friends, wear your florals” while promoting her hair care and alcohol


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 brands, were widely criticized as insensitive. This was particularly glaring given the well-known

 links between domestic violence and alcohol consumption. Her actions naturally triggered organic

 public criticism and unleashed a cycle of negative coverage, including, as is common in the digital

 age, the resurfacing of old, unflattering content.




        281.    Far from being the product of a calculated smear campaign by the Wayfarer Parties,

 the backlash against Lively was the inevitable fallout of her own mercenary messaging and self-




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 promotional tactics, amplified by her inability to read the room in addressing such a serious

 subject.




        282.   The Article also deliberately ignores that Lively’s publicist, Leslie Sloane of Vision

 PR, once backed by Harvey Weinstein, seeded stories critical of Baldoni, including that Baldoni



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 was a sexual predator, ahead of the Film’s release. Sloan did so even while Nathan attempted to

 negotiate in good faith.




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        283.   To assert that the Wayfarer Parties orchestrated a premeditated smear campaign is

 to disregard objective evidence that unequivocally contradicts such claims. Even a cursory

 investigation by the Times would have exposed the baseless nature of Lively’s allegations and the



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 lack of factual support for her narrative. Most troubling, however, is the Times’ deliberate

 omission of a critical player in this manufactured controversy: Stephanie Jones. Once Baldoni’s

 and Wayfarer’s trusted public relations representative, Jones not only had intimate access to the

 communications strategy and crisis management surrounding the Film but also played a pivotal

 role in leaking private communications cited in the Article. Her betrayal, driven by a quid pro quo

 arrangement with Lively, appears aimed at shielding herself while aligning with Lively to curry

 favor and secure future opportunities.




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        284.    The Times’ failure to scrutinize Lively’s false claims or even to provide a balanced

 account of the events further underscores its role in amplifying Lively’s falsehoods while

 abandoning its responsibility to truth and accuracy. To suggest, as the Times does, that the

 Wayfarer Parties engaged in the dark arts of public relations to destroy Lively’s reputation is to

 ignore that Lively had longstanding reputational challenges and that the Wayfarer Parties’ public

 relations efforts were rudimentary, above-board, and entirely defensive. The Times willingly omits

 any meaningful discussion of the true source of tension between Lively and the Wayfarer Parties,

 which was Lively’s brazen and calculated effort to expropriate the Film.




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        285.    While the Times thrusts allegations of an offensive smear campaign concocted by

 the Wayfarer Parties, the incomplete and misleading evidence supplied by Lively, and on which

 the Times purports to rely, proffers a warped view of reality. Setting aside the unscrupulous means



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 by which the cited communications were obtained, the Times, as with Lively’s CRD Complaint,

 deliberately takes these communications out of context to bolster a fallacious narrative (designed

 in concert with Lively) to harm the Wayfarer Parties. When viewed in full context, these

 handpicked, doctored communications lose their manufactured impropriety and disprove Lively’s

 allegations:




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        286.    In the Article, the Times writes: “[Lively’s] filing includes excerpts from thousands

 of pages of text messages and emails that she obtained through a subpoena. These and other

 documents were reviewed by the New York Times.” However, the Times failed to review and/or

 investigate the plethora of communications demonstrating that the Wayfarer Parties’ press strategy

 was at all times wholly defensive; they had no intention of “smearing” Lively and never did any

 such thing. What they did do was faithfully promote the Film and its message:




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        287.   Though the Times admits that it had access to “thousands” of relevant text messages

 and emails, its skewed reporting makes painfully obvious that it failed to substantiate the false

 accusations hurled by Lively. Indeed, the objective evidence refutes any allegation that the

 Wayfarer Parties engaged in a smear campaign to “bury” Lively and “destroy” her reputation.


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 Lively’s wound was entirely self-inflicted. That the Wayfarer Parties retained crisis public

 relations to defend against Lively’s unrelenting assault does not change this fact.

        288.    The New York Times is one of the most widely read newspapers in the United States

 and, once upon a time, served as a primary newspaper of record, publishing “all the news that’s fit

 to print.” The Times was considered a paragon of journalistic integrity and excellence, the gold-

 standard for journalism in the United States, and a highly respected new outlet internationally.

        289.    For generations, the paper’s historical influence on the socio-political and cultural

 life of the country and its institutions could not be overstated. Americans long relied on the Times

 as a source of accurate and balanced news reporting. Viewpoint-based commentary was expressly

 excluded from news stories. Indeed, for years, Americans grew to expect that the Times would, as

 legendary Times Executive Editor A.M. Rosenthal said, “tell it straight” or, in other words, simply

 report the news without embellishing or driving it. For much of its storied history, whether it was

 the civil rights movement, the Vietnam War, Watergate or other political and cultural issues,

 through its objective, investigative reporting and the diverse views presented on its Op-Ed pages,

 the Times strove to inform America through high journalistic standards, accuracy and fairness. The

 publication has won far more Pulitzer Prizes than any other media company in U.S. history, with

 its first being awarded more than 100 years ago.

        290.    But over the last 20 years, Times reporters have ever more frequently veered

 spectacularly from their own journalistic guidelines. As a result, it has become commonplace to

 find New York Times stories containing egregious factual errors or infected with bias. Such lapses

 have contributed to public distrust of the Times and a landscape where partisan actors can cry “fake

 news” with some justification.




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        291.    But the New York Times still wields a powerful and influential megaphone in the

 media and greater society. It is, therefore, under a solemn obligation to do the work necessary to

 get its reporting right. As reporters at the Times well know, getting it wrong can lead to disastrous

 outcomes for story subjects, including financial, professional, and reputational ruin. And New York

 Times sets the narrative and tone for other news organizations, amplifying the impact of its

 mistakes.

        292.    The instant case is emblematic of the Times having “lost its way”, as the facts here

 make plain that the Times failed to follow its own journalistic standards, rushed to judgment, and,

 with careless disregard, published a story accusing the Wayfarer Parties of waging a “smear

 campaign” against Lively, causing a feeding frenzy based on a demonstrably false premise.

        293.    The instant case is emblematic of the Times having “lost its way”, as the facts here

 make plain that the Times failed to follow its own journalistic standards, rushed to judgment, and,

 with careless disregard, published a story accusing the Wayfarer Parties of waging a “smear

 campaign” against Lively, causing a feeding frenzy based on a demonstrably false premise.

        294.    At 2:16 a.m. (EST), the Wayfarer Parties’ legal representatives responded as

 follows:

        It is shameful that Ms. Lively and her representatives would make such serious and
        categorically false accusations against Mr. Baldoni, Wayfarer Studios and its
        representatives, as yet another desperate attempt to ‘fix’ her negative reputation
        which was garnered from her own remarks and actions during the campaign for the
        film; interviews and press activities that were observed publicly, in real time and
        unedited, which allowed for the internet to generate their own views and opinions.
        These claims are completely false, outrageous and intentionally salacious with an
        intent to publicly hurt and rehash a narrative in the media. Wayfarer Studios made
        the decision to proactively hire a crisis manager prior to the marketing campaign of
        the film, to work alongside their own representative with Jonesworks employed by
        Stephanie Jones, due to the multiple demands and threats made by Ms. Lively
        during production which included her threatening to not showing up to set,
        threatening to not promote the film, ultimately leading to its demise during release,
        if her demands were not met. It was also discovered that Ms. Lively enlisted her



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        own representative, Leslie Sloan with Vision PR, who also represents Mr.
        Reynolds, to plant negative and completely fabricated and false stories with media,
        even prior to any marketing had commenced for the film, which was another reason
        why Wayfarer Studios made the decision to hire a crisis professional to commence
        internal scenario planning in the case they needed to address. The representatives
        of Wayfarer Studios still did nothing proactive nor retaliated, and only responded
        to incoming media inquiries to ensure balanced and factual reporting and monitored
        social activity. What is pointedly missing from the cherry-picked correspondence
        is the evidence that there were no proactive measures taken with media or
        otherwise; just internal scenario planning and private correspondence to strategize
        which is standard operating procedure with public relations professionals.

        295.    At 10:11 a.m. (EST) on December 21, 2024, the Times published the Article.

 Notwithstanding that the Times was made aware of the egregiously defamatory allegations

 contained therein, it proceeded with publication without further inquiry. Indeed, in its rush to

 publish a one-sided, unsubstantiated story on behalf of Lively, the Times got it dramatically wrong.

 The aftershocks have been disastrous for the Wayfarer Parties, and they now, reluctantly and

 knowing the damage cannot be fully undone, bring suit to hold the Times accountable for its

 egregious misfire.

        296.    When Wayfarer and Baldoni hired Lively to appear in the film, they did not

 anticipate that she would execute a hostile takeover of the entire project. Lively’s cynical abuse of

 baseless sexual harassment allegations to assert unilateral control over every aspect of the

 production was both strategic and manipulative. Simultaneously, her public image suffered as a

 result of a series of high-profile blunders, which she tried to deflect by blaming the Wayfarer

 Parties for the public’s prying interest into the foibles of an A-list celebrity. Alongside the Times,

 Lively orchestrated a malicious attack on the reputations, careers, and personal lives of the

 Wayfarer Parties, subjecting them to public humiliation, threats, and vitriol. This lawsuit seeks to

 hold the Lively Parties accountable for their defamation campaign.




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        297.    Plainly, the Lively Parties had thousands of text messages and communications.

 They had all the pieces to put together what really happened, and they would not even have had to

 search particularly hard to do so. They chose not to, because that did not serve the goal of trashing

 the Wayfarer Parties in the ultimate power play by wealthy celebrities who have not heard the

 word “no” for decades.

        298.    At bottom, the case is a simple one. Lively used her power to steal a movie from its

 director and production studio. Then she held them hostage to her incessant demands by

 extortionate threats to destroy what they had left. All the while, she failed to understand the heart

 and soul of the movie she stole and the book it was based on, let alone the intensely personal


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 impact the book had on millions worldwide. When her thoughtless promotions fell flat because

 they focused on flowery glamour and cross-merchandising opportunities for her own brands, rather

 than on centering the voices of survivors, she finally got a taste of accountability, and she did not

 care for it. She made one final demand to the Wayfarer Parties: that they finally and forever fall

 on the sword for her by apologizing for things they had not done, killing their future prospects in

 the process. When they refused, the Lively Parties’ gloves came off, and they used their power and

 resources to try to take down the Wayfarer Parties for good by coordinating with Jones and Sloane,

 master practitioners of the dark arts of public relations, in an intricately planned character

 assassination plot ultimately put into action by the New York Times. They nearly pulled it off, too.

        299.    the Lively Parties have cost the Wayfarer Parties their film, their reputations, their

 future prospects, even their talent agency. It is time to rebalance the scales.

                                              PARTIES

        300.    Wayfarer Studios LLC is, and at all relevant times herein was, a Delaware limited

 liability company with its principal place of business in Los Angeles, California. None of

 Wayfarer’s members are citizens of New York. All of Wayfarer’s members are citizens of

 California.

        301.    Justin Baldoni is, and at all relevant times herein was, an individual residing in the

 County of Los Angeles, California.

        302.    Jamey Heath is, and at all relevant times herein was, an individual residing in the

 County of Los Angeles, California.

        303.    It Ends With Us Movie LLC is, and at all relevant times herein was, a California

 limited liability company with its principal place of business in California. No members of It Ends




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 With Us Movie LLC are citizens of New York. All members of It Ends With Us Movie LLC are

 citizens of California.

        304.    Melissa Nathan is, and at all relevant times here in was, an individual residing in

 the County of Los Angeles, California.

        305.    Jennifer Abel is, and at all relevant times was, an individual residing in the County

 of Los Angeles, California.

        306.    Steve Sarowitz is, and at all relevant times herein was, an individual residing in the

 County of Lake, Illinois.

        307.    Blake Lively is, and at all relevant times herein was, an individual residing in New

 York, New York.

        308.    Ryan Reynolds is, and at all relevant times herein was, an individual residing in

 New York, New York.

        309.    Upon information and belief, Leslie Sloane is, and at all relevant times herein was,

 an individual residing in New York, New York.

        310.    Vision PR, Inc. is, and at all relevant times herein was, a New York corporation

 with its principal place of business in New York, New York.

        311.    The New York Times Company is, and at all relevant times herein was, a New York

 corporation with its principal place of business in New York, New York.

                                  JURISDICTION AND VENUE

        312.    This Court has original jurisdiction over the claims for relief asserted in this cross-

 complaint pursuant to 28 U.S.C. § 1332 because the matter in controversy exceeds the sum or

 value of $75,000, exclusive of interest and costs, and no Lively Party is a citizen of the same state

 as any Wayfarer Party.




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         313.     This Court may exercise personal jurisdiction over the Lively Parties pursuant to §

 301 of the New York Civil Practice Law and Rules because all of the Lively Parties systematically

 and continuously conduct and solicit business within New York and have availed themselves of

 the privileges of conducting business in the State of New York.

         314.     This Court may exercise personal jurisdiction over the Lively Parties pursuant to §

 302 of the New York Civil Practice Law and Rules, including because, upon information and

 belief, all of the Lively Parties transact and solicit business within the State, have committed the

 tortious acts described in this Complaint within the State, and/or have committed such acts outside

 of the State causing injury to the Wayfarer Parties within the State.

         315.     Venue is proper in this district pursuant to 28 U.S.C. § 1391(b) and (c), because a

 substantial part of the events or omissions giving rise to these claims occurred in this District and

 because the Lively Parties are subject to personal jurisdiction in this District.

                                        FIRST CAUSE OF ACTION

                                               (Civil Extortion)27

                               Against Lively, Reynolds, Sloane, and Vision

         316.     The Wayfarer Parties hereby repeat, reiterate, re-allege, and incorporate by

 reference each and every allegation of the Complaint as if set forth fully herein.

         317.     The Lively Parties made threats to the Wayfarer Parties that they knew to be

 wrongful, including threats to breach contracts, defame the Wayfarer Parties, and injure




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   Lively has contended that California law applies to any dispute involving the Wayfarer Parties or the Film.
 Without conceding that Lively’s statutory claims are properly brought, and with reservation of all rights and
 remedies, the Wayfarer Parties assert their claims under the substantive laws of the State of California.


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        318.    The Lively Parties’ threats included demands that money, property, services, or

 other sources of value be conferred upon the Lively Parties without consideration or contractual

 entitlement thereto.

        319.    The Wayfarer Parties complied with the wrongful demands.

        320.    The Wayfarer Parties were harmed.

        321.    The Lively Parties’ wrongful threats and demands were a substantial factor in

 causing the Wayfarer Parties’ harm.

        322.    Upon information and belief, each of the Lively Parties was aware that the others

 planned to commit the tort of extortion against the Wayfarer Parties; and that each of the Lively

 Parties agreed with one another and intended that the wrongful acts pleaded herein be committed.

 Accordingly, each of the Lively Parties is equally liable to the Wayfarer Parties for the tort of

 extortion by reason of their conspiracy to commit the tort.

        323.    The Lively Parties have engaged in the above-alleged conduct with oppression,

 fraud, and malice. Accordingly, the Wayfarer Parties are entitled to an award of punitive and

 exemplary damages in an amount to be proved at trial.

                                 SECOND CAUSE OF ACTION

                                           (Defamation)

                 Against Lively, Reynolds, Sloane, Vision, and New York Times

        324.    The Wayfarer Parties hereby repeat, reiterate, re-allege, and incorporate by

 reference each and every allegation of the Complaint as if set forth fully herein.

        325.    The Lively Parties made one or more statements to persons other than the Wayfarer

 Parties, including without limitation to the New York Times, to the effect that the Wayfarer Parties

 engaged in, permitted, and/or failed to prevent sexually inappropriate conduct toward Lively and




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 others, and that the Wayfarer Parties retaliated against Lively and others for reporting the alleged

 sexual misconduct including by propagating false and misleading narratives about Lively for the

 purpose of damaging her image and reputation.

        326.    The persons to whom the Lively Parties made these statements reasonably

 understood that these statements were made about the Wayfarer Parties.

        327.    The statements made by the Lively Parties were intended to and did have the effect

 of exposing the Wayfarer Parties to hatred, contempt, ridicule, or obloquy, or of causing them to

 be shunned or avoided, or of having a tendency to injury them in their occupations. Specifically,

 the persons to whom the Lively Parties made the statements reasonably understood the statements

 to mean that the Wayfarer Parties engaged in, permitted, and/or failed to prevent sexually

 inappropriate conduct toward Lively and others, and that the Wayfarer Parties retaliated against

 Lively and others for reporting the alleged sexual misconduct including by propagating false and

 misleading narratives about Lively for the purpose of damaging her image and reputation.

        328.    The statements made by the Lively Parties about the Wayfarer Parties were false.

 Furthermore, the Lively Parties knew the statements were false, or had serious doubts about the

 truth of the statements.

        329.    The Lively Parties’ false statements about the Wayfarer Parties to third parties were

 a substantial factor in causing harm to the Wayfarer Parties’ property, business, trade, profession,

 and/or occupation; expenses the Wayfarer Parties had to pay as a result of the defamatory

 statements; harm to the Wayfarer Parties’ reputations; and, with respect to Baldoni and Heath,

 shame, mortification, and hurt feelings.

        330.    Upon information and belief, each of the Lively Parties was aware that the others

 planned to commit the tort of defamation against the Wayfarer Parties; and that each of the Lively




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 Parties agreed with one another and intended that the wrongful acts pleaded herein be committed.

 Accordingly, each of the Lively Parties is equally liable to the Wayfarer Parties for the tort of

 defamation by reason of their conspiracy to commit the tort.

         331.    The Lively Parties have engaged in the above-alleged conduct with oppression,

 fraud, and malice. Accordingly, the Wayfarer Parties are entitled to an award of punitive and

 exemplary damages in an amount to be proved at trial.

                                  THIRD CAUSE OF ACTION

                 (False Light Invasion of Privacy – California Const., Art. I, § 1)

  By Baldoni, Heath, Nathan, Abel, and Sarowitz Against Lively, Reynolds, Sloane, Vision, and

                                          New York Times

         332.    The Wayfarer Parties Baldoni, Heath, Nathan, Abel, and Sarowitz hereby repeat,

 reiterate, re-allege, and incorporate by reference each and every allegation of the Complaint as if

 set forth fully herein.

         333.    As alleged herein above, the Lively Parties Lively, Reynolds, Sloane, Vision, and

 New York Times publicly disclosed information or material regarding the Wayfarer Parties

 Baldoni, Heath, Nathan, Abel, and Sarowitz’s professional decisions, moral character, private life,

 and family, which showed Baldoni, Heath, Nathan, Abel, and Sarowitz in a false light.

         334.    The false light created by the disclosures of the Lively Parties would be highly

 offensive and objectionable to a reasonable person in the Wayfarer Parties’ position, in that it made

 Baldoni, Heath, Nathan, Abel, and Sarowitz the objects of scorn, pity, ridicule, humiliation, and

 other suffering.

         335.    These Lively Parties knew the public disclosures would create a false impression

 about Baldoni, Heath, Nathan, Abel, and Sarowitz or acted with reckless disregard for the truth.




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        336.    As a direct and proximate result of the said publicity and false and misleading

 disclosures, Baldoni, Heath, Nathan, Abel, and Sarowitz sustained harm, including to their

 business and professions, as well as their reputations. Further, Baldoni, Heath, Nathan, Abel, and

 Sarowitz have suffered, and continue to suffer, from grief and anxiety as a result of the wanton

 destruction of their public reputations and characters. As a further direct and proximate result of

 the said disclosures, the Wayfarer Parties Baldoni, Heath, Nathan, Abel, and Sarowitz have

 suffered loss of income and interference with future income.

        337.    The conduct of the Lively Parties described herein was a substantial factor in

 causing the Wayfarer Parties Baldoni, Heath, Nathan, Abel, and Sarowitz’s harm, constituted a

 serious invasion of their rights to privacy, and was an egregious breach of social norms that shocks

 the conscience.

        338.    Upon information and belief, each of the Lively Parties was aware that the others

 planned to commit the tort of false light invasion of privacy against the Wayfarer Parties Baldoni,

 Heath, Nathan, Abel, and Sarowitz; and that each of the Lively Parties agreed with one another

 and intended that the wrongful acts pleaded herein be committed. Accordingly, each of the Lively

 Parties is equally liable to the Wayfarer Parties Baldoni, Heath, Nathan, Abel, and Sarowitz for

 the tort of false light invasion of privacy by reason of their conspiracy to commit the tort.

        339.    The Lively Parties have engaged in the above-alleged conduct with oppression,

 fraud, and malice. Accordingly, the Wayfarer Parties Baldoni, Heath, Nathan, Abel, and Sarowitz

 are entitled to an award of punitive and exemplary damages in an amount to be proved at trial.




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                                  FOURTH CAUSE OF ACTION

                 (Breach of Implied Covenant of Good Faith and Fair Dealing)

                                           Against Lively

        340.    The Wayfarer Parties hereby repeat, reiterate, re-allege, and incorporate by

 reference each and every allegation of the Complaint as if set forth fully herein.

        341.    Lively and the Wayfarer Parties entered into a contract by which Lively agreed to

 perform as an actor in the Film It Ends With Us.

        342.    The Wayfarer Parties did all, or substantially all, of the significant things that the

 contract required them to do, or, in the alternative, the Wayfarer Parties were excused from having

 to do those things.

        343.    All of the conditions required, if any, for Lively’s performance had occurred or, in

 the alternative, were excused.

        344.    Lively engaged in conduct that prevented the Wayfarer Parties from receiving the

 benefits contemplated under the contract. Specifically, Lively interfered with the production by

 making repeated threats and demands in order to seize creative control over the production, editing,

 and marketing of the Film, such that the Lively Parties were deprived of the opportunity to produce,

 edit, and market a film as contemplated by the contract.

        345.    By doing so, Lively did not act fairly and in good faith.

        346.    The Wayfarer Parties were harmed by Lively’s conduct.




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                                   FIFTH CAUSE OF ACTION

                       (Intentional Interference with Contractual Relations)

                                    Against Reynolds and Lively

        347.      The Wayfarer Parties hereby repeat, reiterate, re-allege, and incorporate by

 reference each and every allegation of the Complaint as if set forth fully herein.

        348.      There was a contract between the Wayfarer Parties and William Morris Endeavor

 (“WME”).

        349.      The Lively Parties Lively and Reynolds knew of the contract.

        350.      The Lively Parties Livelyand Reynolds prevented performance of the contract or

 made performance more expensive or difficult. Specifically, upon information and belief, Lively

 and Reynolds made threats and/or demands to induce WME to cease performing under its contract

 with the Wayfarer Parties.

        351.      The Lively Parties Lively and Reynolds intended to disrupt the performance of this

 contract or, in the alternative, knew that disruption of performance was certain or substantially

 certain to occur.

        352.      The Wayfarer Parties were harmed.

        353.      The Lively Parties’ conduct was a substantial factor in causing the Wayfarer

 Parties’ harm.

        354.      Upon information and belief, each of the Lively Parties Lively and Reynolds was

 aware that the others planned to commit the tort of intentional interference with contractual

 relations against the Wayfarer Parties; and that each of the aforementioned Lively Parties agreed

 with one another and intended that the wrongful acts pleaded herein be committed. Accordingly,




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 each of the aforementioned Lively Parties is equally liable to the Wayfarer Parties for the tort of

 intentional interference with contractual relations by reason of their conspiracy to commit the tort.

        355.      The Lively Parties Lively and Reynolds have engaged in the above-alleged conduct

 with oppression, fraud, and malice. Accordingly, the Wayfarer Parties are entitled to an award of

 punitive and exemplary damages in an amount to be proved at trial.

                                    SIXTH CAUSE OF ACTION

                  (Intentional Interference with Prospective Economic Advantage)

                                     Against Reynolds and Lively

        356.      The Wayfarer Parties hereby repeat, reiterate, re-allege, and incorporate by

 reference each and every allegation of the Complaint as if set forth fully herein.

        357.      The Wayfarer Parties and WME were in an economic relationship that probably

 would have resulted in an economic benefit to the Wayfarer Parties.

        358.      The Lively Parties Lively and Reynolds knew of the relationship.

        359.      The Lively Parties Lively and Reynolds engaged in wrongful conduct, specifically,

 by making threats and/or demands that WME terminate its economic relationship with the

 Wayfarer Parties.

        360.      By engaging in this conduct, the Lively Parties intended to disrupt the relationship,

 or, in the alternative, knew that disruption of the relationship was certain or substantially certain

 to occur.

        361.      The relationship was disrupted.

        362.      The Wayfarer Parties were harmed.

        363.      The Lively Parties’ conduct was a substantial factor in causing the Wayfarer

 Parties’ harm.




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        364.    Upon information and belief, each of the Lively Parties Lively and Reynolds was

 aware that the others planned to commit the tort of intentional interference with prospective

 economic relations against the Wayfarer Parties; and that each of the aforementioned Lively

 Parties agreed with one another and intended that the wrongful acts pleaded herein be committed.

 Accordingly, each of the aforementioned Lively Parties is equally liable to the Wayfarer Parties

 for the tort of intentional interference with prospective economic relations by reason of their

 conspiracy to commit the tort.

        365.    the Lively Parties Lively and Reynolds have engaged in the above-alleged conduct

 with oppression, fraud, and malice. Accordingly, the Wayfarer Parties are entitled to an award of

 punitive and exemplary damages in an amount to be proved at trial.

                                  SEVENTH CAUSE OF ACTION

                (Negligent Interference with Prospective Economic Advantage)

                                    Against Reynolds and Lively

        366.    The Wayfarer Parties hereby repeat, reiterate, re-allege, and incorporate by

 reference each and every allegation of the Complaint as if set forth fully herein.

        367.    The Wayfarer Parties and WME were in an economic relationship that probably

 would have resulted in an economic benefit to the Wayfarer Parties.

        368.    The Lively Parties Lively and Reynolds knew of the relationship.

        369.    The Lively Parties Lively and Reynolds knew or should have known that this

 relationship would be disrupted if they failed to act with reasonable care.

        370.    The Lively Parties failed to act with reasonable care.

        371.    The Lively Parties engaged in wrongful conduct by threatening and/or making

 demands that WME sever its economic relationship with the Wayfarer Parties.




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        372.      The relationship was disrupted.

        373.      The Wayfarer Parties were harmed.

        374.      The Lively Parties’ wrongful conduct was a substantial factor in causing the

 Wayfarer Parties’ harm.

                                  EIGHTH CAUSE OF ACTION

                                        (Promissory Fraud)

                               Against The New York Times Company

        375.      The Wayfarer Parties hereby repeat, reiterate, re-allege, and incorporate by

 reference each and every allegation of the Complaint as if set forth fully herein.

        376.      On or about Friday, December 20, 2024, at approximately 9:45 p.m. (EST),

 Twohey of the Times emailed the Wayfarer Parties concerning the forthcoming publication of the

 Article. Twohey laid out a series of highly inflammatory allegations involving the Wayfarer Parties

 purportedly derived from a review of their private communications that the Times had taken

 possession of.

        377.      The Times offered the Wayfarer Parties until noon (EST) the following day to

 respond to the allegations, provide additional relevant information, and correct inaccuracies.

        378.      The Wayfarer Parties are informed and believe, and based thereon allege, that the

 Times had been coordinating with Lively and/or her team to align the publication of the Article

 with the filing of Lively’s CRD Complaint, a document that was not publicly available and had to

 have been provided to the Times by Lively and/or her team.

        379.      Although the Wayfarer Parties strongly believed that the Times had not afforded

 them remotely enough time to meaningfully respond to the allegations, correct inaccuracies, or

 even verify the authenticity of their unlawfully obtained private communications, they fully




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 intended to make use of that brief window to correct the record as best they could. the Wayfarer

 Parties justifiably relied on the express representation of the Times that the Wayfarer Parties had

 until noon (EST) on December 21, 2024, to do so.

         380.    However, the Times published the Article without warning at 10:11 a.m. (EST),

 cutting off the Wayfarer Parties’ ability to do so and catalyzing a feeding frenzy.

         381.    The Wayfarer Parties are informed and believe, and based thereon allege, that the

 Times reached out to the Wayfarer Parties to pay lip service to journalistic ethics and fundamental

 fairness and never intended—or wanted—for the Wayfarer Parties to respond.

         382.    The Wayfarer Parties are informed and believe, and based thereon allege, that the

 Times intended for the Wayfarer Parties to rely on its false promise, which the Wayfarer Parties

 did, in fact, do to their detriment.

         383.    As a direct and proximate result of the above-described conduct of the Times, the

 Wayfarer Parties have been harmed in an amount to be proven at trial.

                                    NINTH CAUSE OF ACTION

                                (Breach of Implied-in-Fact Contract)

                               Against The New York Times Company

         384.    The Wayfarer Parties hereby repeat, reiterate, re-allege, and incorporate by

 reference each and every allegation of the Complaint as if set forth fully herein.

         385.    As alleged herein, on or about Friday, December 20, 2024, at approximately 9:45

 p.m. (EST), Twohey of the Times emailed the Wayfarer Parties concerning the forthcoming

 publication of the Article. Twohey laid out a series of highly inflammatory allegations involving

 the Wayfarer Parties, purportedly derived from a review of their private communications that the

 Times had taken possession of.




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        386.    Through their express written words, the Times offered the Wayfarer Parties until

 noon (EST) the next day to respond to the allegations, provide additional relevant information, and

 correct inaccuracies.

        387.    The Wayfarer Parties accepted the Times’ offer, which created an implied-in-fact

 contract between the parties whereby the Times would refrain from publication for a brief period

 in exchange for a substantive response to the allegations, additional relevant information, and

 confirmation of the authenticity, accuracy, and completeness of the relied-upon communications.

        388.    The Wayfarer Parties performed in accordance with this mutual understanding.

        389.    The Times breached the implied-in-fact contract by publishing the Article at 10:11

 a.m. (EST), in direct violation of their express representation to the Wayfarer Parties.

        390.    As a direct and proximate result of the Times’ foregoing breach, the Wayfarer

 Parties were deprived of the benefits of the bargain in that they lost the opportunity to meaningfully

 assess and respond to a false, misleading, extremely inflammatory portrayal of their actions and

 character.

        391.    As a direct and proximate result thereof, the Wayfarer Parties suffered harm in an

 amount to be proven at trial.

                                      PRAYER FOR RELIEF

 WHEREFORE, the Wayfarer Parties pray for the following relief:

        1.      For a money judgment representing compensatory damages including

 consequential damages, lost wages, earnings, and all other sums of money, together with interest

 on those amounts, in an amount to be proven at trial but in no event less than $400,000,000;

        2.      For an award of money judgment for mental pain and anguish and severe and

 serious emotional distress, as applicable, in an amount to be proven at trial;




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       3.     For pre- and post-judgment interest;

       4.     For punitive damages according to proof;

       5.     For attorney’s fees and costs incurred by the Wayfarer Parties, as applicable; and

       6.     For such other legal and equitable relief as the Court deems appropriate.

                                DEMAND FOR JURY TRIAL

       The Wayfarer Parties demand a jury trial on all causes of action so triable.




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                                                 Respectfully submitted,
        Dated: January 31, 2025
               New York, NY                      MEISTER SEELIG & FEIN PLLC


                                                 By:     /s/ Mitchell Schuster
                                                         Mitchell Schuster
                                                         Kevin Fritz
                                                 125 Park Avenue, 7th Floor
                                                 New York, NY 10017
                                                 Tel: (212) 655-3500
                                                 Email: ms@msf-law.com
                                                         kaf@msf-law.com


        Dated: January 31, 2025                  LINER FREEDMAN TAITELMAN
               Los Angeles, CA                        + COOLEY


                                                 By:     _/s/ Bryan Freedman________
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                                                         Miles M. Cooley*
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                                                 * admitted pro hac vice




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                                                   EXHIBIT A

 The following timeline is intended to be read in conjunction with Consolidated Plaintiffs’
 First Amended Complaint and is expressly incorporated therein by reference; this
 document provides a summarized account of the sequence of key events.

 January 1, 2019: Justin emails Colleen about It Ends With Us book.1




 April 11, 2019: When It Ends With Us author Colleen Hoover watched director Justin Baldoni’s
 Five Feet Apart in theaters, she told Baldoni, “You are the right person to make this movie”
 (referring to It Ends With Us).




 1
  Due to international travel, some images may appear to reflect dates and times that vary from the local time when
 messages were sent or received. In the interest of transparency, times and dates have been left unedited.


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 April 12, 2019: Hoover suggests Baldoni portray “Ryle” in the Film




 May 8, 2019: Justin options the book It Ends With Us from Colleen Hoover

 September 16, 2022: Baldoni connects with a representative from the nonprofit organization
 “NO MORE,” which raises awareness and acts to end domestic and sexual violence, with the
 intention of partnering on the Film. The representative followed up with an email to Baldoni
 shortly thereafter.


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 September 23, 2022: Wayfarer partners with Sony; their agreement includes, at Wayfarer and
 Baldoni’s insistence, a requirement that 1% of the Film’s proceeds be donated in support of
 survivors of domestic abuse. That 1% was ultimately earmarked for the organization “NO
 MORE.”

 December 31, 2022: Lively agrees to take the lead role of “Lily Bloom.”

 January 13, 2023: Baldoni and Wayfarer develop marketing ideas for the Film. They share
 these campaign ideas with Sony, including an idea for “Lily Bloom pop-up shops” nationwide,
 each of which would provide access to resources and safe houses for domestic violence victims.
 They also sought to partner with the non-profit “NO MORE,” which raises awareness and acts to
 end domestic and sexual violence.




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 January 22, 2023: Lively introduces Baldoni to her friend and celebrity trainer, who would later
 become Baldoni’s trainer as well.

 January 23, 2023: Baldoni and the trainer start collaborating, with the trainer delivering
 Baldoni’s workout program on February 26.




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 February 9, 2023: Lively and Baldoni exchange texts. She jokes with Baldoni that she is 20
 pounds from her goal weight. Baldoni responds by disliking the message. Lively thanks Baldoni
 for his friendship and support.




 February 14, 2023: Baldoni begins writing and sending script revisions to Lively, all the while
 also building rapport with his co-star and lead actress. Lively responds, “[y]ou’re safe here[.]”,
 indicating he need not worry about his choice of words and could speak freely.



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 February 17, 2023: Lively shares her concerns with Baldoni about having her body ready for
 the forthcoming sex scenes their characters would shoot, asking, “What’s the chance we can do
 body scenes at the end of the schedule?” Baldoni tries to reassure Lively that she doesn’t need to
 stress about her body and emphasizes his determination to work collaboratively with her to
 ensure her comfort.




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 February 26, 2023: Baldoni’s trainer provides him with a workout program.




 February 28, 2023: Baldoni and Reynolds exchange text messages expressing mutual respect.




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 March 29, 2023: Lively shares with Baldoni that she has strep throat, and Baldoni offers to send
 her some “amazing gut health protocols that help after antibiotics.” Lively responds, “Please.”
 As a result, Baldoni reaches out to his Board-Certified Integrative Holistic Health Coach and
 connects them. Lively shares that they connected, saying, “She’s incredible.” Lively later
 claimed in her CRD Complaint that this “health coach” was actually a weight-loss specialist and
 that this was all a ruse for Baldoni to subtly fat-shame her.




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 April 1, 2023: Blake shows up for in-person “chemistry reads” with potential co-stars to play her
 love interest, Atlas. At the end of the day, Lively sends a message to Baldoni stating, “that was
 fun yesterday…. What a great assembly of people[.]”




 April 5, 2023: Baldoni hires an intimacy coordinator and texts Lively to coordinate a time for
 them to meet. Lively declines to meet with the intimacy coordinator ahead of filming.




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 April 7-8, 2023: Baldoni shares the updated script with Lively. Lively excitedly texts Baldoni
 her thoughts on the pivotal Rooftop “meet-cute” scene, acknowledging its significance in the
 story. She asks if she can take a pass at the dialogue, hoping to infuse more of her voice into the
 character and make it more “flirty and yummy”. Baldoni welcomes her input, eager to see her
 take on the moment and make the character hers. He waits for her notes.




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 April 9, 2023: Lively shares her notes on the rooftop scene with Baldoni and follows up with a
 text, eagerly awaiting his thoughts. Baldoni responds via voice note expressing his appreciation
 for her passion and edits. While he likes her changes, he envisions the final version landing
 somewhere between her take and the original.




 April 12, 2023: Baldoni meets with Lively at her apartment in New York. He is greeted by
 Lively’s husband, Ryan Reynolds, who enthusiastically praises Lively’s rewrites of the rooftop
 scene, which she had sent on April 8, 2023. Hours later, as the meeting is ending, a mega-
 celebrity friend of Reynolds and Lively walks into the room and also begins praising Lively’s
 script.

 April 13, 2023: Lively shares that she is ill again for the third time in one month. Baldoni asks if
 she would like to speak to his health coach, whom he previously connected her with on March
 29, 2023. He also offers to take it “one step further” by connecting her with his medical intuitive.
 Lively later claimed that the health coach was “not what Mr. Baldoni had represented her to be”
 and alleged she was a “weight-loss specialist.” She further claimed in her CRD Complaint that
 this was yet another attempt by Mr. Baldoni to “shame her for her body and weight.”


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 April 13, 2023: Baldoni asks Lively to send him the FDX file of the rooftop scene she worked
 on. Lively emails him the file.




 April 14, 2023: Baldoni and Lively text about script changes and enhancing dialogue for the role
 of Lily Bloom’s mother, Jenny Bloom. Baldoni conveys he is happy for Lively to share her notes
 but ultimately wants to run any changes by the scriptwriter, out of respect. Lively agrees. In the
 wake of the meeting two days earlier in the presence of Reynolds and their mega-celebrity friend
 – who Lively describes as her “dragons” in a lengthy text to follow. Baldoni feels obliged to text
 Lively, saying that he liked her pages and hadn’t needed Reynolds and her mega-celebrity friend
 to pressure him. Baldoni acknowledges Lively’s text about her “dragons”, and apologizes for not
 responding right away. However, he promises to send her a more thoughtful voice note later that
 evening when he gets home from his plans.


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 April 14, 2023: Baldoni followed up with a voice note (as promised) responding to her text
 about her “dragons”, and expressed his sincere apologies for not being more sensitive to her


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 feelings when responding to her notes on the rooftop scene. He acknowledged how lucky she is
 to have her husband and friends as her supporters. He also empathizes with Lively’s frustrations
 in having faced situations in her career where she was overlooked or not made to feel like an
 equal collaborator and hoped that their collaboration on this Film would set a new standard for
 how she should be treated. Ultimately, Baldoni tried to convey that her thoughts are always
 welcome and that he is excited to be working with someone of Lively’s caliber and all the value
 she brings to this Film. He spends a considerable amount of time encouraging her and assuring
 her that she is valued.

 April 15, 2023: The next morning, Baldoni, ready to continue work, followed up his voice note
 with a text message to share additional thoughts on the script. Lively responded, thanking him
 for the thoughtful messages and promising to always do things in service of their “shared goals”.




 April 20, 2023: Brandon Sklenar casting announcement.




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 April 20, 2023: Concerns about Lively’s undue influence over the Film began to grow even
 before filming started.




 April 21, 2023: Baldoni meets with the intimacy coordinator to discuss how to shoot the sex
 scenes. It was important to him that the intimacy coordinator be a woman to help craft sex scenes
 that would speak to the book’s mostly female audience—i.e., be written from the “female gaze.”
 His notes from this meeting are pictured below and were later shared with Lively during one of
 their script-writing meetings at her New York apartment. These notes would later become the
 basis for Lively’s Complaint, in which she states that Baldoni would talk about his own sex life
 and insert gratuitous scenes with Lively’s character orgasming. As seen in the notes, these
 mentions come directly from the intimacy coordinator’s notes— “goes down on her,” “orgasm,”
 “foreplay,” “The clit test.” Ideally, these conversations would have taken place directly between
 Lively and the intimacy coordinator directly, as Baldoni had requested; however, Lively declined
 to meet with her, leaving Baldoni in the less than ideal position of having to relay these notes to
 Lively in her penthouse.




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 April 22, 2023: In preparation for a lift sequence in which Baldoni’s character “Ryle” would lift
 Lively’s character “Lily”, Baldoni reached out to his personal trainer (a close friend of Lively’s)
 to ask what Lively weighed so that he could train his back muscles for the scene. This was
 important to avoid injury—not only to Baldoni, who has suffered from lifelong back injuries
 (multiple bulging disks and chronic pain)—but also to Lively, if the lift could not be completed
 successfully and safely. (script pages of the lift scene are included below). Lively, would later
 claim in her complaint that this scene did not exist, however as evidenced by the script pages and
 also a video in which Baldoni is rehearsing the scene with a body double the scene was very
 real.




 April 25, 2023: Baldoni was summoned by Lively to her penthouse and greeted by Reynolds,
 who swore at Baldoni and accused him of fat-shaming his wife (“How dare you fucking ask
 about my wife’s weight? What’s wrong with you?”). The tone from Reynolds and Lively was so
 aggressive that Baldoni felt he had no choice but to offer repeated (and completely unwarranted)




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 apologies for what was a good-faith and reasonable question to his trainer (not Lively). Reynolds
 demanded that Baldoni remove the lift scene entirely.

 In Lively’s Complaint, she falsely states that “the scene wasn’t even in the Film,” suggesting it
 never existed. Contrary to her attempt to manipulate verifiable facts, the only reason the scene
 was not in the Film is that Lively and Reynolds demanded it be removed, despite the fact that it
 had already been rehearsed with a stunt-double. Accommodating Lively, Baldoni re-wrote the
 scene with her despite the fact that, for creative reasons, he felt the scene was necessary.

 Baldoni was stunned by Lively’s accusation because, when Lively had earlier expressed concern
 about her postpartum figure on February 17, 2023, and February 24, 2023, Baldoni genuinely
 reassured her that she “did not need to worry about her body.” In fact, it was Lively who insisted
 that she be fit for the role, despite Baldoni’s assurances. In this meeting where Baldoni was
 aggressively confronted by Reynolds and Lively, Lively told Baldoni that if he could not get on
 board with how she works, “he still had 2 weeks to recast her.”

 As Lively well knew at the time, it would be impossible to recast her without incurring millions
 in expenses for a Film that was already half-shot. In addition to financial reprocussions, it would
 cause the studio, and Baldoni, severe reputational damage, including their relationship with
 Sony, the Film’s distributor, and financiers. Thus began a pattern of demands by Lively and
 acquiescence by Baldoni. He opted to get on board for lack of a viable alternative.

 April 25, 2023: The Line Producer on the Film shares concerns about the ballooning wardrobe
 budget resulting from Lively’s takeover, stating that it was “way more than [she] had ever seen
 wardrobe go over budget with the initial spend.” As mentioned in the Complaint, “the wardrobe
 budget ballooned”.




 April 27, 2023: Baldoni feels homesick; his family is back in California, and it has been weeks
 since he has seen his kids. Lively offers to have Baldoni fly with her to Los Angeles and back for



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 the weekend so that the two of them can continue working on the script—six hours there and six
 hours back. By all accounts, Lively feels at ease with Baldoni and is not only willing but invites
 Baldoni to share an airplane cabin with her and her children.




 April 28, 2023: Baldoni flies to Los Angeles from New York with Lively and her family. For
 the duration of the flight, Baldoni and Lively work on the script. On April 30, 2023, they return
 together to New York.

 May 1, 2023: Lively begins altering the script daily. The frequency of Lively’s revisions and
 input alarms the producers, who anticipate that her interference would persist “every day of the
 shoot” and disrupt the carefully planned production schedule.




 May 2, 2023: The Writers Guild of America (“WGA”) went on strike.


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 May 3, 2023: Lively and Baldoni text almost daily and were comfortable making silly jokes.




 May 5, 2023: Wayfarer holds a “Respect in the Workplace” meeting via Zoom with the
 production team to review appropriate on-set behavior and other HR-related matters before
 principal photography begins. This is a standard part of pre-production and employee training.




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 May 5, 2023: Baldoni emails the intimacy coordinator his notes on “sex scenes” after discussing
 Lively’s comfort level with her. Justin emphasizes that “the way these are shot and what is
 shown will be a ‘Collaboration between [Baldoni] and Blake.’”

 Due to illness in Lively’s family, the Vegas shoot scheduled for May 8, 2023, was canceled.
 Additionally, because of production delays and strikes, none of the outlined sex scenes were
 Filmed during the May-June 2023 production window (“Phase 1”). These scenes were all
 postponed to Phase 2 of production (January 5, 2024 - February 9, 2024), which resumed seven
 months later.




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 May 8, 2023: As production was set to begin its first days of shooting in Vegas, a member of
 Lively’s family falls ill. Baldoni shares his prayers and wishes for their speedy recovery.
 Meanwhile, production is left to manage the fallout and attempt to recoup costs from the
 canceled shoot days.




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 May 8, 2023: Lively’s attorney is provided with a Nudity Rider, in which Wayfarer includes the
 intimacy-coordinator-approved Nudity Rider, followed by written confirmation of the approval.
 (For clarity, providing the “intimacy-coordinator-approved Nudity Rider” serves as confirmation
 that Lively and the intimacy coordinator discussed and mutually approved the sex scenes.)

 Notably, the sex scenes scheduled for the week of May 8, 2023, had to be rescheduled multiple
 times due to illness and subsequent strikes. As a result, they were ultimately Filmed in January
 2024, meaning no sex scenes were shot during Phase 1 (May 15-June 27, 2023).




 May 12, 2023: Lively and Baldoni work at her apartment, making final script changes ahead of
 the first day of production on May 15, 2023.

 May 15, 2023: Baldoni shares an encouraging message with Lively before day one of shooting.
 Lively expresses gratitude for her collaboration with Baldoni.




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 May 15, 2023: A “NO MORE” representative who attended the table read the day before shares
 a message of encouragement with Baldoni. Baldoni is eager to establish a plan to ensure that the
 Film has the greatest impact in supporting victims of domestic violence.




 May 15, 2023: On the first day of principal photography, paparazzi capture and publish photos
 of Lively in character, wearing her hand-picked wardrobe. These images were widely criticized
 as unflattering and sparked a backlash from Sony.




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 May 16, 2023: Baldoni approached Lively in her trailer to discuss necessary wardrobe
 adjustments and his desire to have more control of wardrobe decisions going forward. Before
 this meeting, Baldoni texted Heath, saying he was “terrified of saying the wrong thing” and
 asked Heath to “send [him] prayers.”

 The meeting lasted 1.5 hours, as noted in the “Daily Wrap Email.” Lively’s CRD Complaint
 falsely characterized the exchange as a “lengthy outburst” that delayed filming and caused the
 crew to “wait for hours while [Baldoni] cried in Lively’s dressing room.” Baldoni did briefly
 become emotional during the conversation, but only in response to what he believed was a
 genuine compliment from Lively, praising his work as a director and actor. Baldoni later realized
 this was the first of many manipulations by Lively, who in this moment was trying to convince
 Baldoni to continue her autonomy over her wardrobe.




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 May 16, 2023: Later that day, Lively texts Baldoni to request another meeting with him and the
 other producers to discuss wardrobe. Baldoni agrees. After shooting wraps Producer, Sony
 Executive, Heath, and Baldoni approach Lively’s makeup trailer. Heath knocks on the door and
 is invited in.

 Present in the room are Lively’s nanny, makeup artist, and assistant while Lively is having body
 makeup removed—she was not topless, as she claimed in her Complaint. She was either nursing
 or pumping while fully covered. Lively asks Heath to face the wall while they determine a time
 to meet with the other producers, who are standing just outside the door. Weeks later, on June 1,
 2023, Lively accuses Heath of making eye contact with her while she had asked him to face the
 wall. While Heath does not remember doing so, he sincerely apologizes if he made momentary
 eye contact with Lively while conversing, acknowledging that it was possible he may have out of
 habit. Lively stated that she “didn’t think he was trying to cop a look,” and they moved on.

 Heath pleads with Lively to consider having the meeting the next morning to avoid her getting
 home too late and losing shoot time the following day. The conversation in Lively’s makeup
 trailer lasts only a couple of minutes, and they agree to meet with the rest of the producers in her
 personal trailer. Ten minutes later, they meet and discuss the wardrobe at length. Any suggestion
 that Heath ‘stared’ at her inappropriately is not only blatantly false but also difficult to believe,
 especially in such a setting.

 Furthermore, Lively’s Complaint incorrectly states that Lively intended to speak with the
 producers about unprofessional behavior on this day. As this timeline shows, the allegedly
 ‘inappropriate behavior’ Lively describes in her Complaint had not yet occurred, and the
 conversation concerned only wardrobe and production.




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 May 17, 2023: Lively continued to share her open and unguarded thoughts on life and her
 character. She talked about wardrobe choices to make her character “much sexier.” She sends
 Baldoni the following text, notably, using “sexy” both in person and over text to describe her
 character. Lively took no issue using the word “sexy” herself, and set the precedent for use of the
 word being acceptable (as it is in customary colloquial exchanges).




 May 22, 2023: Lively and Baldoni perform a scripted kissing scene in which their characters get
 engaged at the hospital. In the sequence, Lively pulls Baldoni in to kiss her. It is clear Lively was
 initiating the kissing: In one take, she pulls Baldoni in and kisses him once; in another, twice.
 Lively determined the number of kisses based on what she felt necessary for the scene. Though
 Lively improvised the number of kisses in this scene, make no mistake—the ‘kiss’ itself was
 written into the script and was in no way improvised. Contrary to Lively’s CRD Complaint, there
 was no inappropriate, improvised kissing on set. Any improvisation was made by Lively herself.

 NOTE: No intimacy coordinator was present on set for this day, as is standard when two
 professional actors (with over three decades of combined working experience) perform a scene
 in which only kissing is involved, and no other intimacy (nudity or simulated sex) is required.
 Furthermore, during preparations, Lively and her attorneys did not indicate in her nudity rider
 that she wanted an intimacy coordinator present for scenes involving only kissing. Instead, in



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 line with industry practice, focused solely on bringing one on for the simulated sex and nudity
 scene(s).




 May 22, 2023: Shoot Day #6 – Lively prepares to shoot the hospital scene in which her
 character, Lily, gives birth. In Lively’s December 20, 2024, Complaint, Lively alleges that
 during a “birthing scene,” she was “mostly nude with her legs spread wide in stirrups and only a
 small piece of fabric covering her genitalia,” and that there were “non-essential persons” present.
 This allegation is knowingly false. To begin with, to describe Lively as “mostly nude” and
 “naked from below the chest down” is inaccurate. Lively was wearing black briefs and a
 pregnancy suit that covered her midsection, and her top was covered by a hospital gown.

 Additionally, in Lively’s Complaint, she stated she was “alarmed” that Baldoni had hired his
 “best friend” as the OBGYN. The actor portraying the obstetrician is an award-winning,
 Shakespearean-trained actor with an MFA in Acting from UCLA. In addition to appearing on
 numerous hit television shows, he has toured nationally with a Tony Award-winning acting
 company and attended Oxford’s acting program on a full scholarship. His engagement was no
 different than the engagement of Lively’s sister, who was hired because she is Lively’s sister.
 Despite their personal relationship, they are both experienced professional actors.

 Lastly, in Lively’s Complaint, she states that the set was “crowded, chaotic and utterly lacking in
 standard industry protections for filming nude scenes.” For one, Lively was not “nude,” nor did
 the set diverge from industry standards. Further, “closed set” protocols were followed every day
 on set.

 NOTE: Lively alleges that Steve Sarowitz was present for the filming of the birthing scene. This
 is entirely false. Mr. Sarowitz arrived later in the day after the birthing scene had already been
 shot.




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 May 23, 2023: At the end of Shoot Day #6 on May 22, 2023, Baldoni praises Lively. In turn,
 Lively expresses her regard and appreciation for Baldoni while acknowledging she could be
 “difficult and critical of others.”




 May 23, 2023: Shoot Day #7 - Baldoni, during a scene in which the cast is wearing loose-fitting
 onesies, attempts to give Lively directorial feedback regarding wardrobe and encourages her to
 remove her coat to reveal her onesie to match the rest of the cast, who were also dressed in
 onesies. In Lively’s Complaint, she alleges that Baldoni used the word “sexy” in a tone that
 made her feel “ogled and exposed.” However, Baldoni, as the director, noted that the look would
 be “sexy,” referencing the wardrobe for the scene and not Lively personally. (Lively had
 previously mentioned (verbally and in texts) that she wanted her wardrobe to be “sexy”). His
 statements were immediately followed by a gesture indicating that Lively had something in her
 teeth and a request for someone on set to get her a toothpick. This exchange, all of which was


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 captured on camera, was bookended by Baldoni’s immediate recognition that Lively appeared
 offended; Baldoni offered multiple apologies to Lively moments later, despite the fact that he
 was merely doing his job.

                                     Shoot Day#7 - Call Sheet




 May 23, 2023: Later that day during this action sequence, Lively and Baldoni’s characters
 would kiss, which is all caught on camera. Lively’s Complaint later accused Baldoni of
 “discreetly bit[ing] and suck[ing] on Ms. Lively’s lower lip during a scene in which he
 improvised numerous kisses on each take.” As shown in the below script pages, the kissing was
 not improvised.




 May 23, 2023: During lunch, as part of a continued creative discussion that Baldoni and Lively
 were having about the hospital birthing scene, Baldoni asked Heath to show Lively his wife’s
 post-home-birth video, stating to Heath that Lively had not seen one and was presumably
 interested in watching. Baldoni himself had seen the video prior and felt it was demonstrative of
 the spirit of his vision for the birthing scene. Heath agreed to share this deeply personal video
 and approached Lively with the video in hand. He proceeded to show her one second of it before


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 Lively asked if Heath had permission to share the video, to which Heath confirmed that he did.
 Lively stated she would like to see the video but asked to watch it after finishing her lunch.
 Heath did not press the matter and moved on. (NOTE: Lively never did see the video beyond the
 one-second clip shown to her).

 The video in question showed Heath and his wife cradling their newborn daughter post-birth.
 Notably, his wife was not in labor in the video. In fact, the video begins with the cries of the
 baby while she is resting on her mother’s chest (a still image of this moment is included below).
 Heath’s wife remains covered with a towel for the duration of the video, submerged in water and
 holding her newborn. This entire interaction between Heath and Lively lasted less than 30
 seconds. Lively later likened this one-second clip to pornography and stated that Heath showed
 her a “video of a fully nude woman with her legs spread apart.” The attempt to transform this
 benign event into an act of sexual misconduct is intentionally offensive, and to characterize a
 photo with a newborn baby as pornography is perverse.




 May 23, 2023: That evening, Baldoni and Lively’s characters Filmed a “Romance Montage,”
 slow-dancing at a bar, “Completely in their own world.”

 The complete footage of this scene was released to the general public on January 21, 2025 in
 direct response to the public lies Lively shamelessly presented in her Complaint. The video
 directly contradicts Lively’s depiction of Baldoni’s behavior. The footage shows Lively and
 Baldoni in character—acting with their bodies—while simultaneously engaging in a personal
 conversation about their respective marriages, all while continuing to perform their roles as a
 couple deeply in love. A script excerpt is included below.




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 May 25, 2023: Lively learns that crew members had called out sick with COVID and, as a result,
 requests that testing be conducted on set. “Despite the return-to-work agreement expiring [which
 laid out COVID protocols on set], there [was] still a remaining SAG protocol that if an actor
 requests those working in extremely close proximity to him/her be tested, [they] must do so.”
 Production complied and informed crew members in close proximity to the cast that they should
 report for testing the following morning. Contrary to Lively’s Complaint, which states that
 Wayfarer failed to implement COVID protocols on set, production was under no obligation to
 conduct regular testing unless specifically requested by an actor—which they did. The email
 below shows one of the Film's Executive Producers notifying the crew of the following day’s
 mandatory testing.




 May 25, 2023: Later that evening, Lively informed production that she had become ill.
 Production offered to send someone to her house to test her and her family, but she declined.
 Lively did not return to production until June 1, 2023. Contrary to Lively’s Complaint, which
 stated that production “deliberately withheld” COVID cases from her, production was not
 obligated to inform Lively, nor were they aware of any crew members in her close proximity
 who had tested positive.




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 May 26, 2023: Baldoni texts Lively to let her know he is “committed to making things run
 smoother across the board.”




 May 29, 2023: Wayfarer was made aware that Lively had placed a call to the Film’s Sony
 executive to share a few grievances.

    1. Baldoni’s “sexy” comment about the wardrobe of her character Lily, which, as previously
       contextualized, was benign and mischaracterized by Lively, who took the comment
       personally. [Video documentation clearly shows the comment was made in a non-
       provocative tone by a director to his actress and was not as Lively described].
    2. Heath showed her a post-home birth video.
    3. Lively shared her grievances about the 1st AD suggested that she be replaced. (She and
       the 2nd AD, who is also a woman, were shortly thereafter let go).

 Baldoni and Heath were told that, during the call, the Sony executive asked Lively if she wanted
 to take any formal action regarding her remarks. Lively responded that she was not interested in
 pursuing anything formally. Following the conversation, the Sony executive informed Baldoni
 and Heath of Lively’s narrative, both of whom were stunned by the framing of the events.

 In her later CRD Complaint, filed more than a year and a half later, Lively distorted the nature of
 this call, claiming she had contacted the Sony executive specifically to file an HR Complaint and
 was told Sony was powerless to act. This account is highly dubious, as Lively’s pattern of
 successfully getting her demands met makes it difficult to believe she would have been
 dissuaded so easily from pursuing formal action if that had been her true intent. Moreover, Sony


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 immediately informed Wayfarer, stated that the complaints were not sexual in nature, that Lively
 did not want to file a formal complaint, and that she simply wanted to bring it their attention so
 that they would be more mindful going forward. Certainly, had she filed a complaint Wayfarer
 would have formally addressed any issues.

 May 30, 2023: Baldoni, reflecting on his conversation with Sony Executive #1 on May 29, 2023,
 regarding Lively’s framing of the “sexy” comment and “birth video”, decides to draft a note for
 Lively in an effort to rebuild rapport and clear the air. However, Baldoni also sensed that Lively
 was intentionally manipulating the facts. Despite this, Baldoni asks Producer #1 to pass along the
 following note to Lively.




 June 1, 2023: Upon returning to production, Lively requested a meeting with Baldoni and the
 Film’s producers, during which she shared a series of grievances that she appeared to have spent
 the past five days overanalyzing. From the outset, it was clear that she had scrutinized every
 minor interaction and perceived slight from the previous week.

 In the meeting, Lively revisited the “sexy” comment—an issue Baldoni had already apologized
 for twice: first, minutes after the incident on May 23, 2023, and again later. Lively herself had
 previously acknowledged and seemingly accepted the apology. Despite this, Baldoni apologized
 a third time in an effort to move forward. Additionally, she accused Heath of looking at her on
 May 16, 2023, when she had specifically asked him to turn his back during a conversation in her
 makeup trailer. Heath explained that he hadn’t realized he had looked at her but apologized
 nonetheless. Lively acknowledged, “I know you weren’t trying to cop a look.”



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 Lively further claimed that Heath had shown her a video of his wife’s home birth and thought it
 was pornographic. Heath, shocked by this characterization, confirmed that she did, in fact,
 understand that it was a video of a post-birth recording of his wife and newborn daughter. He
 also explained that Baldoni had asked him to show the clip to Lively as part of a creative
 discussion, and that Lively actually had not seen the video. Despite the explanation, Heath
 apologized once more.

 The meeting underscored the escalating tensions, with Lively using the opportunity to air
 grievances over interactions that the team had believed were already resolved.




 IMPORTANT NOTE: Neither during this meeting nor at any other point during production did
 Lively bring up any of the more serious allegations that she would later include in her
 Complaint. We’ve included the facts of the matter above for the sake of timeline while fully
 believing that these allegations were only added to Lively’s Complaint to bolster her claim and
 not as a reflection of the truth.

 June 2, 2023: After sharing her thoughts during the meeting on June 1, 2023, Lively was still
 comfortable inviting Baldoni into her trailer to rehearse their lines together while she pumped.




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 June 3, 2023: After facing pressure from Sony and one of the Film’s producers, who believed
 Lively was no longer responding favorably to the First Assistant Director, Baldoni and Heath
 made the difficult decision to dismiss the 1st AD, despite feeling she was being unfairly
 scapegoated. In their text exchanges, both expressed discomfort with the decision.

 This move created turmoil on set, as the 1st AD played a pivotal role in production, making her
 replacement a significant challenge. Nonetheless, they ultimately conceded to Lively and Sony’s
 request to replace her.




 June 3, 2023: Heath informed the 1st AD that she would be replaced. Meanwhile, Lively
 prepared to Film an emotionally intense scene in which her character, alone in a bathroom,
 reflects on the abuse she endured from her fictional husband. A closed-set protocol was
 implemented that day, restricting visitors without prior approval to ensure privacy and focus.
 Lively, who had rewritten the scene herself, was deeply attuned to its intimate and emotional
 nature and played a significant role in directing the action. Notably, Baldoni’s character was not
 involved in this scene.




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 June 5, 2023: WGA picketers arrived on Day #13 of the shoot, forcing production to act quickly
 to keep filming on schedule. In response, producers devised a solution to shoot on a boat, far
 from the sound of the picketers' horns. The team “spoke to a boat owner and worked out a deal to
 shoot on a boat. After rehearsing a scene to shoot there, along with a romance montage moment,
 [they] were about to have the boat leave the dock and then picketers arrived. At that point
 [Lively] wouldn’t cross the picket line, so we called lunch.” Despite being obligated by her
 union to continue shooting, Lively refused to do so. According to the SAG-AFTRA website
 (https://www.sagaftra.org), “SAG-AFTRA has a no-strike clause in our Codified Basic
 Agreement, at Section 3, that states: ‘The Union agrees that, during the effective term hereof, it
 will not call or engage in a strike affecting motion picture production against any Producer
 signatory hereto.’”




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 June 5, 2023: Baldoni, still feeling terrible about letting the 1st AD go, shared that he wanted to
 reach out. Below is the text exchange between Baldoni and Heath.




 June 9, 2023: Lively and Baldoni still remained cordial and kind over text.




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 June 10, 2023: Recognizing that it had been a tough week with multiple production shutdowns
 due to picketers and an extra shoot day added on Saturday to make up for lost time, Baldoni sent
 a text to Lively stating, “I just want to thank you for giving this week 110%. I know how hard it
 must be shooting and also have your partner gone and feeling exhausted.” Lively replied, “I
 appreciate your empathy and give it in return, you’re in the same boat.”




 June 13, 2023: Lively asks Baldoni for access to the “dailies” via text message.




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 June 14, 2023: Baldoni shares with his production team Lively’s unorthodox request to see the
 dailies. Concerned about Lively's tendency to overstep and take control, Baldoni consulted his
 producing team on how best to respond. The team unanimously advised against granting her
 access, fearing she might “start to edit the movie and dictate which takes to use”—a concern that
 ultimately proved accurate. However, as a gesture of goodwill, Baldoni chose to compromise by
 sending her a curated five-hour playlist instead.




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 June 14, 2023: Due to the ongoing WGA picketing, Baldoni, Heath, and Wayfarer made the
 difficult decision to shut down production until the strike was resolved.




 June 15, 2023: Production on the Film was temporarily halted on June 14, 2023, due to WGA
 picketing. The next day, June 15, 2023, production was notified that the WGA had agreed not to
 picket their set, allowing filming to continue. Production attempted to reach out to Lively to stay
 until the 23rd as originally planned, but she had already made arrangements to join her husband
 in London and refused to return. In total, Lively shot for 16 days during Phase 1 of production.

 Below is an email from It Ends With Us production attorney notifying Lively’s lawyer that,
 despite Lively’s unavailability, production had not shut down and further inquired about the
 status of the still unsigned Certificate of Engagement (the preliminary contract required before
 commencing work). This email was sent on June 21st.



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 June 16, 2023: Wayfarer undertook a significant and costly effort to rework the shooting
 schedule, prioritizing scenes featuring the younger versions of the characters (who had not shot
 any scenes thus far) over those requiring Lively. This was no small task, as it involved relocating
 to different locations, securing revised shooting permits on short notice, and coordinating
 adjustments to travel plans and accommodations for cast and crew. The logistical challenges
 were immense, but the team worked tirelessly to maintain the Film's momentum and ensure a
 smooth transition.

 June 22, 2023: Alex Neustaedter (Young Atlas) participated in an on-set electronic press kit
 (EPK) interview designed for the Film's promotional campaign. Below are the questions and the
 producer’s responses, highlighting his experiences on set and his thoughts on working with
 Baldoni.




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 June 22, 2023: Isabela Ferrer (Young Lily) participated in an on-set EPK interview designed for
 use in the Film's promotional campaign. Below are the questions and Isabela's responses,
 focusing on her experiences on set and her thoughts on working with Baldoni.




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 IMPORTANT NOTE: Isabela and Alex Neustaedter shared these sentiments regarding their
 working experience with Baldoni prior to spending time with Lively during the promotional tour
 of the Film.

 June 22, 2023: Brandon Sklenar participated in an on-set EPK interview designed for use in the
 Film's promotional campaign. Below are the questions and Brandon's responses, focusing on his
 experiences on set and his thoughts on working with Baldoni.




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 NOTE: Not all cast members participated in EPK interview

 June 26, 2023: Lively checks in from London to send well wishes and request access to select
 scenes that Baldoni had prepared. The two co-stars remain in open communication.




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 June 27, 2023: Final day of shooting Phase 1. Production will go on hiatus until the WGA and
 SAG strike is resolved.




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 July 11, 2023: Isabela Ferrer reaches out to Baldoni two weeks after production had wrapped to
 share her gratitude for the experience and “kind words about Baldoni,” and specifically thanking
 Baldoni for “creating such a comfortable, safe space”. Baldoni reciprocates the compliments.




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 July 19, 2023: Lively again reaches out to check in with Baldoni during the SAG strike to
 inquire about Baldoni’s assembly cut and to request access to the dailies for a second time (her
 first request was on June 13, 2023. Baldoni, feeling it was “too early” to share, promises to send
 her cuts as soon as he is ready. Lively reluctantly paid nominal lip service to the notion that
 Baldoni, the Film’s director, was entitled to the time and space needed for his directorial cut but
 continued to push. Baldoni did not assent to this request and said he was “excited to show [her]
 when [the] time is right.”




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 August 25, 2023: As promised, Baldoni reaches back out to Lively and shares with her his
 “favorite scenes,” expressing his excitement to show her more in person when they resume
 production. A day later, Lively disregards the note about the Film and instead thanks him for the
 Matcha machine.




 October 17, 2023: Lively’s agent and manager reach out to Heath, requesting that Baldoni fly to
 New York to show Lively the assembly cut of the Film. Heath responds that Baldoni is not
 available to travel at that time but looks forward to showing her the rough cut when they resume
 production shortly.




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 November 8, 2023: In anticipation of the SAG strike ending soon, Heath reaches out to Lively’s
 representative to share her shooting schedule, which was set to resume on November 15th.




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 November 9, 2023: Heath reaches out to Lively’s lawyer about “getting aligned,” informing her
 that production was on the ground in New Jersey and eager to get started.




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 November 9, 2023: On the very day the SAG-AFTRA strike ended, Baldoni, the studio, and the
 producers were eager to resume production. However, their plans were disrupted by an
 unexpected email from Lively’s lawyer. The email contained a 17-point list of non-negotiable
 conditions that Lively demanded be met before her return to work. The list, both in tone and
 content, appeared to insinuate—or outright allege—that Baldoni, Heath, and others had engaged
 in sexually inappropriate conduct during filming. These claims were entirely unfounded and a
 deliberate attempt to insinuate improper conduct by Baldoni and Heath, forcing them to sign as-
 is without objection if Lively was to resume filming.




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 November 10, 2023: Heath contacted Sony to gather their perspective on the 17-point list of
 return-to-work conditions, aiming to ensure that any feedback or concerns from their team were
 also addressed. Sony’s counsel shared their point of view, as outlined in the email below.




 November 10, 2023: A Producer emails Heath and other members of production to notify them
 that Lively would be available starting December 5th. They also share that Lively would like to
 see new script pages and a one-liner. These demands, presented separately as the lawyers were
 discussing the 17-point list, had nothing to do with “safety” and appeared to be another condition
 before Lively would return to production. They were further addressed in an email between
 Wayfarer’s attorney and Lively’s attorney the following day.




 November 11, 2023: Production counsel responds, seeking clarification and stating, “Wayfarer,
 Sony, and Production respectfully acknowledge that your client has concerns regarding safety,
 professionalism, and workplace culture. Although our perspective differs in many aspects,
 ensuring a safe environment for all involved is paramount, irrespective of differing viewpoints.”




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 November 11, 2023: While working through Lively’s protection letter for her return to work,
 Wayfarer counsel, seeking to keep the production on track, reaches out to Lively’s lawyer, agent,
 and manager to send over the requested production materials—a one-liner, schedule, new script
 pages, etc. Additionally, Wayfarer counsel sought to coordinate a time for Lively to view the
 rough cut (as promised), all in an effort to maintain production progress.




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 November 13, 2023: After some back and forth with Lively’s counsel, the Lively camp’s
 response made it clear that the list was not open for negotiation.




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 November 15, 2023: In light of learning that Lively would not be available for a November
 shoot, production reworked the schedule to begin in December instead. Heath shared the
 director's notes, the updated schedule, and notes regarding the rough cut with Lively’s agent.




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 November 20, 2023: A Sony executive notifies Wayfarer that Lively has approved the A-list
 producer and introduces him to Baldoni and Heath.




 November 22, 2023: Despite working around the clock to meet the December 11th shoot date,
 Lively was ultimately unavailable, and production was once again rescheduled to start in
 January. The production office was notified, shut down, and set to resume in mid-January.




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 December 27, 2023: Baldoni emailed his team of producers with notes on his revised script,
 expressing sadness and frustration over Lively’s takeover of a Film they had spent years
 developing, writing, and funding. Having no energy left to fight, he reluctantly declared he
 “[was] waiving the white flag and submitting” and would give Lively “98% of what she wants.”
 He also conveyed serious concern over handling the intimacy scenes, given the accusations
 inherent in Lively’s Return to Production Demands. Baldoni asked his producing partners for
 guidance, stating he was rightfully afraid that “something innocuous or not to [Lively’s]
 standards would very likely be used against [him] (as it already had),” adding that “creativity is
 impossible in an environment shrouded by fear.” A producer responded, thanking him for his
 “thoughtful breakdown,... especially considering the circumstances.”




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 December 28, 2023: Lively emails Baldoni to request a meeting at her apartment with him and
 the team ahead of the start of production on January 4, 2023.




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 January 4, 2024: Baldoni, Heath, a Sony executive, a producer, the “A-list producer,” and the
 Film’s 1st AD met at Lively and Reynolds’ New York apartment ahead of the scheduled
 production restart on January 4, 2024. The team arrived prepared, with production binders in
 hand, eager to kick off the next phase of filming. However, Lively had different intentions for
 the meeting. She began by reading from notes on her phone, outlining a series of alleged
 infractions from Phase 1. Reynolds then berated Baldoni, demanding Baldoni apologize to
 Lively for actions that had either never occurred or had been grossly mischaracterized. Baldoni
 resisted apologizing for things he had not done, which further enraged Reynolds. Everyone,
 including the new producer Lively had requested to join the production and the Sony
 representative, left the meeting in shock. The new A-list producer remarked that, in their 40-year
 career, they had never seen anyone spoken to in such a manner during a meeting. Later, the Sony
 representative shared that they often reflected on the meeting and regretted not intervening to
 stop Reynolds’ tirade against Baldoni.

 IMPORTANT NOTE: Though Lively’s CRD Complaint misleadingly suggests that the parties
 agreed to a list of 30 items during this meeting, many of the items listed in her Complaint were
 entirely new, baseless, and never presented or discussed. The only document ever shared with
 the parties was the 17-point Return to Production Demands, which had been introduced on
 November 9, 2023.



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 January 5, 2024: From January 5 to February 9, 2024, as Lively admits, filming concluded
 without any further grievances from Lively or references to previous disputes: “The parties
 agreed to implement and follow the Protections for Return to Production to ensure that the Film
 could be completed, marketed, and released safely and successfully. And it was. Production of
 the Film resumed on January 5, and concluded on February 9, 2024. The Film has been a
 resounding success.”

 February 22, 2024: Baldoni starts his first day back in the edit bay with his two editors.

 February 24, 2024: Heath and Baldoni are informed of Lively's request, made through the “A-
 list producer,” to join Baldoni in the editing bay. She also expressed that she had limited time
 before leaving to shoot her next Film in April. If she could not be involved in the edit with
 Baldoni, she could not promise to promote the Film. In doing so, Lively knowingly infringed on
 Baldoni’s DGA-protected editing time.

 February 25, 2024: Baldoni sends a group text to Lively and the “A-list producer” to inform her
 that he still needs a couple of weeks to get the Film into a presentable shape. He proposes having
 Lively join the editing process during the week of March 18, 2024. Lively responds that she
 would like to be in the “passenger seat” with him and wants to get started as soon as possible.

 February 25, 2024: Baldoni sends a text to his editors to inform them of the situation.




 February 26, 2024: Baldoni responds to Lively’s request to be in the “passenger seat.” Despite
 her infringement of his DGA-protected time, and met with Lively’s threats, Baldoni let her know
 that he will reach out at the end of the week to update her on the progress, still attempting to be
 encouraging in order to keep her happy.




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 February 28, 2024: Baldoni and Heath connect with a senior Sony marketing executive to
 determine the best path forward with Lively regarding her desire to be involved in the edit and
 how they can all stay aligned. After the call, the Sony executive expresses to Baldoni, “We are
 all in it with you – at the end of this pain is a BIG WIN!!!”




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 March 8, 2024: Baldoni and Wayfarer enlist Screen Engine to recruit a 100-person group (90%
 female) to watch the current cut and provide feedback. Baldoni uses these results to further refine
 his director’s cut. He shares the results and scorecards with Lively ahead of their planned
 collaboration in the edit. Note: This is not an “official” audience test screening.

 March 9, 2024: Baldoni shares the assembly cut of the Film with Lively and informs her about
 the mini-audience test screening.




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 March 11, 2024: Baldoni texts with his editors.




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 March 11, 2024: Lively watches the WIP assembly cut and informs Baldoni and the “A-list
 producer” via text that she will not be joining the edit today but will instead join the following
 day.




 March 12, 2024: Lively joins the edit with Baldoni and his editors. She shares seven pages of
 notes, which Baldoni and the editors spend hours implementing, despite Baldoni not agreeing
 with all of them.

 March 13, 2024: Despite sharing seven pages of notes and requiring Baldoni and the editors
 incorporate them, Lively did not show up for Day #2 in the edit with Baldoni. Heath checks in
 with Baldoni via text, and Baldoni shares the following.




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 March 15, 2024: Baldoni, keeping in mind Lively’s threat to not promote the Film continues to
 encourage Lively to share thoughts with him and the editors while keeping her updated on
 progress all in an effort to keep her happy. In the text he also shares a comprehensive working
 update of the Film based on the notes Lively provided.




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 April 3, 2024: Sony informs Wayfarer that Lively has escalated her demands, now requesting
 solo time in the editing suite with her own editor—a shocking and unprecedented overreach. To


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 make matters worse, Wayfarer is told that Lively has made it clear that she will not promote the
 Film unless this demand is met, knowing the failure of the lead actress to promote the Film
 would be detrimental. This maneuver felt less like a professional request and more like extortion,
 holding the Film’s marketing efforts hostage to gain creative control. Wayfarer is left with no
 choice but to agree.

 The gravity of allowing her access to the edit—a process typically reserved for the director and
 post-production team—is not lost on Wayfarer. It undermines the creative integrity of the project
 and sets a troubling precedent, all while amplifying tensions between Lively and the team.


 April 4, 2024: The A-list producer reaches out to Lively and Baldoni in a group text to request
 that the three of them jump on a call to discuss "time sensitive things." Lively is not available
 this week to speak with Baldoni and the A-list producer and ultimately did not speak to Baldoni
 directly about her demands.




 April 4, 2024: Faced with yet another unprecedented demand from Lively—to edit the Film on
 her own with her own editor—Wayfarer finds itself with no choice but to assent (yet again).
 Wayfarer is forced to balance the need to keep the production on track with managing Lively's
 increasingly audacious requests. Wayfarer reluctantly agrees to grant Lively 10 days in the
 editing room with her personal editor, with the understanding that her ideas will ultimately be
 incorporated into Baldoni’s director’s cut. This concession reflects Wayfarer’s continued effort
 to maintain progress while navigating an exceptionally challenging situation. With each “ask,”
 Lively makes it plainly known that if she is not given what she wants, she will not promote the
 Film at all.

 April 17, 2024: Sony marketing and Baldoni coordinate efforts to have Baldoni attend Book
 Bonanza and show audiences a surprise early screening of the Film.




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 April 18, 2024: In a group text involving an A-list producer, a Sony executive, Baldoni, and
 Heath, the team discusses the possibility of sending Baldoni’s editor to New York (since
 Lively’s preferred editor was not available). Heath emphasizes the importance of clarifying that,
 while Baldoni had agreed to allow her into the editing process, it should not, under any
 circumstances, be interpreted as his endorsement of the idea. Baldoni’s agreement was purely a
 concession to move forward, not a reflection of his confidence in or approval of the decision.




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 April 18, 2024: Below are texts between Baldoni and his editors discussing whether to have one
 editor fly to New York and work with Lively in person or remotely. Ultimately, it is decided to
 fly the editor out, as the editor stated, “I want Blake to feel like she’s getting what she wants so
 we can move on from this need of hers.”




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 April 22-May 1, 2024: Lively and the editor work on her cut of the Film at Wayfarer and Sony’s
 expense. In the meantime, Baldoni continues cutting his version of the Film, all the while
 believing that he will have the opportunity to consider incorporating Lively’s edits at a later date.




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 April 23, 2024: Jamey Heath learns that Lively asked Sony to bring other creative collaborators
 into the cutting room with her. In response, a Sony executive relayed a firm message to Lively,
 stating, “This is a Wayfarer movie. Wayfarer has Final Cut and runs the process.” Sony is an
 investor and distributor. The Sony executive hoped to reiterate that Lively needed Wayfarer’s
 approval for any such involvement, reinforcing the boundaries of her creative role.




 April 24, 2024: On the same day, a Sony executive informs Heath that Sony is holding firm in
 refusing Lively’s request to bring others into the cutting room. Heath conveys Baldoni’s growing
 frustration, noting that while Sony appeared to bend over backward to accommodate Lively’s
 demands, they do not extend the same courtesy to him as the director. In response, the Sony
 executive acknowledged the imbalance and admitted that this was not a situation anyone at Sony


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 had anticipated or wanted to be in, underscoring the complexity and strain of managing the
 escalating tensions.




 April 29, 2024: Heath and Wayfarer, eager to get the Film back from Lively, ask the A-list
 producer to make it clear to Lively’s agent that Wednesday, May 1st, would be her last day in the
 edit.




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 April 30, 2024: Still unsatisfied, Lively demands another extension of her time in the cutting
 room, pushing the deadline from May 1st to May 8th. Adding to the audacity, Lively insists that
 Sony and Wayfarer hire her personal editor—someone she had worked with previously, most
 notably on projects with Reynolds. Faced with this escalating situation, Wayfarer considers
 granting the extension but attaches a significant condition: Lively would need to sign her long-
 overdue acting agreement. This document, which had been left unsigned for over a year, would
 prevent Lively from continuing to leverage her promotional participation as a bargaining tool.
 Wayfarer’s attorneys had been tirelessly trying to secure her signature, and this moment
 represented a pivotal opportunity to resolve the standoff.

 Heath clearly communicates Wayfarer’s position in an email to Lively’s representative, hoping
 to bring an end to the ongoing impasse while protecting the integrity of the production.




 April 30, 2024: Heath is informed that Lively had told Sony Marketing that she would refuse to
 approve trailers, TV spots, and digital marketing assets if Baldoni's acting credit appeared
 alongside hers. Sony Marketing, citing Lively's contractual approval rights over her image and
 likeness in promotional materials, warns Heath that she could effectively block the release of
 almost every piece of promotional content featuring her face or name—essentially all of it. Faced
 with this leverage, Baldoni and Wayfarer reluctantly agree to remove his name from the “before
 or above title” credit in trailers and related marketing cutdowns. This concession is yet another
 clear example of Lively’s ongoing effort to diminish Baldoni's presence and influence on the
 project. There is no creative or professional justification for his name to be excluded; it is purely
 a result of her demands. The situation escalates further when, on June 18, 2024, Sony requests
 that Baldoni’s “Film by” credit be removed from the Film’s poster—a move that reinforces
 Lively’s wholesale erasure of his contributions, as a request of this nature would have no
 meaning to Sony; it is clearly instigated by Lively.




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 May 2, 2024: While Lively is holding the Film hostage in the edit room, she is simultaneously
 stalling the Film’s marketing by refusing to approve key materials, including the trailer release.
 With less than three months until the Film's premiere, Sony becomes increasingly alarmed about
 the delayed rollout of the trailer, a cornerstone of the promotional campaign. In a text exchange
 between Heath, a Sony Film executive, and a Sony marketing executive—who had just spoken
 with Lively—they inform Heath of Lively’s still escalating demands: Lively will not approve the
 trailer release unless she is granted more time in the edit room with her personal editor. Adding
 to the pressure, Lively made a veiled threat, implying she might “change her mind” about
 reaching out to Taylor Swift to secure the use of “My Tears Ricochet” for the trailer if her
 demands are not met.

 When Heath stands firm and refuses to acquiesce, the Sony marketing executive delivers a sharp
 and pointed warning: “You don’t want to play ball—you are going to delay and greatly hurt the
 movie. Good luck.” This stark response signals that Sony, too, was beginning to apply pressure
 on Wayfarer, effectively strong-arming them into compliance. The message makes it clear that
 the studio is growing increasingly frustrated with the situation and is prepared to hold Wayfarer
 accountable for any negative fallout, adding yet another layer of tension to an already fraught
 dynamic.




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 May 3, 2024: Faced with Lively’s escalating threats—ranging from potentially delaying the
 Film’s release to outright refusing to promote it—Wayfarer, once again, reluctantly conceded to
 her demands, allowing her to continue editing with her personal editor. Further, they withdrew
 their reasonable request for Lively to sign her long-overdue contract, opting instead to focus on
 maintaining forward momentum. Wayfarer’s only request was that Lively provide updates by the
 end of the day on May 8, 2024, allowing the director sufficient time to review and incorporate
 her edits into his cut. Despite the mounting tensions, Baldoni, Wayfarer, and Sony held on to the
 belief that Lively’s contributions would ultimately be integrated into Baldoni’s vision for the
 Film, preserving the integrity of the final product.




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 May 6, 2024: Baldoni and Colleen Hoover host a trailer launch event at the Sony Studio lot and
 shoot promotional content in support of the Film.




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 May 10, 2024: On the final day on which she is approved to edit the Film, Lively refuses to turn
 over her cut to the Film’s director and instead tells Sony that she wants to do a “friends and
 family” screening of her cut to gather feedback and continue working on her edit. This was of
 course at Wayfarer and Sony’s expense and not accounted for in the budget.

 May 13, 2024: Sony and Wayfarer do an official audience test screening of Baldoni’s cut in
 Aliso Viejo CA. The Film scores 94% with females under 35, the Film’s primary target
 audience. Both Sony and Wayfarer are ecstatic about this score.




 May 15, 2024: Baldoni shares the official audience test screening scores with his editors.




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 May 16, 2024: The trailer for the Film is released to the world.

 May 18, 2024: Lively hosts a “friends and family” screening of her cut in New York. She does
 not share any audience feedback with Baldoni or the studios.




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 May 20, 2024: Wayfarer is informed through Sony that Lively, emboldened by the feedback she
 received from her friends and family screening, demanded an official audience test screening of
 her version of the Film. In light of Lively’s threat to withhold promotion of the Film, as well as
 her barely veiled threat to end Baldoni’s career with a slew of false accusations, the studio
 reluctantly agreed to do an official audience test of both versions (again at Wayfarer and Sony’s
 expense). This decision was made on the understanding that Lively had agreed with Sony that, if
 Baldoni’s director’s cut tested higher, she would drop the matter and fully cooperate so that
 Baldoni could finish the Film without further interference.

 May 30, 2024: Sony and Wayfarer held an official audience test screening of Lively’s cut in
 Aliso Viejo, CA. The results revealed that Lively’s cut scored an 82% approval rating with
 females under 35—12 points lower than Baldoni’s version (94%). That same evening, a senior
 Sony marketing executive contacted Lively to discuss the scores. Instead of honoring her original
 promise, Lively rescinded it, doubling down on her refusal to promote Baldoni’s cut, regardless
 of its stronger audience performance. To make matters worse, Lively further asserted that
 Colleen Hoover would also refuse to promote the Film unless Lively’s cut was released. This
 claim was deeply disheartening, as the longstanding relationship between Colleen Hoover,
 Baldoni, and Heath had been one of mutual respect, trust, and admiration.




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 June 2, 2024: Once again, Wayfarer found itself with no choice but to allow Lively to continue
 her edit, effectively sidelined to sharing notes with Lively and her editor—without any assurance
 that those notes would even be considered. In a careful attempt to navigate the situation, Heath
 compiled Wayfarer’s collective feedback, including Baldoni’s input, and shared it with Sony,
 hoping it might be relayed to Lively.

 By this point, it had become painfully clear to Baldoni and the Wayfarer team that Lively was
 determined to assume full creative control from the director, the financier, and the studio behind
 the picture. Her campaign to marginalize Baldoni’s role in finishing the Film had proven
 devastatingly effective, leaving him and the team devastated and frustrated. Despite everything,
 Baldoni and Wayfarer remained hopeful that the Film’s release and success would make it all
 worth it and remained focused on the goal of completing a Film that could have impact.




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 June 3, 2024: Baldoni is informed that Lively would be attending Book Bonanza with Hoover
 instead of Baldoni. Jennifer Abel (Baldoni’s publicist at Jonesworks) and Baldoni share a text
 exchange disheartened at how things have unfolded.




 June 5, 2024: Baldoni’s editors inform Baldoni that they had heard from a “secret source” that
 Lively was incorporating “a bunch of [Baldoni’s] version back into the Film” ahead of the
 second official audience test screening of Lively’s cut on June 6, 2024.



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 June 6, 2024: Wayfarer and Sony pay for a second official audience test screening of Lively’s
 latest cut. Scores marginally increased across the board, scoring 83% with females under 35 (still
 11 points short of Baldoni’s cut).




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 June 6, 2024: Baldoni is hospitalized for 3 days due to a spine infection.




 June 12, 2024: Wayfarer is informed that Blake Lively told Sony that she will showing
 audiences at Book Bonanza her cut of the Film, regardless of Sony or Wayfarer’s approval. She
 later admitted on her panel at the event that the “studio begged her not to show the Film” but
 ultimately, they “didn’t have the option [to say no], as [she] brought the movie with her on the
 airplane.” A video of this comment is available at the 48:32 mark at:
 https://youtu.be/8P5POKBU7Ys.

 June 14, 2024: Lively, Colleen Hoover, Brandon Sklenar and Isabela Ferrer attend Book
 Bonanza to promote the Film’s release. Wayfarer was only made aware that Brandon and Isabela
 would be in attendance the day of event. Sony later notified Wayfarer that it was Lively who
 reached out to Brandon and Isabela and paid for their travel and lodging.




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 June 14, 2024: Baldoni shares with his editors that Lively’s cut of the Film would be shown on
 the second day of Book Bonanza.




 June 17, 2024: Lively makes the unilateral decision to bring on a new composer for the Film. As
 a result, the original award-winning composer was let go despite having already completed the
 score - which included costly orchestral arrangements. Even though Lively had absolutely no
 right to do this, neither Wayfarer nor Sony were able to challenge Lively’s decision, despite the
 significant financial implications—paying out the original composer in full and shouldering the
 steep costs of hiring a new composer so late in the process.

 June 18, 2024: Sony marketing requests that Baldoni waive his “Film By” credit on the
 secondary poster so that only Lively’s name would appear above the title. Further, despite having
 already approved a poster for the Film it was understood by Wayfarer that Lively would not


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 approve this new version in which Baldoni’s name appeared next to hers, thus requesting that
 Baldoni’s name be removed. Sony obliged and made the ask to Baldoni. Given this is a
 contractual right that Baldoni negotiated, Sony needed Baldoni to put in writing that he was
 waiving his right to “a film by” credit. For clarity there would be no reason for Baldoni to waive
 this right without Lively requiring him to do so, ultimately he acquiesced.




 June 18, 2024: On the same day that Baldoni waives his “Film by” credit, Wayfarer also
 reluctantly agrees to give Lively a producer credit on the Film. This was an ask that she took to
 Sony, despite it being a decision properly made by Wayfarer. She was originally credited only as
 an executive producer, but both Wayfarer and Sony no longer had the leverage to oppose her
 demands or the will to deal with the fallout if they were to deny the credit at that point. Wayfarer
 conceded and informed Sony, while also remarking that “they would not be advocating for her
 getting the PGA Mark as that is not applicable.” Given Lively’s contributions to the Film, it was
 collectively agreed among the producers that she had not earned the distinction of the PGA mark.




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 June 20, 2024: Shortly after granting Lively the producer credit, Heath was informed that Lively
 had reached out to Sony yet again, this time to ask that Baldoni and Heath write a letter on her
 behalf so that she may be considered to receive the PGA mark. Both Baldoni and Heath did not
 feel that her work warranted the PGA mark - a distinction highly valued and taken seriously
 within the industry. As Heath had already noted in his email on June 18, they didn’t feel it right
 to misrepresent her contributions in order for her to get a PGA mark. Heath had learned from
 Sony that Lively was extremely displeased with this response and told Sony that as a result of the
 men not submitting the letter, “any goodwill left was now gone”.

 June 20-24, 2024: Abel (Baldoni’s Publicist) emails Sony’s marketing team to inquire about a
 content shoot that Lively seemingly coordinated with Maximum Effort, Ryan Reynolds’
 production company. Sony at the time of the initial outreach by Abel was not aware of the plans
 for the shoot (which were planned for June 27-28). Later Sony attested to the fact that that Lively
 and Maximum Effort were “running the show.” Abel was understandably concerned at the optics
 of the entire cast doing a content shoot without the director and co-lead being present. This
 would later be something that the public would take notice of as well and heightened the rumors
 and negative press that Lively would take issue with.




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 June 25, 2024: While contemplating the PGA letter and fearing what Lively was capable of,
 Heath reached out to Lively via text in order to humanize the situation. It had been months since
 Lively had spoken to Baldoni or Heath directly, as she insisted at each turn that she needed an
 intermediary. This time was no different as she refused to get on a call. Heath, feeling that she
 was unwilling to even hear them out, again conceded and agreed to write the letter
 recommending Lively for a PGA mark.




 June 26, 2024: After many conversations and once again feeling trapped, Baldoni and Heath
 write a letter of recommendation to the PGA on behalf of Lively and send a copy to Lively to
 submit to the PGA. Heath simultaneously wrote a letter to his attorneys deriding the extortion by
 Lively.




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 June 28, 2024: Heath, the CEO of Wayfarer, expressed to Forbes on June 28, 2024 his high
 hopes for the Film. The article would be later released in August.




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 June 28, 2024: Lively and Reynolds’ company Maximum Effort organized a content shoot for
 the Film’s promotional campaign with the entire cast and author of the book (minus Baldoni of
 course). The content shoot included the cast making flower arrangements, baking cookies,
 playing Pictionary, collage making and other concepts developed by the Maximum Effort team
 in support of the Film’s promotion. They later posed for seemingly staged paparazzi photos
 before having dinner together.




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 July 1, 2024: By July 2024, Baldoni was completely locked out of the Film’s final cut. By virtue
 of his role at Wayfarer, he was permitted to “give notes as a studio.” Despite his personal
 feelings, he redirected his thoughts to focus on the one positive: The Film, years in the making,
 was very close to being seen by the world, even if it was no longer his Film. The Film’s original
 editors inform Baldoni that the last they heard “she was putting back a fair amount of [Baldoni’s]
 version” into the final cut.




 July 2, 2024: On a Zoom videoconference between Wayfarer and Sony Marketing, Wayfarer
 learned that Sony had been dealing with extensive notes and revisions to the marketing plan as a
 result of the content shoot. Because Sony ended up hiring Reynolds’ company, Maximum Effort,
 to produce the promotional content for the Film, the cost for the shoot significantly increased due
 to their fee being higher than what Sony had originally budgeted. (Notably, this charge was


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 despite Lively’s claim in a January 2023 text to Baldoni that Maximum Effort would “work free
 for the family, as shown below.) Despite ultimately approving this, Wayfarer was told that Sony
 was not allowed direct access to the footage (which they had paid for). This shoot included the
 cast baking cookies, floral arrangements, ironing patches on jeans, and other quirky ideas that
 completely missed the point of the movie, skirting the issue of domestic violence entirely to the
 detriment of all those involved. As noted in the email, “Sony did not have much opportunity to
 be involved” in the shoot.




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 July 10, 2024: Whilst dealing with the Baldoni’s mounting PR headaches, Baldoni’s Publicist
 Jennifer Abel was also dealing with a difficult working relationship with her employer,
 Stephanie Jones (Founder of Jonesworks PR). The tension between Jones and Abel reached a
 tipping point when Jones, whose behavior had become increasingly erratic and hostile,
 demanded Abel corroborate falsified accusations about a senior Jonesworks employee in an
 effort to drive him out. When Abel refused to go along with it, Jones responded with mockery,
 calling her a “12 year old drama queen.” As a result on July 10, 2024, Abel notified Jones of her
 decision to depart from Jonesworks and intention to start her own business. Abel offered a six-
 week transition period, with an end date of August 23, 2024, and notified her colleagues.




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 July 11, 2024: In anticipation of an in-person interview with a national publication that
 requested to follow him for a “Day in the Life” piece, Baldoni reaches out to the post-production
 house working on It Ends With Us to find a time for him to come in for a few minutes and do a
 mock coloring session. At the time, the coloring was nearly complete. This was all done in an
 effort to promote the Film and, of course, highlight Baldoni as its director. However, when
 Lively was informed of this “fake coloring session,” she was incensed and demanded that Sony
 intervene and stop the interview from happening Sony obliged which left Baldoni and team
 disturbed by Lively’s insertion into Baldoni’s own marketing and promotional efforts for the
 Film.

 July 15, 2024: Wayfarer is informed that Reynolds contacted Baldoni’s personal agent at WME.
 During the call, Reynolds escalates his attack on Baldoni’s character, calling him a “deranged
 predator.” Baldoni’s agent relays to Wayfarer that he did his best to reason with Reynolds and
 challenge the absurd claims, but Reynolds was unwilling to consider any counter-narrative.
 Reynolds reiterated that Baldoni should not attend the premiere on August 6th, stating, “no one
 wants him there.” When Baldoni’s agent shares this conversation with Baldoni and Heath, both
 are disturbed by Reynolds’ continued efforts to damage Baldoni’s reputation within the agency.

 July 17, 2024: Baldoni attends Lily Bloom’s Pop-up Shop at Westfield Century City to promote
 the Film. Following the Pop-up, Jones contacts Abel to check in. Abel shares that Baldoni is
 struggling and under immense pressure. Moreover, Baldoni is dealing with Ryan Reynolds
 "calling [Baldoni’s] agent and saying what a horrible person Justin is."




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 July 22, 2024: Lively, Reynolds and other members of the Film’s cast attend the premiere for
 Deadpool & Wolverine. At the afterparty, Wayfarer was informed that Reynolds approached a
 senior executive at WME and expressed his deep disdain for Baldoni, going as far as to suggest
 that the agency is working with a “sexual predator.”




 July 23, 2024: Sony informs Wayfarer—the studio financing the premiere and most of the
 Film—that Lively had demanded tat Baldoni, Heath, and Wayfarer refrain from attending the
 New York premiere and threatens a cast-wide boycott if they do.

 July 24, 2024: Mindful of the potential premiere boycott, and not knowing what Lively and
 Reynolds were planning to do if Baldoni and team attended, Abel emails the Wayfarer team
 requesting Lively’s November legal letter correctly assuming that Lively would try to use the


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 letter against Wayfarer. With the letter in hand Abel intends to draft context for each issue to
 ensure the team can factually refute any press leaks. Abel emphasizes a reactive strategy,
 acknowledging its drawbacks, and advises promptly countering any public claims with facts,
 third-party sources, and, if necessary, legal action: “We will just need to be prescriptive in
 immediately refuting whatever is made public with facts, third-party sourcing on background,
 and if necessary, a legal response.” Upon receiving Lively’s 17-item list, Abel clarifies that they
 are “demands, not grievances.”




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 July 24, 2024: Later that morning, at Wayfarer’s request, Abel contacts Jones for crisis PR firm
 recommendations to represent Baldoni.




 July 25, 2024: Wayfarer receives several crisis PR recommendations, including Melissa Nathan
 (“Nathan”), a veteran in the field. Abel, having previously worked with Nathan, endorses her
 based on their strong professional relationship.

 July 25, 2024: Wayfarer meets with Nathan and her firm, The Agency Group PR LLC (“TAG”).
 After the introductory call, TAG provided a document detailing their proposed scope of work.




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 July 26, 2024: Upon learning that Wayfarer was considering working with Melissa Nathan,
 Stephanie Jones, seeing her as competition began pressuring Abel to intervene and tell Wayfarer
 that she was “shady”. Abel refused to do so which only made Jones more irritated.




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 July 26, 2024: After extensive consultation and frustration over Reynolds’ and Lively’s ongoing
 threats, Baldoni and Heath inform Sony that Wayfarer will attend its own premiere. Given
 Lively’s heavy promotion of the Film, the likelihood of her boycotting seemed low, and her
 leverage appeared to be weakening as the event neared (or so they thought). However, Baldoni
 remained deeply anxious, fearing potential retaliation from Lively and Reynolds simply for
 attending his own premiere.


 That same day, an article surfaced about another director facing allegations of inappropriate on-
 set behavior. Baldoni forwarded the link to Abel, adding his own remarks: “This is the shit I’m
 sure they want to do—unnamed sources, etc.”




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 July 26, 2024: Amid the turmoil surrounding Baldoni, and over two weeks after submitting her
 resignation, Abel emailed Jones to express gratitude and assure her of no “ill will.” However, she
 remained resolute in her decision to leave Jonesworks.




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 July 30, 2024: Sony and senior marketing executives inform Heath and Abel that Lively has
 demanded Baldoni conduct his junket interviews on a different day than hers, further ostracizing
 Baldoni. Abel pushes back, arguing that this would signal to the press that something was wrong.
 Ultimately, Abel is able to find a compromise and they agree Baldoni would conduct his
 interviews separately from the rest of the cast at a different hotel but on the same day.

 July 31, 2024: Social media "detectives" begin to notice Baldoni's absence from the promotional
 content being posted online.




 August 2, 2024: Recognizing the extreme measures Lively and Reynolds were taking to
 undermine Baldoni—excluding him from the premiere and press tour, spreading negative rumors
 within his agency, isolating him from cast events and promotions, and engaging in strongarm
 tactics to take control of the Film—Baldoni and Heath decide to retain Nathan and TAG. Baldoni
 and Heath did so after Abel learned from Nathan that a negative story was being circulated
 among media contacts, labeling Baldoni's religion as a "cult" and accusing him of "fat-shaming"
 Lively. In response, TAG prepared a 'scenario planning document' with rapid response strategies,
 key messaging, and other, standard crisis PR deliverables. Feeling uneasy, Baldoni texts Abel for
 reassurance. She responds, in part: “TRUTH is your defense.”




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 In her CRD Complaint, Lively cherry picks text messages between Abel and Nathan, stripping
 their exchange of critical context:




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 August 3, 2024: Social media chatter begins to intensify, with users questioning, “Why is Justin
 not in any of the promos?”




 August 4, 2024: Abel and Nathan commiserate about the situation, with Abel jokingly
 suggesting they plant negative pieces about Lively. While Nathan understands Abel’s comments
 are lighthearted, she responds seriously, advising they wait to see how the next few days unfold
 and stay vigilant. Nathan also notes being aware of a story from Lively's camp intended to hurt
 Baldoni's reputation. Both agree to stay alert and avoid taking any hasty actions.




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 August 5, 2024: Baldoni's first full day of press began before 6:00 AM. Later that morning, he
 shared a link with Abel to an article on celebrity “bullying” that had appeared on his Twitter
 feed. Given the circumstance that Baldoni had found himself in, the article's timing resonated
 with him as he was understandably feeling bullied, so he took a screenshot and sent it to Abel.




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 August 5, 2024: That evening, unbeknownst to Baldoni and Wayfarer, Lively and the rest of the
 cast attend a META screening of the Film at The Roxy Hotel. The event includes a Q&A session
 with Colleen Hoover and the cast—with everyone except Baldoni. This exclusion further
 highlights Baldoni’s deliberate sidelining. Fans and journalists quickly notice the absence of the
 Film’s director and co-lead, sparking online chatter and fueling rumors about tensions behind the
 scenes. The incident underscores the growing divide and continuing efforts to exclude Baldoni
 from the Film’s promotion.




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 August 6, 2024: At the premiere of the Film in New York, Baldoni is instructed to walk the
 carpet separately from the rest of the cast. However, he is quickly ushered off the press line when
 it is announced that Lively is on her way. Once inside the theater lobby, security escorts Baldoni
 and his family to the basement to prevent a potential encounter with Lively and the cast. They
 are then taken to a basement stockroom for holding while Lively, Reynolds, and the rest of the
 cast walk the pink carpet. After the lobby clears, Baldoni, Heath, and their friends and family are
 ushered to a small theater at the end of the hallway for a separate screening.




 August 7, 2024: Articles about a potential cast feud began circulating online, and social media
 chatter intensifies. Audiences take notice that the cast had "unfollowed" Baldoni, and fans
 observe that he was absent from any promotions. This confirms Baldoni’s team and Sony’s long-
 standing concerns: the situation was overshadowing the Film. Baldoni and Wayfarer feared it
 would also undermine the Film’s message.




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 August 7, 2024: Nathan texts Abel, “this is the time to make a decision on social planning….
 Would rather be in the front [than] in the back—and it costs way more in the back.” Abel
 responds, “Do you think we need it?” Abel remains unconvinced that any changes are necessary.
 Nathan and Abel continue to do the work outlined in the TAG scope of services which at this
 stage involved Monitoring coverage and social conversations, correcting and updating stories &
 headlines in real time.




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 August 8, 2024: Online chatter escalates, and "cast tensions" become the headline across major
 publications.




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 August 8, 2024: At 10:11 a.m. (PST), Nathan and Lively’s publicist, Leslie Sloane (“Sloane”),
 reach an agreement whereby neither will communicate directly with a reporter prior to informing
 the other. Nathan states, “I am not doing one thing without speaking to you,” to which Sloane
 responds, “Me either.” Just nine minutes later, Sloane breaches her agreement with Nathan by
 engaging with a reporter at the Daily Mail. Sloane actively continues her discussions with the
 Daily Mail reporter, seeding false information to cast Baldoni in a negative light. To divert
 attention from Lively's tyrannical behavior on set, Sloane attempts to portray Baldoni as the


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 antagonist, stating, “The whole cast doesn’t like Justin, nothing to [sic] do with Blake.” She
 doubles down, insisting, “I’m telling you, she’s a liar. They are panicking as the whole cast hates
 him.” Sloane also threatens the reporter, saying, “The entire cast I will have go on the record...
 this needs to hold.”

 Nathan’s texts with Sloane:




 Sloane’s texts with Daily Mail reporter:




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 August 8, 2024: That same day, Jones, attempting to reinsert herself into Baldoni and Wayfarer's
 good graces while sidelining Abel (despite both representing the same firm), contacts a Daily
 Mail reporter about a story on Baldoni and Lively. Abel, at the direction of Baldoni and
 Wayfarer, previously instructed Jones not to speak to the press due to the fragile truce with
 Lively’s team. Despite this, Jones brags to Wayfarer about “trading calls” with the Daily Mail to
 appear engaged with the account. Notably, at the time, Wayfarer and Abel were unaware that
 Sloane had breached her agreement with Nathan. Sloane and Sony later discover that “someone
 from Baldoni’s team had been communicating negatively to the media.” It was clear that Jones
 was the source, and Wayfarer’s leadership, along with Sony, were livid. All parties were
 desperate to avoid an all-out conflict between Lively and Baldoni just as the Film was about to
 be released.




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 August 8, 2024: Nathan and Abel are left to deal with the fallout from Jones inserting herself
 into the situation.




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 August 8: 2024: Crisis mitigation specialist, Jed Wallace (“Wallace”), is engaged to assess and
 monitor all online and offline concerns related to Baldoni and Wayfarer, specifically pertaining
 to information received about a developing campaign to discredit and damage Baldoni, including
 his Baháʼí faith, and Wayfarer. Given the importance of the Film to Baldoni and Wayfarer, its
 success, and the critical support it would bring to the domestic violence survivor community,
 Wallace is asked to focus on analyzing online feedback and monitoring the overall sentiment
 related to Wayfarer, Baldoni, Lively, and others working on the Film.


 August 9, 2024: Early morning, Abel receives an inquiry from the Daily Mail.




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 August 9, 2024: Heath calls Jones to clarify that, due to the sensitivity of the situation, he feels
 more comfortable with Abel leading communications rather than Jones. Heath reiterates that
 Jones should refrain from taking any action on behalf of Baldoni or Wayfarer until further notice.
 At the time, Heath was in Chicago with Baldoni and Abel, and they all agreed that Abel, with
 firsthand knowledge and the most up-to-date information, was the best person to handle
 communications. Jones does not take this well and launched into a tirade, insisting that she will
 speak to whomever she pleases, and that Wayfarer cannot stop her from "clearing her name."
 The day prior, Heath had texted Jones demanding that she not communicate with anyone on
 behalf of Wayfarer or Baldoni.

 August 9, 2024: Nathan, consistent with the pair’s agreement, sends a text message to Sloane
 containing an email she had received from a Daily Mail reporter. Unbeknownst to Nathan, this
 was the same reporter with whom Sloane had been communicating the day prior. Nathan
 confirms that she played no part in the story and tells Sloane, “I’m going to have to speak with
 him, but I’m just going to tell him nothing[.]” She adds, “Happy to chat to you beforehand if
 you’d prefer.” Sloane deliberately omits the fact that she had spoken with the reporter just 24
 hours prior, stating “Let me know how it goes.”




 August 9, 2024: During a red-carpet interview at the New York premiere, Lively stated, “The
 iconic rooftop scene, my husband actually wrote it. Nobody knows that.” This revelation
 regarding Reynolds’ purported contribution to the script raised eyebrows at Sony, who told
 Wayfarer that they “certainly need[ed] some clarity on public comments made about Ryan
 Reynolds potentially contributing writing services for the rooftop scene.”




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 *referenced in complaint*

 August 9, 2024: On the day of the domestic release of the Film, Heath shares observations with
 Sony marketing, urging them to take the topic of domestic violence (DV) more seriously as part
 of the Film’s rollout. This was a concern that Baldoni, Heath, and Wayfarer had long expressed
 to the team.




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 August 10, 2024: TAG and Abel continue to monitor online chatter about the Film.




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 August 11, 2024: Baldoni felt it was important to stay on message, as he had during the Film’s
 junket press tour from August 4–9th. Despite a purported “feud” or the focus on the Film’s box
 office success, Baldoni sought to redirect attention to domestic violence survivors. He sends a
 text to the social media team, urging them to focus their efforts on this topic.




 August 11, 2024: Heath follows up on his email to Sony from August 9, 2024, expressing his
 gratitude for the team’s efforts in making the film a box office success. He requests, however,
 that they schedule a call to discuss the Film's messaging.




 August 12, 2024: Organic articles emerged directly related to how Lively was promoting the
 Film. See, e.g., Natasha Jokic, Here’s What’s Going On With The ‘It Ends With Us’ Drama
 (Aug. 12, 2024) https://www.buzzfeed.com/natashajokic1/it-ends-with-us-blake-lively- justin-
 baldoni; Lillian Gissen, Blake Lively fans blast It Ends With Us actress over ‘tone deaf’ and




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 “shallow” interview with costars (Aug. 12, 2024),https://www.dailymail.co.uk/femail/article-
 13739569/blake-lively-tone-deaf-domestic-violence- interview.html




 August 12, 2024: WME, Abel, and Heath discuss a yet another conversation between WME and
 Reynolds. WME shares that Reynolds and Lively are furious with Wayfarer and Baldoni for
 positioning them as promoting the Film as a “Barbie film” while elevating Baldoni to speak on
 the more serious messaging. Reynolds and Lively purportedly believe Nathan is responsible for
 this positioning and demand that Wayfarer release a statement of contrition, taking
 accountability for the negative press toward Lively and Reynolds. They warn WME that absent
 compliance, the "gloves will come off." In turn, Reynolds tells WME that he would personally
 draft a statement for Wayfarer to release immediately. Heath and Abel are astounded that
 Reynolds and Lively blame Baldoni and Wayfarer for their self-inflicted PR nightmare. Heath
 had consistently communicated that neither Wayfarer, Nathan, nor anyone on their team was
 manipulating the internet, using bots, or seeding stories about Lively’s or Reynolds' character.
 All press stories were organic and directly resulted from Lively’s own tone-deaf marketing
 approach.

 August 12, 2024: That evening, two WME executives, Heath and Abel participate in a call to
 review the statement drafted by Lively and Reynolds on behalf of Baldoni, Heath, and Wayfarer.
 Upon review, WME concurs with Wayfarer that the statement was vague, implies culpability
 without substance, and fails to address the issues at hand. Furthermore, if the goal was to
 mitigate negative online attention directed at Lively, the statement would have the opposite
 effect. In response, Wayfarer, Baldoni, and Heath reject the demand, firmly refusing to issue any
 statement falsely assuming responsibility for non-existent issues.




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 August 12, 2024: Abel shares with Nathan that “Blake and Ryan want Justin to put out a
 statement.” Both are shocked by the request and state that they have never encountered anything
 similar. Nathan advises Baldoni to retain legal counsel immediately.




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 August 13, 2024: The Daily Mail publishes an article titled, “Blake Lively goes into damage
 control by FINALLY addressing the domestic violence in It Ends With Us amid criticism over
 ‘tone deaf’ film promo.” This follows Lively’s post to moviegoers, which includes statistics on
 domestic violence and a link to resources for support. The information remained on her story for
 24 hours.




 August 13, 2024: The New York Post contacts Nathan for a comment regarding competing cuts
 and on-set feuds. The information provided is inaccurate. Lively did not have final edit approval,


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 nor was she given Sony’s cut. In reality, Sony did not have a studio cut; rather, Wayfarer and
 Sony shared a studio cut. Should the director’s cut not perform well in audience screenings, the
 studios collectively held the right to recut the Film. However, this never occurred, as Lively used
 her promotional efforts to secure the final cut. All the information Leslie provided to The New
 York Post was false and misleading.




 August 13, 2024: The Hollywood Reporter publishes a story naming Nathan as Baldoni’s crisis
 PR representative, drawing a comparison between Baldoni and Nathan’s previous client, Johnny
 Depp. This comparison proves damaging for Baldoni, as Nathan was hired specifically to ensure
 that the truth would be communicated, free from interference by Lively’s team.




 August 8, 2024: Sloane has a text conversation with a Daily Mail reporter who spoke to Jones.
 Jones, acting independently, had reached out to the Daily Mail seemingly on her own initiative
 and in direct disregard for Heath’s previous request to say nothing.



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 August 14, 2024: As discussed hereinabove, in early August 2024, Jones inserted herself into
 the situation, attempting to sideline Nathan and Abel. The issue, however, was that Jones had
 deliberately distanced herself from Wayfarer leadership’s communications strategy and internal
 decision-making, citing her focus on higher-profile clients. Wayfarer had no objection to Jones’
 disengagement, as Abel was their trusted advisor, and they had no interest in becoming entangled
 in Jonesworks' internal politics. Furthermore, Jones had been on a family vacation during the
 critical period of the press campaign and Film premiere. Despite her physical distance, Jones’
 attempts to intervene were clumsy, unwelcome, and sporadic. As she tried to create drama and
 undermine Abel’s authority, Wayfarer and Baldoni remained focused on managing the crisis at
 hand. On August 14, 2024, in a final effort to position herself as the "key player" for Wayfarer’s
 account, anticipating Abel’s imminent departure from Jonesworks, Jones sent a disorganized
 strategy outline and includes a veiled threat to Wayfarer, reminding Heath of their contractual
 agreement.




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 August 14, 2024: A journalist from TMZ contacts Nathan and Abel, requesting comment
 regarding “three HR complaints filed against Justin Baldoni on set of ‘It Ends With Us’. That
 same day Nathan receives inquiries from reporters about multiple HR complaints from set. This
 was not true.




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 August 14, 2024: Baldoni sends Abel a TikTok from a creator suggesting that Baldoni is
 involved in "something bad." Baldoni is just as confused as the rest of his team about the nature
 of this “bombshell.” Abel replies, “That is the question of the century” and reassures him,
 saying, “There is no bombshell, as you know,” while confirming that she and the team are
 closely monitoring the situation in case a response is needed.




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 August 14, 2024: Baldoni texts Nathan seeking clarity on what is happening, what the strategy
 is, and how the ongoing "feud" can be resolved. Nathan explains that she spoke with Sloane and
 asked her for her perspective on a solution. Nathan observes that when Baldoni “is respectful,
 they (Reynolds and Lively) don’t like it,” and when he plays by “their” rules, they still don’t
 approve. She questions, “What do they want?” Nathan further clarifies to Baldoni that she left
 the matter with Sloane, asking her to indicate what course of action she prefers. Nathan
 emphasizes that she is willing to work with Sloan, either collaboratively or to protect Baldoni
 and Wayfarer. Until something is leaked or wrongfully put out by Lively’s team, Nathan and her
 team will not take further action.




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 August 14, 2024: Nathan receives word from a reporter that "Sony chief" Tony Vinciquerra
 made a statement about Lively “being an advocate for domestic violence,” with no mention of
 Baldoni in the piece. Nathan immediately senses Sloane’s involvement in this development.
 However, Abel suggests that it is Reynolds who likely pressured Sony into issuing the statement.




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 August 14, 2024: Organic articles come out in response to Lively’s promotion of the Film. See,
 e.g., Elyse Wansehl, People Are Disgusted By Blake Lively’s Cutesy Press Tour For ‘It Ends
 With Us’ (Aug. 14, 2024), https://www.huffpost.com/entry/blake-lively-press-tour-it-ends-with-
 us-backlash_n_66bcf45ee4b03da4fc01cd28; Eboni Boykin-Patterson, Blake Lively Dragged for
 Marketing Light of Domestic Violence (Aug. 14, 2024), https://www.thedailybeast.com/blake-
 lively-dragged-for-making-light-of-domestic-violence/.




 August 15, 2024: More organic articles come out in response to Lively’s promotion of the Film.
 See, e.g., Alex Abad-Santos, Why is everyone mad at Blake Lively? (Aug. 15, 2024),
 https://www.vox.com/culture/367451/blake-lively-it-ends-with-us-press-tour-controversy
 Olivia Craighead, Fans Are Not Impressed with Blake Lively’s Press Tour (Aug. 15, 2024),
 https://www.thecut.com/article/blake-lively-it-ends-with-us-press-tour-tone-deaf.html.




 August 16, 2024: More organic articles come out in response to Lively’s promotion of the Film.
 See, e.g., Carolyn Gevinski, The It Ends With Us promo has failed domestic violence survivors
 like me (Aug. 16, 2024), https://www.glamourmagazine.co.uk/article/it-ends-with-us-domestic-
 abuse-first-person.



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 August 16, 2024: Nathan receives a message from a reporter about a story from the Daily Mail:
 “Could Blake Lively be CANCELLED?” Nathan, realizing that the article could give the
 impression of having been planted by her, laments, “Damn this is unfair because it’s also not
 me[.]” The reporter responds, “no it totally does look like his side”. Nathan shares a screenshot
 of her conversation with the reporter with Abel. The two of them sarcastically joke, “You really
 outdid yourself with this one[.]” Nathan responds “That’s why you hired me right?”




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 August 18, 2024: Baldoni again asks Nathan to confirm, “This is not us correct?” Baldoni was
 seeing the “feud rumors” and could not believe how much heat Lively was getting. Nathan
 reassures him that “[n]one of us would ever do this.” Nathan continues, “[T]here is the struggle
 where it’s kind of maybe even unbelievable the way that people are turning against her . . . [it
 was] organic she’s blown herself up by her own actions.”




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 August 19, 2024: Angela Yang, Blake Lively’s ‘It Ends With Us” promotion called
 ‘disrespectful’ by some survivors of abuse (Aug. 19, 2024), https://www.nbcnews.com/pop-
 culture/blake-lively-it-ends-with-us-promotion-criticism-rcna167175.




 August 19, 2024: Jonesworks chief of staff promises to release Abel’s phone number to her.




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 August 20, 2024: More organic negative press. Arwa Mahdawi, Sorry, Blake Lively: using a
 movie about domestic violence to sell stuff is not a good look (Aug. 20, 2024),
 https://www.theguardian.com/commentisfree/article/2024/aug/20/blake-lively-it-ends-with-us-
 colleen-hoover.




 August 21, 2024: On August 21, 2024, two days before her last day, Abel pulls up to the
 Jonesworks office in Beverly Hills. There, she is confronted by a physically imposing security
 guard, a lawyer sitting at a conference table covered in documents, an IT professional, and Jones’
 chief of staff (who had flown in unannounced from New York). Apart from Jones’ chief of staff,
 Abel had never seen any of them before. After being ushered into the conference room, Abel
 sees that the security guard is posted just outside its doors, blocking the exit. In a menacing and
 cold tone, the attorney points to the documents and tells Abel to review and sign them. The
 attorney claims that Jonesworks believes she had proprietary information on her personal laptop
 and will likely have grounds to sue if Abel does not allow them access.



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 Completely caught off guard by this hostile and intimidating display, Abel falls into a state of
 shock. She has never experienced anything like this and does not know what to do. Fearful that
 she will burst into tears and humiliate herself (which she knew was what Jones wants), Abel
 dissociates. Knowing she has not done anything wrong and desperate to get out of there, Abel
 signs the documents without digesting their contents. Afterward, the lawyer demands that Abel
 hand over her personal laptop. Abel complies, and the IT professional conducts a search that
 turns up nothing. The attorney then presents Abel with a list of approximately 10 documents and
 accuses her of having accessed and stolen them. Abel denies having done so, and the IT
 specialist conducts a further search of her laptop, which again turns up nothing.

 The attorney then instructs Abel to hand over her phone, after which security would escort her
 out of the building. Still utterly shell-shocked and desperate to get out of there, Abel agrees to
 hand over her phone, so long as they will confirm that Jonesworks will immediately release her
 personal cell phone number, allowing Jonesworks to take possession of the physical device
 without gaining unrestrained access to its contents. It will also enable Abel to get a new phone
 and move on with her life without undue disruption. Abel pleads with Jones to release her
 number in a text the following day.




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 August 21, 2024: On the same day that Abel’s phone is seized by her employer, Stephanie
 Jones, Nathan receives a call from Leslie Sloane (Lively’s publicist) telling her that she has
 “seen her texts” and that she will be sued.




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                             Melissa Nathan Call Log (Aug 21, 2024)




 August 23, 2024: Baldoni sends Nathan a suspicious profile, suspecting it of trolling Lively.
 Nathan confirms that “100%...this is NOT anyone from your team whatsoever.”




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 August 24, 2024: Nathan's TAG team continues to see organic backlash towards Lively, without
 the involvement of TAG. The article in question: “Blake Lively FEARING for her career amid IT
 ENDS WITH US Backlash”




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 August 27, 2024: Nathan further reassures Baldoni that “Everyone I speak to – and so many just
 chat[s] that don’t even know I’m on this all, are pro you. I know that’s not your intention either
 to make her or anyone an outcast but the sentiment is pro you.” Baldoni responds, “Thank you
 for sharing” and “praying for [Lively and Reynolds] has been helpful”.




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 August 30, 2024: The internet continues to churn out new stories. Baldoni asks Nathan how she
 feels and if she shares any concerns. Nathan reassures him that “there was no truth to anything-
 so what can they say? Just speculative BS? I am not worried and I promise you.”




 September 1, 2024: Nathan reveals to Baldoni that she finally watched the Film in theaters. She
 shares a touching message with Baldoni. He also shares a personal story that inspired him to
 direct the movie and ultimately option the book. Ironically it was this story that Lively chose to
 use against him later in her list of 17 points when she required that “There be no discussions with
 [Ms. Lively] of personal experiences with sex”. In her Complaint, she intentionally


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 misrepresents the story to suggest that Baldoni had engaged in sexual conduct without consent.
 In fact, it was the other way around. Baldoni was referencing an intimate relationship in which
 he was the one who did not give consent, not the other way around.




 September 8, 2024: Baldoni sends a text to his original editors, hopeful that one day they will
 complete the Film as intended.




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 December 20, 2024: Lively files her Complaint with the California Civil Rights Department.

 December 20, 2024: Meghan Twohey a reporter for the New York Times, reaches out to
 Wayfarer about allegations made by Lively related to a filed CRD complaint. “Please offer any
 on-the-record comment, as well as any other information you think we should know.
 Additionally, please notify us of any inaccuracies. We need to hear back from you tomorrow by
 noon Eastern.




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 December 20, 2024: At 2:16 a.m. (EST), Wayfarer’s representative responds to the journalist
 and unequivocally denied Lively’s accusations.

        It is shameful that Ms. Lively and her representatives would make such serious and
        categorically false accusations against Mr. Baldoni, Wayfarer Studios and its
        representatives, as yet another desperate attempt to ‘fix’ her negative reputation
        which was garnered from her own remarks and actions during the campaign for the
        film; interviews and press activities that were observed publicly, in real time and
        unedited, which allowed for the internet to generate their own views and opinions.
        These claims are completely false, outrageous and intentionally salacious with an
        intent to publicly hurt and rehash a narrative in the media. Wayfarer Studios made
        the decision to proactively hire a crisis manager prior to the marketing campaign of
        the film, to work alongside their own representative with Jonesworks employed by
        Stephanie Jones, due to the multiple demands and threats made by Ms. Lively
        during production which included her threatening to not showing up to set,
        threatening to not promote the film, ultimately leading to its demise during release,
        if her demands were not met. It was also discovered that Ms. Lively enlisted her
        own representative, Leslie Sloan with Vision PR, who also represents Mr.
        Reynolds, to plant negative and completely fabricated and false stories with media,
        even prior to any marketing had commenced for the film, which was another reason
        why Wayfarer Studios made the decision to hire a crisis professional to commence
        internal scenario planning in the case they needed to address. The representatives
        of Wayfarer Studios still did nothing proactive nor retaliated, and only responded
        to incoming media inquiries to ensure balanced and factual reporting and monitored
        social activity. What is pointedly missing from the cherry-picked correspondence
        is the evidence that there were no proactive measures taken with media or
        otherwise; just internal scenario planning and private correspondence to strategize
        which is standard operating procedure with public relations professionals.

 December 21, 2024: at 10:11 a.m. (EST) on December 21, 2024, almost two hours before the
 deadline given by Twohey for Plaintiffs’ response, the Times published the article entitled “We
 Can Bury Anyone’: Inside a Hollywood Smear Machine” (the “Article”).

 December 31, 2024: Baldoni and team file lawsuit against the New York Times.

 December 31, 2024: Lively files lawsuit against Baldoni and team.

 January 7, 2025: Lively attempts to serve Baldoni and team during the Los Angeles wildfires,
 going as far as to serve a member of Baldoni’s team while they attempted to evacuate with their
 small child.

 January 16, 2025: Baldoni and team file suit against Lively, Reynolds, Sloane and Vision PR.

 January 24, 2025: Discovery is made that the main imagery used in the Article has meta data
 creation timestamps days prior to publication.




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    •   The main Baldoni image that headlines the article was finalized on December 16, 2024
        https://static01.nytimes.com/newsgraphics/2024-12-16-lively-
        topper/_images/topper/initial.jpg




    •   Additional smear Baldoni imagery existing within the article on December 18, 2024
        https://static01.nyt.com/images/2024/12/18/multimedia/00smear-baldoni-tqmz/00smear-
        baldoni-tqmz-superJumbo.jpg




 January 26, 2025: It is determined that the promotional video for the Lively smear campaign
 article was finalized on December 12, 2024.
     • The video preload’s static imagery for promotion inside the article itself was created on
         December 17, 2024 <video preload="auto" x-webkit-airplay="allow"
         id="video_1738109173616" playsinline="playsinline" webkit-playsinline="webkit-
         playsinline"


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        poster="https://static01.nyt.com/images/2024/12/17/autossell/THUMBNAIL-
        1/THUMBNAIL-1-videoSixteenByNineJumbo1600.jpg" style="height: 100%; width:
        100%; position: absolute; top: 0px; left: 0px;"
        src="blob:https://www.nytimes.com/88bf31e2-3886-49ba-9741-




        85d01eb50424"></video>
    •   The schema for the video page also confirms a December 12, 2024 finalization and
        upload date
        {"@context":"https://schema.org","@type":"VideoObject","@id":"https://www.nytimes.
        com/video/arts/100000009874263/the-waging-of-an-alleged-smear-campaign-against-
        blake-lively.html","description":"The movie “It Ends With Us” starring Blake Lively was
        a huge box office hit, even as rumors spread of turmoil behind the scenes. Private
        messages detail a campaign to tarnish Lively after she accused Justin Baldoni of
        misconduct on set. Megan Twohey, an investigative reporter at The New York Times,
        explains.","url":"https://www.nytimes.com/video/arts/100000009874263/the-waging-of-
        an-alleged-smear-campaign-against-blake-lively.html","inLanguage":"en","name":"The
        Waging of an Alleged Smear Campaign Against Blake
        Lively","thumbnailUrl":["https://static01.nyt.com/images/2024/12/17/autossell/THUMB
        NAIL-1/THUMBNAIL-1-
        videoSixteenByNineJumbo1600.jpg","https://static01.nyt.com/images/2024/12/17/autoss
        ell/THUMBNAIL-1/THUMBNAIL-1-
        superJumbo.jpg","https://static01.nyt.com/images/2024/12/17/autossell/THUMBNAIL-
        1/THUMBNAIL-1-
        mediumSquareAt3X.jpg"],"publisher":{"@context":"https://schema.org","@type":"Orga
        nization","name":"The New York
        Times","logo":{"@context":"https://schema.org","@type":"ImageObject","url":"https://st
        atic01.nyt.com/images/icons/t_logo_291_black.png","height":291,"width":291,"contentU
        rl":"https://static01.nyt.com/images/icons/t_logo_291_black.png","creditText":"The New
        York
        Times"},"url":"https://www.nytimes.com/"},"isPartOf":{"@type":["CreativeWork","Pro
        duct"],"name":"The New York
        Times","productID":"nytimes.com:basic"},"embedUrl":"https://www.nytimes.com/video/
        players/offsite/index.html?videoId=100000009874263","contentUrl":"https://vp.nyt.com/
        video/2024/12/12/130938_1_00vid-rv-bl-


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        investigation_wg_480p.mp4","uploadDate":"2024-12-
        21T18:26:09.603Z","duration":"PT4M29S"}




 January 27, 2025: The Wayfarer Parties found 41 instances of a October 31, 2024 timestamp
 related to text message storage and styling into Birdkit, which are believed to be the content
 management system (CMS) for the Times.
              • <link rel="modulepreload"
                 href="https://static01.nytimes.com/newsgraphics/2024-10-31-message-embed-


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                generator/9bb06232-7897-46f7-8a79-
                9f19037ab08a/_assets/_app/immutable/chunks/scheduler.CPBLf4dL.js">
        On information and belief, the 2024-10-31 does not correspond to the message embed
        generator versioning itself, but rather when they may have been embedded into the CMS
        for future use in an article. Previous articles show a similar pattern:
            • https://www.nytimes.com/interactive/2024/10/17/opinion/dobbs-roe-abortion-
                stories.html was published on October 17, 2024 with Birdkit timestamp for the
                text messages of August 9, 2024.
            • https://www.nytimes.com/2023/05/03/books-review/tucker-carlson-text-message-
                whiteness.html was published on May 3, 2023 with Birdkit timestamp for the text
                messages of April 14, 2023.




 January 28, 2024: It is confirmed that the PDF version of the CRD filed by Lively was indexed
 on New York Times’ domain on December 10, 2024. This does not necessarily represent the
 first time that the file was indexed by Google, just that it was indexed on this date. In order to
 accurately determine the first indexation, data would be required from the New York Times
 Google search console account.
      • “Site:*.nyt.com Baldoni” is the query performed to find the PDF in Google, which shows
          all subdomain and main website results that reference ‘Baldoni;
      • https://www.google.com/search?q=site%3A*.nyt.com+baldoni




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 January 29, 2025: After performing a deeper analysis, the following was found:
    • The JSON schema exposes the smear promo imagery was set for consumption at the end
       webpage level on December 18, 2024. In the highlighted images there is a reference to
       smear-promo-Google which means that object’s imagery was intended to be consumed
       most likely as either Google News direct feed OR as a Google Adwords ad unit. There
       are also multiple versions of these images. The v2 and v3 suggests they went through
       multiple iterations before arriving at what could be used on December 18th.
           o {"@context":"https://schema.org","@type":"NewsArticle","@id":"https://www.n
               ytimes.com/2024/12/21/business/media/blake-lively-justin-baldoni-it-ends-with-


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               us.html","description":"Private messages detail an alleged campaign to tarnish
               Blake Lively after she accused Justin Baldoni of misconduct on the set of “It Ends
               With Us.”
               ","image":[{"@context":"https://schema.org","@type":"ImageObject","url":"https
               ://static01.nyt.com/images/2024/12/18/multimedia/00smear-promo/00smear-
               promo-videoSixteenByNineJumbo1600-
               v2.jpg","height":900,"width":1600,"contentUrl":"https://static01.nyt.com/images/
               2024/12/18/multimedia/00smear-promo/00smear-promo-
               videoSixteenByNineJumbo1600-v2.jpg","creditText":"IllustrationbyNajeebahAl-
               Ghadban"},{"@context":"https://schema.org","@type":"ImageObject","url":"http
               s://static01.nyt.com/images/2024/12/18/multimedia/00smear-promo/00smear-
               promo-googleFourByThree-
               v2.jpg","height":600,"width":800,"contentUrl":"https://static01.nyt.com/images/2
               024/12/18/multimedia/00smear-promo/00smear-promo-googleFourByThree-
               v2.jpg","creditText":"Illustration by NajeebahAl-
               Ghadban"},{"@context":"https://schema.org","@type":"ImageObject","url":"http
               s://static01.nyt.com/images/2024/12/18/multimedia/00smear-promo/00smear-
               promo-mediumSquareAt3X-
               v3.jpg","height":1802,"width":1800,"contentUrl":"https://static01.nyt.com/images
               /2024/12/18/multimedia/00smear-promo/00smear-promo-mediumSquareAt3X-
               v3.jpg","
           o Preloaded JavaScript for the Lively header image <link rel="modulepreload"
               as="script"crossorigin=""href="https://static01.nytimes.com/newsgraphics/2024-
               12-16-lively-topper/addc97ba-86a6-42a5-b1ea-
               31572ce283f7/_assets/_app/immutable/nodes/1.DYJTqov0.js">
    •   The interactive topper for the appears to have been finalized on December 16, 2024
           o <link rel="modulepreload"
               href="https://static01.nytimes.com/newsgraphics/2024-12-16-lively-
               topper/addc97ba-86a6-42a5-b1ea-
               31572ce283f7/_assets/_app/immutable/entry/start.D5WakA7s.js"><link
               rel="modulepreload"href="https://static01.nytimes.com/newsgraphics/2024-12-
               16-lively-topper/addc97ba-86a6-42a5-b1ea-
               31572ce283f7/_assets/_app/immutable/chunks/entry.Dl6yHT4n.js">
           o <linkrel="modulepreload"href="https://static01.nytimes.com/newsgraphics/2024-
               12-16-lively-topper/addc97ba-86a6-42a5-b1ea-
               31572ce283f7/_assets/_app/immutable/chunks/scheduler.DbTKtulb.js"><divid="
               g-2024-12-16-lively-topper"class="birdkit-bodyg-2024-12-16-lively-topperg-
               dark-mode-compatible"data-preview-slug="2024-12-16-lively-topper"data-
               birdkit-hydrate="fd78541ba0cd3a2a">
    •   Multimedia sources timestamped December 18, 2024
           o <source media="(max-width: 599px) and (min-device-pixel-ratio: 3),(max-width:
               599px) and (min-resolution: 3dppx),(max-width: 599px) and (min-resolution:
               288dpi)"
               srcset="https://static01.nyt.com/images/2024/12/18/multimedia/00smear-baldoni-
               tqmz/00smear-baldoni-tqmz-




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             mobileMasterAt3x.jpg?quality=75&amp;auto=webp&amp;disable=upscale&amp
             ;width=1800">
           o <source media="(max-width: 599px) and (min-device-pixel-ratio: 2),(max-width:
             599px) and (min-resolution: 2dppx),(max-width: 599px) and (min-resolution:
             192dpi)"
             srcset="https://static01.nyt.com/images/2024/12/18/multimedia/00smear-baldoni-
             tqmz/00smear-baldoni-tqmz-
             mobileMasterAt3x.jpg?quality=75&amp;auto=webp&amp;disable=upscale&amp
             ;width=1200">
           o <source media="(max-width: 599px) and (min-device-pixel-ratio: 1),(max-width:
             599px) and (min-resolution: 1dppx),(max-width: 599px) and (min-resolution:
             96dpi)" srcset="https://static01.nyt.com/images/2024/12/18/multimedia/00smear-
             baldoni-tqmz/00smear-baldoni-tqmz-
             mobileMasterAt3x.jpg?quality=75&amp;auto=webp&amp;disable=upscale&amp
             ;width=600">




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